     Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 1 of 171




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES ex rel.              :     CIVIL ACTION FILE
SCOTT POGUE                        :     NO. 99-3298 (RCL)
                                   :
     Plaintiff and Relator,        :     (Part of 2001-MS-50)(RCL)
                                   :
     v.                            :     JUDGE ROYCE C. LAMBERTH
                                   :
                                   :
DIABETES TREATMENT CENTERS         :
OF AMERICA, et al.                 :
                                   :
     Defendants.                   :


                 RELATOR A. SCOTT POGUE’S OPPOSITION
               TO DTCA’S MOTION FOR SUMMARY JUDGMENT
              WITH MEMORANDUM OF POINTS AND AUTHORITIES


                                   Respectfully submitted,

                                   Frederick M. Morgan, Jr.
                                   Jennifer M. Verkamp
                                   MORGAN VERKAMP LLC
                                   700 Walnut Street, Suite 400
                                   Cincinnati, Ohio 45202

                                   Scott A. Powell
                                   Don McKenna
                                   HARE, WYNN, NEWELL & NEWTON
                                   Massey Building, Suite 800
                                   2025 Third Avenue North
                                   Birmingham, Alabama 35203

                                   Nels Ackerson
                                   Elaine Panagakos
                                   SOMMER BARNARD ACKERSON, PC
                                   1666 K Street, N.W., Suite 1010
                                   Washington, D.C. 20006
                                   Telephone: (202) 833-8833

                                   Counsel for Relator A. Scott Pogue
         Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 2 of 171




                                            TABLE OF CONTENTS

INTRODUCTION. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

CONCISE STATEMENT OF THE ISSUES FOR WHICH
GENUINE ISSUES OF MATERIAL FACTS EXIST TO BE TRIED.. . . . . . . . . . . . . . . . 1

SUMMARY OF THE EVIDENCE INDICATING THAT GENUINE ISSUES OF
MATERIAL FACTS EXIST TO BE TRIED. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

         A.       Defendants’ Business Model was Wholly Premised
                  on the Need to Pay Physicians to Refer Patients to
                  Hospitals With Which DTCA Contracted.. . . . . . . . . . . . . . . . . . . . . . . . . 2

         B.       The Purpose of DTCA’s Arrangements with Hospitals
                  and Medical Directors was to Solicit Referrals from
                  the Latter to the Former. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7

                  1.       The Contracts: Intended Purpose to Solicit
                           Referrals.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8

                           a.        Duties Versus Payment: No Fair Market
                                     Value. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9

                           b.        DTCA Statements Regarding Intent of
                                     Contracts. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20

                  2.       The Scheme In Practice: Day-to-Day Drumbeat
                           of Referral Solicitations. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 28

         C.       AHC and DTCA Knowingly Decided to Risk
                  Prosecution by the United States in Order to Keep
                  the Company Alive. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 39

                  1.       DTCA Ignored Extensive, and Increasingly-
                           vehement, Legal Advice Regarding its Exposure
                           Under the Anti-Kickback Statute.. . . . . . . . . . . . . . . . . . . . . . . . . 40

                  2.       DTCA did not Fully and Accurately Report the
                           Material Facts to its Attorneys: Its Attorneys
                           Knew About Contracts, Not Conduct. . . . . . . . . . . . . . . . . . . . . . 42

                  3.       DTCA Was Repeatedly Advised that it was
                           at Risk of Prosecution—And It Routinely
                           Decided to take that Risk. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 45
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 3 of 171




               4.      DTCA Repeatedly Ignored the Advice of
                       Counsel and “Proceeded Anyway” to take
                       The Risk of Prosecution. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 49

               5.      DTCA Restructured its Arrangements Only
                       After it had Maxed the Profitability Out of
                       the Hospital Business. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 52

                       a.       DTCA was Struggling to Demonstrate
                                Profitability to Hospitals. . . . . . . . . . . . . . . . . . . . . . . . . . . 53

                       b.       Hospital Fraud and Abuse Concerns
                                Became an Obstacle to Contract
                                Negotiations.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 56

                       c.       Advice of “Specialist” Counsel that DTCA’s
                                Form Contracts were Potential Kickback
                                Violations. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 60

                                i.        Independent Opinion of Robert Sevell. . . . . . . . . . 61

                                ii.       Independent Opinion of DC Counsel. . . . . . . . . . . 65

                                iii.      Contemporaneous BCCB
                                          Recommendation. . . . . . . . . . . . . . . . . . . . . . . . . . 70

               6.      The Restructuring. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 72

       D.      The Resulting False Claims for Payment. . . . . . . . . . . . . . . . . . . . . . . . 75

               1.      The False Claims Evidenced by Actual Electronic
                       Claims Data Totals $43,141,839. . . . . . . . . . . . . . . . . . . . . . . . . 76

               2.      The Estimated False Claims for Time Periods
                       Prior to 1992.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 77

               3.      The Number of False Claims for Payment that
                       DTCA Caused Host Hospitals to Submit to the
                       Federal Government.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 79

RELATOR’S CONTRAVERSION OF DEFENDANTS
STATEMENT OF UNDISPUTED MATERIAL FACTS. . . . . . . . . . . . . . . . . . . . . . . . . . . . 80


LEGAL ARGUMENT AND AUTHORITIES.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 101

                                                      -ii-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 4 of 171




I.     Standard of Review. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 101

II.    Presentment of Claims: Defendants Caused the Submission
       of False Claims for Payment by the United States. . . . . . . . . . . . . . . . . . . . . 102

       A.       DTCA’s Documents Reflecting the Presentation of
                Claims to the United States as a Direct Result of
                Its Efforts. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 103

       B.       DTCA’s Straw Man: Actual Claim Forms are not
                Required. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 106

       C.       Even if Actual Claims Data is Required, the Subpoenaed
                Data from CMS is Properly Submitted as Evidence of
                Claims. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 109

                1.        The Claims Records. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 109

                2.        The Claims Records are Properly Authenticated. . . . . . . . . . . . 113

                3.        The Electronic Claims Records Are Business and
                          Public Records. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 116

III.   Falsity: The Claims at Issue are False Claims in Violation of
       Anti-Kickback Laws. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 118

       A.       Law of the Case. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 119

       B.       The Case Law Uniformly Supports the Validity of the
                Legal Theory in this Case. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 121

       C.       Materiality: The Natural Tendency Test. . . . . . . . . . . . . . . . . . . . . . . . 126

       D.       Materiality as Applied Here: Defendant’s Kickback
                Violations are Contrary to the Core Terms of the
                Medicare Program.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 129

                1.        The Statutes and Regulations Establish as a
                          Matter of Law that Compliance with the
                          Anti-Kickback Laws are Central to the Program
                          Terms and are Capable of Influencing the
                          Government’s Payment Decision. . . . . . . . . . . . . . . . . . . . . . . . 130

                          a.        Kickbacks are a Fraud on Federal
                                    Healthcare Programs.. . . . . . . . . . . . . . . . . . . . . . . . . . . 131

                                                          -iii-
         Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 5 of 171




                           b.        The AKA was Designed to Prevent Claims
                                     Resulting from Fraud, Because they Caused
                                     the Government to inappropriately Pay Out
                                     Funds.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 133

                  2.       The Manual Provisions Implementing the
                           Requirements of the Social Security Act also
                           Demonstrate that Compliance with Anti-Kickback
                           Laws are Material to the Claim, as a Matter of Law. . . . . . . . . . 135

                  3.       The Current Provider Agreement and Cost Report
                           Certification Reflect that Compliance with the
                           Kickback and Stark Laws is a Condition of Payment. . . . . . . . . 138

                  4.       Mr. Yospe’s Testimony does not Controvert the
                           Materiality of Kickback Violations. . . . . . . . . . . . . . . . . . . . . . . . 141

                  5.       DTCA Takes the Materiality Standard One Further,
                           Arguing Underlying Statute and Regulations must
                           Also Expressly Caution Against FCA liability. . . . . . . . . . . . . . . 145

         E.       DTCA Wholly Misstates the Legal Standard. . . . . . . . . . . . . . . . . . . . . 146

                  1.       DTCA Misstates the Need for Factual Falsity to
                           Prevail on False Claims Resulting from Kickback
                           Violations. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 146

                  2.       DTCA Misstates the Legal Standard for Affirmative
                           False Certification.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 147

                  3.       DTCA Misstates the Legal Standard for Implied
                           Certification and Materiality. . . . . . . . . . . . . . . . . . . . . . . . . . . . 148

IV.      Underlying Anti-Kickback Violations: The Evidence Amply
         Supports the Fact DTCA Violated the AKA Provisions. . . . . . . . . . . . . . . . . . 150

V.       Knowledge Under the False Claims Act: Genuine Issue of Fact
         Regarding the Requisite Knowledge Under the False Claims Act. . . . . . . . . . 156

VI.      Stark Violations: Relator Has Established a Genuine Issue of
         Fact Regarding Underlying Stark Violations. . . . . . . . . . . . . . . . . . . . . . . . . . 160

CONCLUSION. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 164



                                                          -iv-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 6 of 171




                                     INTRODUCTION

       This case concerns the false claims for payment resulting from the business

model and practices of Diabetes Treatment Centers of America (“DTCA”). During the

period from 1983 through 1996 and beyond, DTCA was in the business of hiring

endocrinologists and others as “medical directors” for hospital diabetes units, so that

the physicians would refer their patients to the centers.

       Defendants would have it that their focus was on nothing but improving the lives

of patients with diabetes. What the documents and testimony in fact reveal is that their

focus was on little more than ensuring that it was paying enough doctors enough money

to generate enough referrals to keep the hospitals happy enough with DTCA to

continue paying the “management fees” which were DTCA’s only significant revenues.

       Relator’s case at trial will show a massive and calculated scheme which

depended for is very existence on a constant drumbeat of kickbacks. DTCA’s relation-

ships with physicians were about no more than how many patients they could refer.

There are certainly triable issues of fact here.

           CONCISE STATEMENT OF THE ISSUES FOR WHICH GENUINE
               ISSUES OF MATERIAL FACTS EXIST TO BE TRIED

       •      Whether DTCA knowingly caused hospitals with which it had contracts to
              submit false claims for payment to the Government in violation of the Anti-
              Kickback Statute and the False Claims Act.

       •      Whether DTCA knowingly caused host hospitals to submit false claims for
              payment to the Government in violation of the Stark Law and the False
              Claims Act.
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 7 of 171




       •        Whether DTCA paid more than fair market value for the services of
                medical directors or had as a purpose of the payments to medical
                directors an intent to induce referrals of patients.1

                  SUMMARY OF THE EVIDENCE INDICATING THAT
              GENUINE ISSUES OF MATERIAL FACTS EXIST TO BE TRIED

       A.       Defendants’ Business Model Was Wholly Premised on the Need to
                Pay Physicians to Refer Patients to Hospitals With Which DTCA
                Contracted.

       American Healthcorp, Inc. was founded in 1981 by former Columbia/HCA

executives Thomas Cigarran, Henry Herr, Robert Stone, Stan Kantanie, and Robert

Hilton.2 While their original concept was to buy and manage general hospitals, they

soon abandoned this model, after recruiting a well-reputed Birmingham diabetes expert,

Dr. Robert Creech, to join the staff of one of their newly-purchased hospitals in

Chattanooga.

       Dr. Creech brought a large patient base for inpatient treatment of diabetics—a

patient population with a disease that often went untreated or required expensive

management of related complications. In Mr. Cigarran’s words, “this is all stuff that we

learned in '82, '83 when we brought him [Creech] to the hospital, because out of the

woodwork come all these patients, and doctors are referring patients to the hospital,

and they started to bring their patients to the hospital eventually.”3



       1
        This issue is stated in the disjunctive “or” because either (1) payments in
excess of fair market value or (2) payments that have as one purpose an intent to
induce referrals violate the Anti-Kickback and Stark laws.
       2
         Cigarran Dep., Vol. 1, at 31. (A copy of all the deposition testimony cited herein
is provided as collective Exhibit 143.
       3
           Cigarran Dep., Vol. 1, at 55.

                                             -2-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 8 of 171




       Based on the “Creech model,” Cigarran realized that he did not have to purchase

hospitals to make a profit. Rather, he developed a business model around persuading

existing hospitals to turn a portion of a patient floor into a “diabetes treatment center,”

recruiting physicians like Dr. Creech to serve as “Medical Directors,” and charging the

hospital a fee based on the number of admissions the medical directors and other

physicians made to the “treatment center.”4 AHC’s wholly-owned subsidiary, Diabetes

Treatment Centers of America, was begun shortly thereafter.

       DTCA’s first medical-director contracts were signed with Dr. Richard Perley in

Los Angeles in 1983 and with Dr. Paul Davidson, of Atlanta, in 1984.5 Once it had

recruited the doctors, it set out to find hospitals willing to participate. The first DTCA

units were opened in Lakewood Hospital in California and Shallowford Hospital in

Georgia.6

       DTCA moved quickly to recruit medical directors and then find hospitals to open

centers across the country. Instead of buying hospitals, DTCA hired medical directors

and provided on-site staff, typically consisting of a program manager, a clinical educa-

tor, and a nurse.7 DTCA’s costs remained approximately-fixed for the life of the

contract, with the most significant cost being medical director payments and staff




       4
           Cigarran Dep., Vol. 1, at 57-58.
       5
           Exh. 113 & 114 Perley and Davidson contracts.
       6
         Exh. 120, Shallowford, Lakewood and West Paces contracts. The Shallowford
center in Atlanta was relocated to West Paces Medical Center in 1987.
       7
           Beard Dep. at 10, 16.

                                              -3-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 9 of 171




salaries.8 Its income, on the other hand, was not fixed and had considerable upside

potential. Remuneration by the host hospitals to DTCA was based on the number of

admissions to the center, and its fees increased as patient census increased.9

       From the moment of conception, then, DTCA’s revenues were intensely census-

driven. DTCA promised hospital clients that they would realize census increases if they

contracted with DTCA. DTCA actively promoted this as the primary purpose of the

hospital contract. It made this crystal-clear to both the hospitals with whom it con-

tracted, with its employees, and with the medical directors themselves.

       By way of example, DTCA wrote to hospital administrators as follows:
       The primary reason for Columbia Regional to contract with DTCA is
       to increase the number of discharges for people with diabetes.10

       [O]ur primary goal...is to significantly increase the volume of
       business at your center.11




       8
           Conrad Dep., Vol. 1, at 61-63.
       9
         In DTCA’s early years of operation, the majority of hospital contracts computed
DTCA’s compensation on the basis of the number of patient days in a given time period
(if a center had 10 beds, and seven were occupied on a particular day, that would
constitute seven “patient days.”) Over time, most of these provisions were amended to
included a fixed management fee and a variable fee (also called an incentive fee)
based on the number of incremental discharges. Exh. 121 includes various DTCA and
hospital contracts with per patient day fees, variable fees and fees per Medicare patient
day.
       10
        Exh. 1, DTCA071024, November 14, 1996 Letter from DTCA CFO, Michael
Conrad, to Hospital Administrator (emphasis supplied).
       11
          Exh. 2, DTCA127212-13, December 10, 1990 Letter from DTCA Regional
Director of Operations to On-Site Program Manager (also stating that “a more accurate
measure of volume in your center is the number of discharges. As discharges are
significantly increased, the revenue will follow”).

                                            -4-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 10 of 171




      DTCA told hospitals that a variable fee was necessary to “align the incentives” of

DTCA and the hospital:

      ...[T]he revised contract with Walthamweston provides us medical
      directors and DTCA incentives to increase activity at the Center.12

      The purposes of [increased per diem fees] are twofold: (1) to incent DTC
      to discharge the patient from the program as soon as possible following
      the standard five day enrollment cycle; and (2) to incent DTCA to increase
      the volume over and above the existing levels.13

      50% gross percent fee for all outpatient education...will incent Diabetes
      Treatment Centers of America...to facilitate additional business through
      this avenue.14

      DTCA made clear to all its personnel, including medical directors, that its focus

was on “the hospital’s number one priority—growing the census.”15 DTCA paid its

operational employees based on increased census. Simply put:

      The ultimate Goal = to increase census, which increases revenues, which
      increase your bonus.16




      12
       Exh. 3, DTCA037020, December 14, 1987 Letter from DTCA Vice-President,
Dana Williams, to Medical Director Goldstein.
      13
       Exh. 4, DTCA136477-78, September 13, 1988 letter to Dana Williams from
Mercy Hospital.
      14
        Exh. 5, DTCA059992, August 16, 1995 Letter from DTCA Regional Director of
Operations to Elmer Cummings.
      15
         Exh. 6, DTCA035607-09, August 23, 1990 Letter from DTCA President Jim
Deal to Medical Directors (emphasis supplied).
      16
           Exh. 7, DTCA036568, American HealthCorp Marketing Manual.

                                          -5-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 11 of 171




      DTCA actively informed medical directors that increased census was necessary

to continued payment from DTCA and, as early as 1986, told them “to tak[e] whatever

steps are necessary to increase volume.17

      DTCA’s all-consuming focus on increased census was unmistakable. Its

second-highest paid medical director observed,

             There is too much obvious concern about profit rather than giving
             service.18

      A hospital CEO in South Carolina described DTCA as

             the ‘Nashville cash register’ whose only objective is to take as
             many hospital dollars out of Charleston as possible.19

      A DTCA employee wrote that:

             [DTCA was] interested in census just so that the company could
             make more money.20


      Census was DTCA’s lifeblood. Increased census meant more money, not only

to the hospitals, but to DTCA and its executives. This formula was fertile ground for

Medicare fraud and abuse, particularly in light of the Anti-Kickback Statute and its



      17
          Exh. 8, DTCA075400-401, November 5, 1986 letter from Senior VP Bob Stone
to all Eastern Division Medical Directors.
      18
        Exh. 9, AP000001-02, November 1, 1994 Letter to Robert J. Tannenberg, M.D.
from Paul C. Davidson, M.D. (emphasis supplied).
      19
        Exh. 10, at DTCA127248, October 22, 1990 Memo from RDO Bob Mueller to
Morrie Maple regarding customer satisfaction surveys.
      20
        Exh. 11, DTCA121926, July 28, 1987 Memo from Pam Goebel to Senior VP
Barbara Dowl regarding comments of a clinician and nurse educator that resigned
because of objections to “marketing” duties outside their clinical field; Exh. 18 (BCCB
001966-69)

                                            -6-
          Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 12 of 171




prohibition of paid arrangements with a purpose of inducing patient referrals. Yet

DTCA’s officers, including Chairman Tom Cigarran, testified that hundreds of DTCA

employees in its Centers around the country had day-to-day interactions with medical

directors, exhorting them to refer ever more patients, with no training on the prohibitions

on Medicare fraud and abuse laws and no guidelines as to what was permitted or not

permitted in terms of the extent of their actions to influence the referral decisions of

physicians.21 What the employees did know was that they needed increased census to

make money for the company; to keep the centers open; and ultimately, to keep their

jobs.22

          B.       The Purpose of DTCA’s Arrangements with Hospitals and Medical
                   Directors Was to Solicit Referrals From the Latter to the Former.

          The overarching purpose of DTCA’s contractual arrangements was to solicit the

referral of patients to federally-funded healthcare programs. We demonstrate infra that

these arrangements caused the submission of a huge number of false claims to the

United States and its agents. The language of the contracts and testimony of DTCA

officers and managers interpreting that language demonstrate that the expected result

was referrals paid for by DTCA’s customer-hospitals.

          Relator also has, through extensive discovery, looked behind the four corners of

the contracts into how they were implemented in the field. This inquiry reveals over-

whelmingly not just that DTCA, the hospitals, and the medical directors all understood


          21
               See Section B.(2) Infra pages 30 to 32.
          22
           Exhibit 6, for example, identifies for medical directors “Center Census Growth”
as the top priority for the 1991 Fiscal Year, and notes that the “hospital’s number one
priority” is “growing the census.”

                                                -7-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 13 of 171




that census was critical, but that DTCA’s incessant emphasis on increased census did,

in fact, result in the day-to-day solicitation of referrals from paid medical directors and

other physicians in exchange for money from the hospitals. In this manner, DTCA’s

willful violations of the healthcare fraud and abuse laws are really two-fold: (1) DTCA

negotiated arrangements which, on their face, reflect that a purpose was to induce

referrals; and (2) DTCA received remuneration from hospitals in exchange for imple-

menting day-to-day strategies for the solicitation of referrals from paid medical directors

and other physicians.

       The following pages address seriatim these two distinct violations of Medicare

fraud and abuse laws.

              1.     The Contracts: Intended Purpose to Solicit Referrals.

       The express terms of DTCA’s contracts with both hospitals and medical directors

powerfully demonstrate the purpose of soliciting referrals. At the most basic level, the

medical director contracts specifically state this as a duty of the medical directors and

there is no demonstrable connection between the performance of any legitimate duties

and the payment levels in the contracts. As Judge Gesell said even as DTCA was

ramping up its business model, “[p]ayment exceeding fair market value is in effect

deemed payment for referrals.”23 Such provisions were included in DTCA’s contracts

from the early 1980s, when the company began, until the mid-1990s when the Stark

laws were passed



       23
         American Lith. Soc. v. Thompson, 215 F. Supp.2d 23, 27 (D.D.C. 2002). “[W]e
may infer that any excess paid over fair value is intended to induce referrals[.]” United
States v. Lipkis, 770 F.2d 1447 (9th Cir. 1985).

                                             -8-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 14 of 171




      Even were this point not made obvious by the simple language of the contracts,

the evidence establishes that DTCA negotiated these contracts with precisely the

purpose of paying medical directors to refer their patients to the DTCA.

                    a.     Duties Versus Payment: No Fair Market Value

      The contractual duties of medical director contracts entered into between 1984

and 199524 require that:


      (ii) Doctor shall assist the Center in development of referral sources for
      the Center;. . .and (iv) Doctor shall identify and encourage other
      physicians and referral sources whose patients could benefit from
      services offered by the Center.25


      Medical directors received remuneration in many forms, including cash stipends,

income guarantees, variable fees, research funding, free rent, loans, and stock




      24
         Effective in 1995, coincident with the enactment of Stark II, DTCA amended
every medical director contract to remove these duties, reduce the amount of
remuneration, and add requirements consistent with the Stark exception. Exh. 18 and
Exh. 114 (compare Dr. Davidson’s duties as medical director at p.1 of Exh. 114 with his
duties as a medical director in 1995 at page 27).
      25
         E.g.,Exh. 12, AP000255-63, 1985 Bode Contract. This language was an
outgrowth of the model developed for DTCA’s first treatment center, the California
center opened under the helm of Dr. Michael Perley. Dr. Perley’s original contract in
July 1983 required him to be involved in

      identifying and recruiting physicians who would utilize those centers as the
      preferred sites for the inpatient and outpatient care of their patients,
      assisting in the development of referral sources for these centers
.
Exh. 13, DTCA147757-58 (first 2 pages). Tom Cigarran testified that this language was
inherent in every contract. Cigarran Dep., vol 1, at 111-117. Mr. Cigarran described Dr.
Perley’s duties in his deposition (Cigarran Dep. Vol 1 at 95-103).

                                           -9-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 15 of 171




options.26 The base form of payment for every contract was a monetary stipend. Other

remuneration varied by medical director, with the most egregious forms of variable

compensation being paid to the medical directors with earlier contracts and large

patient bases. The highest-paid medical director, Dr. Perley, was compensated

pursuant to a complicated formula which included, in addition to base pay, inter alia:

                  •    a percentage based on center profits,

                  •    an incentive fee tied to census (called an “ADC [Average Daily
                       Census] kicker”),

                  •    stock options, and

                  •    three different types of flat fees.27

       Dr. Perley’s annual compensation had a value of hundreds of thousands of
dollars.28
       Dr. Davidson, the Atlanta medical director hired just after Dr. Perley, was paid:

                  •    a percentage of profits,

                  •    an ADC kicker,

                  •    an incentive fee based on additional medical directors he recruited,

                  •    stock options, and

                  •    flat fees.29




       26
       LaRue Depo pgs. 197-198 (noting concern with fraud and abuse risk over ADC
payments);211, 220-226; 230, 234, 238.
       27
            Exh. 113 is a compilation of Dr. Perley’s contracts.
       28
            Id.
       29
            Exh. 114, composite exhibit of Dr. Davidson’s contracts.

                                               -10-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 16 of 171




      By paying heavy, early-on remuneration to prominent endocrinologists, such as

Drs. Perley and Davidson, DTCA was able to gain the momentum necessary to

convince hospital administrators to establish centers around the country. Relying on

the success of these kickback-laden relationships, DTCA was able to reduce the

variable fees paid to subsequent medical directors.

      Though the medical director contracts became more flat-fee-oriented over time,

the amounts they were paid:

               •      varied widely from one medical director to another;

               •     bore no relationship to any amount of time spent by the medical
                     director; and

               •     were the product of DTCA’s budgetary restrictions and ability to
                     negotiate with the physician, rather than any fair market value
                     assessment.

      DTCA officers admit that these payments were made without any assessment of

the fair market value of legitimate services to be rendered by the medical directors.

Former CFO and Vice President of Development Gary LaRue testified that no fair

market value studies were ever done to determine if the amounts they were paying to

the medical directors were market value; no studies were done to determine the

number of medical directors needed at a center; DTCA had no idea how many hours

medical directors spent performing their duties; and, there was no cap on what could be

spent for medical directors at a particular center, nor was there any explanation for the

differing amounts of compensation.30

      Similarly, DTCA vice-president Dana Williams testified:


      30
           Gary LaRue Deposition at 56, 61- 62, 65-69

                                           -11-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 17 of 171




      A.        I think that the fair market value stipend was determined from
                conversations with the doctor individually and what they felt was
                fair themselves versus what the company was willing to pay for the
                duties and responsibilities being performed. And we had a—you
                know, a budget that associated with every—for every hospital, too.
                And the doctor always had the right and option to refuse to accept
                the fair market value as we determined it.

                                              * * *

      Q.        How did you evaluate whether the doctor's market value for themselves
                was fair?

      A.        It was primarily a judgment.31

      In other words, DTCA defined the “market” in ad hoc fashion, one doctor at a

time. Chairman Cigarran testified that this judgment amounted to “[w]hat would it cost

to get them to move to become the medical director. It's a willing seller and a willing

buyer.”32 Chief Financial Officer Mike Conrad, testified that prior to DTCA’s restruc-

turing of the contracts when the Stark Laws took effect in 1995, there was never any

assessment of the total number of hours necessary to run each center or of a

reasonable hourly rate for a physician.33

      DTCA’s briefing implies that it relied on attorneys’ advice that such payments

equated to fair market value.34 However, not only does DTCA cite nothing in support,

but there is absolutely no evidence that attorneys provided such advice. To the

contrary, the attorneys who represented AHC and DTCA testified that they gave no


      31
            Williams Dep., Vol. 2, at 87-88 (emphasis supplied.
       32
            Cigarran Dep., Vol. 1, at 184.
       33
            Conrad Dep., Vol. 1, at 288-90.
       34
            Doc. 169 at pp. 8, 40-42.

                                              -12-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 18 of 171




valuation opinion on fair market value and would not have done so, even if asked.35

Thomas Smith, DTCA’s primary attorney, stated that, when they first started negotiating

contracts, he “certainly did not ever tell DTCA or American Healthcorp that they could

pay a medical director anything they wanted.”36 Likewise, he did not advise them that

fair market value constituted anything a willing buyer would pay a willing seller. Rather,

he stated, “I don't think the lawyers can define fair market value. I think generally that's

for appraisers and accountants and those sorts of folks.”37 In fact, in a 1994 letter,

AHC’s and DTCA’s lawyers “strongly advise[d]” them to obtain an independent

opinion regarding fair market value, even specifically recommending the name of a

valuation consultant. Notwithstanding this clear advice of counsel, no such opinion was

ever sought by DTCA.38

       The complete failure of DTCA’s management to engage in any legitimate

attempt to assess the fair market value of the medical directors’ time is demonstrated

by, among other things, the following facts:




       35
            Smith Dep. at 218-220; Mills Dep. at 65-67.
       36
            Smith Dep. at 220.
       37
            Smith Dep. at 219 (emphasis supplied).
       38
          Exh. 14, BCCB 001962, August 1, 1994 Letter from Jay Hardcastle to Dana
Williams, “I would strongly advise you to engage a consultant in determining the fair
market value level of compensation for medical directors.” Exh. 15, DTCA039522-23,
April 5, 1993 Letter from Robert Sevell to Mike Conrad regarding the 1993 dispute with
Dr. Perley regarding reducing his compensation to lessen the fraud and abuse risk in
his contract, "For AHC and DTCA protection, you may want to consider obtaining a fmv
evaluation of the value of his services."

                                            -13-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 19 of 171




       i.       No Medical Director contract specified the number of hours the

doctor was contracted to spend on Center business. Prior to 1995, Medical

Directors had no specific time requirements.39

       2.       No Medical Director contract required the physician to document his

time. Medical Directors were not required to document their time.40 And they did not

do so: With minimal exceptions, DTCA could produce no physician time logs prior to

1995. Remarkably, DTCA had a form log by at least February 198941 bearing the plain

legend “DOCUMENTATION OF MEDICAL DIRECTOR ACTIVITY IS REQUIRED FOR CONTRACT
                                                  42
COMPLIANCE AND MEDICARE /MEDICAID REPORTING .”         Yet logs were not kept. Corporate

officers Dana Williams and Michael Conrad testified that there was no documentation of

medical director hours prior to 1995.43 Chief Executive Officer Cigarran testified that he

does not know if anyone knew how much time the medical directors expended during

that time period.44


       39
       E.g., Exh. 12, 1985 Bode contract; Depo of DTCA CFO and V.P. of
Development Gary LaRue at 68-69.
       40
            Hunter Dep. at 290-291.
       41
        Exh. 16. The document is marked “FIN760 (RVSD 02/14/89). Vice President
Stone testified that this marking indicates it was created by the Finance Department
(Stone Dep. at 217).
       42
            Id., Bates No. AP001956, DTCA Medical Director Log
       43
        Williams Dep., Vol. 2, at 92, 125-126, 202-203, 291-292; Conrad Dep., Vol. 1,
at 289-290.
       44
         Cigarran Dep., Vol. 1, at 195-196 (regarding 1988-1990 time period). There
was no documentation requirement in DTCA’s form contracts prior to 1995. Compare
Exh. 12 (pre-1995 medical director contract) with Exh. 17, DTCA001567-72, (post-1995
contract) at ¶ 4.

                                           -14-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 20 of 171




      3.       DTCA contracted with multiple medical directors for a single center

and paid them differing amounts. Every medical director had the same contractual

duties as the contractual duties were standardized45. However, the payments to each

medical director varied widely.46 For example, at Mercy Hospital in Miami, Florida, Dr.

Pita was paid a “stipend” of $50,000 per year from 1986 through 1995. At the same

time, eight different Mercy Miami medical directors were paid significantly lower

“stipends,” ranging from $1,200 per year to $35,000 per year. At that center depending

on the year, DTCA paid between three and six medical directors.47

      Even DTCA’s own CFO and Vice President of Development, who is also a

former auditor, thought the number of medical directors at some DTCA Centers was

excessive.48 However, when he raised the issue with his superiors, he was told only

“we need them.”49

      4.       Medical directors were paid wildly different amounts for the same

purported responsibilities. Every medical director contract contained identical



      45
           LaRue Dep. At 52.
      46
          Exhibit 19 is a summary of medical director contracts as of August 1995. It
identifies “current fees” ranging from $3,000 to $84,250—for performing the same list of
duties.
      47
          The medical director contracts had wildly varying payment amounts. During
their respective contract periods, Dr. Pita was paid $50,000, Dr. Perez-Rodriguez was
paid $35,000/year; Dr. Papic was paid $20,000/year; Dr. Florez was paid $7,500/year,
Dr. Jacobi was paid $7,000/year, and Drs. Abelove and Reid were paid $1281.20/year.
Exh 104.
      48
           LaRue Dep. at 114-117.
      49
           Id. at 117-119.

                                          -15-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 21 of 171




duties.50 Senior Vice President of Operations Dana Williams testified that the core

responsibilities were the same for every medical director and that he would rely

specifically on the contract for any specific medical director’s duties and

responsibilities.51

       5.       There is no evidence of variation in the operational or hourly needs

of the centers. The existence of multiple medical directors and the payment of varying

fees is neither credibly explained nor explainable.52 Senior Vice President of Opera-

tions Williams testified that the basic operation of each center did not significantly vary

among the centers or over time.53 Moreover, Mr. Williams testified that the difference in

the amount of time that might be needed from various medical directors may vary by

only several hours per year.54

       6.       Medical director fees were not adjusted downward despite testimony

that less was required of the medical directors over time. DTCA officers testified

that less was required of medical directors once the diabetes center to which they were



       50
            LaRue Dep. at 52.
       51
            Williams Dep., Vol. 2, at 78-81.
       52
         In fact, because he had no explanation for the variations, DTCA CFO Gary
LaRue wondered if the payments varied because of the number of patients the
physicians could deliver to the center. LaRue Dep. at pgs. 58-60.
       53
          Williams Dep., Vol. 2, at 32-37. The only justification offered for the existence
of multiple medical directors is that it facilitated a synergy of medical opinion that added
value to the center. Deal Dep., Vol. 1, at 167-170, 232-234, 382-384. This, of course,
does nothing to explain the large variance in the amounts of remuneration to various
medical directors.
       54
            Williams Dep., Vol. 2, at 82-83.

                                               -16-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 22 of 171




attached was established.55 Chairman and CEO Cigarran testified that the medical

director’s “visibility” was important during the start up of the unit in order to lend credi-

bility, but then became less important.56 Cigarran also testified that more was required

in the beginning, during the set up of the unit, after which the time stabilized.57 Despite

this knowledge, there was no re-assessment of the amount of remuneration paid medi-

cal directors after the center’s needs “stabilized.”58 Since DTCA did not require any

reporting of time expended by medical directors, DTCA never had any idea—and based

on the evidence, could not have cared less—whether the medical directors were paid

the fair value of services rendered.

       7.       In 1995, DTCA amended the contracts to pay the vast majority of

doctors dramatically lower amounts for the same purported duties. After a full

decade of warnings by counsel that DTCA was risking prosecution under the Anti-

Kickback Statute, DTCA restructured the medical director contracts to include hourly

rates, minimum time expectations, and documentation requirements, and to remove

language requiring medical directors to develop referral sources or to identify and

encourage physicians and other referral sources to utilize the center.59




       55
            E.g., Cigarran Dep., Vol. 1, at 129; Hunter Dep. at 241-243; Kirk Dep. at 148-
150.
       56
            Cigarran Dep., Vol. 1, at 129.
       57
            Cigarran Dep., Vol. 1, at 182-183.
       58
            LaRue Dep. at 121.
       59
            Exh. 17, post-1995 contract.

                                             -17-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 23 of 171




       This process required DTCA to determine “the market hourly rate . . . for the

specific DTC market” and the “projected hours necessary” to fulfill the duties and

responsibilities of medical director.60 As a result of this purported market value deter-

mination, more than ten years after the first contract was signed, most medical

directors’ fees were cut by more than half.61 These drastic pay cuts were not well-

received by many of the medical directors, who believed they were now being paid less

for the same services. In fact, medical directors testified that their duties were un-

changed by the restructuring.62 DTCA told medical directors that the contracts had to

be restructured because “[t]he government has taken an increasingly aggressive

stance” on the enforcement of the anti-kickback statute which “is a felony” and “[t]o

make matters worse, the provisions of Stark II will go into effect on January 1, 1995 . .

.”63 While DTCA previously “made a decision not to alter or modify its Medical Director



       60
          Exh. 18, BCCB001966, 68-69, page 2-3 of “General Plan Strategy.” Notably,
this process involved no independent determination of “market hourly rates.” Rather,
Senior VP Dana Williams interviewed two or three personal contacts that were
physicians, spoke with his employees about previous payments to medical directors,
and then came up with an hourly range for specific geographic regions. Williams Dep.,
Vol. 2, at 177-178, 227-256. Adjustments were made within that range based on
negotiations with specific medical directors. Williams Dep., Vol. 2, at 191-192, 253.
       61
         E.g., Exh. 19, DTCA061740-42, Medical Director Contracts Monitoring Report.
This shows the “Current Fee,” “New/Proposed Fee,” and “Annualized Improvement” for
DTCA’s medical-director compensation budget. Many of the fees were cut by half or
more, with one, Dr. Agrin, cut from $27,000 per year to $2,000 per year. Aggregate
projected savings to DTCA as a result of the renegotiations was $1.4 million. Id.
       62
            E.g., Black Dep. at 102; Steed Dep. at 130-131; Davidson Dep. at 376-377.
       63
         Exh. 20, BCCB001970, August 3, 1994 Memo from Jay Hardcastle, Jr. to
Dana Williams regarding “bullet points to cover in your conversations with medical
directors.”

                                            -18-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 24 of 171




Agreements,” the enactment of Stark II “leaves no option and requires a different

response.”64 Further, “DTCA has been advised that with the enactment of Stark II, the

OIG will begin to execute and prosecute a more aggressive enforcement of the

law.”65

       8.         Expert Analysis by Kathy McNamara of Mayer Hoffman Mccann P.C.

confirms that DTCA paid medical directors amounts which exceeded fair market

value. DTCA studiously ignored repeated advice by its lawyers to obtain a fair market

value analysis of its medical director payments. Therefore, to confirm all of the

foregoing evidence that DTCA’s payments to medical directors were in fact in excess of

fair market value, Relator hired an expert to conduct such an analysis under industry

guidelines. Kathy McNamara reviewed all of the Medical Director contracts and

payments, as well as other relevant data, and concluded that the medical director

agreements were not commercially reasonable and that the fees paid to medical

directors were in excess of fair market value.66



       64
            Exh. 18, BCCB001966, 68-69, page 2 of “General Plan Strategy.”
       65
            Id.
       66
         McNamara Dep., pp. 9-10, 216-219, 222-223, 230. McNamara’s complete
report with an analysis of why the payments were not commercially reasonable and the
excess over fair market value that each medical director was paid by DTCA is Exhibit 2
to her deposition and Exhibit 105 to this Memorandum in Opposition. Exhibit B to
McNamara’s report is a physician-by-physician, year-over-year analysis showing how
much in excess of fair market value each physician was paid by DTCA. McNamara
Deposition 204, 324-325. The industry standard for fair market value used by
McNamara is the nationally recognized Medical Group Management Association.
Exhibit F to McNamara report; McNamara Dep. at 84-89. DTCA’s own attorneys
advised DTCA to utilize MGMA data to determine fair market value, but it never did so.
Exhibit 72, August 31, 1993 Letter at 3.

                                           -19-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 25 of 171




       These facts demonstrate that, in addition to paying medical directors without

regard to fair market value, DTCA also paid medical directors without regard to whether

and to what extent legitimate services were rendered. These facts also establish that

DTCA did not pay a reasonable rate for legitimate services rendered from 1983 until, at

least, 1995.

                       b.     DTCA Statements Regarding Intent of Contracts

       DTCA’s own statements regarding the intent and effect of the contracts establish

that an intended purpose was to induce the medical directors and others to admit their

patients to the Center. Founder and Chairman Cigarran testified that the company

expected every medical director to utilize the diabetes treatment center as a preferred

site for referral of his patients.67 DTCA President James Deal confirmed that a purpose

of recruiting medical directors was to secure their admissions.68 Vice-President of

Operations Mary Hunter testified that the company expected medical directors to admit

patients to the centers.69 CFO Mike Conrad testified that it was a paid responsibility of

the medical directors to encourage other physicians to refer patients for admission to

the centers.70



       67
            Cigarran Dep., Vol .1, at 116, 132-133.
       68
        Deal Dep., Vol. 1, at 236-237. But, Deal asserted, “that wouldn’t be the only
purpose.” Id.
       69
            Hunter Dep. at 217-219.
       70
         Conrad Dep., Vol. 2, at 75-77. Mr. Conrad was unaware of the vast majority of
advice given by DTCA’s attorneys, including the advice that such duties should be
removed from the contracts in order to avoid investigation by the Inspector General and
potential felony prosecution. Dep., Vol. 2, at 145-147.

                                             -20-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 26 of 171




       Not surprisingly, these same officers attempt to divert attention from the obvious

pay-for-play nature of the relationships by describing admissions as the hoped-for

outcome of creating a “center of excellence.” This, of course, is a question for the

Jury. But, in fact, former DTCA CFO Gary LaRue testified to an understanding be-

tween DTCA and its paid medical directors that the directors would refer and admit their

patients to the center.71 Further, the documents reflect that this was not just a hope, but

a promise. DTCA promised these admissions to every hospital in order to secure

lucrative contracts72.

       The development strategy which DTCA used when it prepared to enter a

particular market highlights the point. This strategy was called “Physicians First.”73 The

point of it was that once it identified a potentially-lucrative market, DTCA conducted

research to determine what endocrinologists or internists had the highest-volume

diabetes practices. It focused its efforts on entering into medical director contracts with

those patient-rich practices. Once DTCA had the physician under contract it intensified

its pitch to hospitals, using the promise of the medical director’s admissions as an in-

centive for the hospital to open a Center.74 Development vice-president Gary LaRue

testified that in developing a new market, DTCA would sign medical directors first and



       71
          LaRue Dep. At 123-126. At times this understanding was reduced to writing
as in Dr. Hellman’s five year Professional Practice Agreement wherein he agrees to use
the hospital where DTCA is located as his hospital of preference. Exh. 122, ¶14.
       72
            Exh. 116, Declaration of A. Scott Pogue.
       73
            Deal Dep. Vol. 1 at 39-41.
       74
            Exh. 116.

                                            -21-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 27 of 171




only then approach hospitals.75 LaRue also testified that DTCA would hold the medical

director contracts until the hospital signed.76 In this way, DTCA was able to promise the

hospital an established patient base—that is, the additional inpatient admissions which

would result from the medical director’s existing patient load—when a new center was

opened.

      Activity reports generated by DTCA business development personnel document

their execution of Physicians First. For example:

      10/02/90: Spoke with 3 medical directors, informed them of current status.
      Asked them to contact Pat and express their support and potential
      admissions.77

      2/19/91: Spoke with Steve re: conversation with Lee Ann indicating that
      they were not ready to develop the “diabetes floor” at this time......I told
      him about my conversation with [Dr.] Travis Lunceford and his willingness
      to support a unit there. That got his interest and he said maybe they
      could gradually move the project along. I told him I was meeting with
      Travis’s group and would let him know of their interest.78

      3/05/91: Met last night with Drs. Bryant and Lunceford. They were very
      positive and are willing to support a Center with as many admissions as
      possible. They will call Steve to relate.79




      75
           LaRue Dep. at 21-22.
      76
           Id. at 21, 57.
      77
        Exh. 21, DTCA092685-89, 1991 Report from Development employee William
Moore regarding contract negotiations with Miami Beach Community Hospital in Miami
Beach.
      78
         Exh. 22, DTCA092648-49, 1991 Moore Report regarding contract negotiations
with Eastwood Medical Center in Memphis, Tennessee.
      79
           Id.

                                          -22-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 28 of 171




       3/22/91: Spoke with Travis Lunceford. He promised to call Steve Bell
       [President and CEO of hospital] to express his willingness to admit all
       primary diabetes and secondary as feasible on a case by case basis.80

       12/29/92: Spoke again with Beverly. She had spoken with David Shado-
       wen MD and he spoke highly of us but was in the process of recruiting a
       new partner and did not have the time to devote to developing a center. I
       told Beverly that was no problem and we could do it with little of David’s
       time. She was going to speak to her boss again and get me to come up
       for a “dog and pony show.”81

       8/23/93: Spoke with Beverly [hospital associate administrator]...She also
       gave me a list of key physicians I would need to move the hospital in this
       direction.82

       This promise of medical director admissions is reflected throughout the docu-

ments. An especially-compelling illustration of DTCA’s true purpose in contracting with

medical directors (i.e., to secure patient referrals) is a 1988 lawsuit in which Salt Lake’s

Holy Cross Hospital sued DTCA breach of contract resulting from DTCA’s failure to

recruit an additional medical director to secure an additional patient-referral base.

DTCA’s “Tikka” Beard, DTCA Program Manager at HCH, testified unequivocally upon

examination by counsel for DTCA that DTCA was in the business of soliciting

admissions through paid medical directors:

       [O]ur intent was to solicit the participation, either contractual or
       through their admitting practices, to admit patients to the hospital or,
       I’m sorry, to the center, to DTC.83



       80
            Id.
       81
            Id.
       82
       Exh. 23, DTCA092656-57, 1991 Moore Report regarding negotiations with
HCA Greenview Hospital in Bowling Green, Kentucky.
       83
            Dep. of Mary Catherine Beard (Oct.17, 1988) at 11 (emphasis supplied).

                                            -23-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 29 of 171




       Ms. Beard testified that it was an implied duty of DTCA’s contract with the

hospital that DTCA would contract with “a physician that would bring a new patient base

to the center.”84 In April 1986, Beard documented in an internal report that DTCA and

Holy Cross “discussed the role of medical director and Holy Cross Hospital’s expecta-

tion of increased market share through additional admissions with the physician or

associate medical director.”85 She testified that they attempted to bring in a physician

who was not already on staff at the hospital for the express purpose of bringing a new

patient “load” to the hospital.86

       The unvarnished desire on the part of DTCA management to use payments to

medical directors to generate inpatient referrals to DTCA’s client hospitals87 is mirrored

in documents regarding negotiations with the medical directors. With regard to

negotiations with potential medical director, Dr. Stanchfield, who was not on staff with

Holy Cross, Center Manager Beard testified: “[W]e were interested in, again, securing

his interest and admissions to Holy Cross.” Dep. of Beard at 28. And in a site visit in




       84
            Dep. of Beard at 32.
       85
            Dep. of Beard at 31-32 (quoting document) (emphasis supplied).
       86
            Beard testified:

       There were meetings in which the need to enhance census, specifically
       through the recruitment of an outside physician who would be bringing
       another patient load to Holy Cross that wasn’t previously there, so there
       were conversations to that end.

Dep. at 31 (emphasis supplied).
       87
            Beard Dep. at 45 (referencing document) (emphasis supplied).

                                           -24-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 30 of 171




September 1986 by potential medical directors, she reports that the purpose was to

“..show them the unit. Again, to solicit potential admissions.”

Dr. Stanchfield told Ms. Beard and DTCA Senior Vice President Barbara Dowl, that:

       [H]e can deliver physicians and he personally has on any given day 4-6
       patients in St. Mark’s; his 2 partners have at least 2 patients per day, and
       the major Retinal group and nephrology practice would utilize the center.88

       This is just one of many examples. DTCA’s often-repeated expectations reflect

that a primary purpose of its payments to medical directors was to increase admissions

to the hospitals from those medical directors and other physicians who the medical

directors influenced. The explicit, and often desperate, clarity of DTCA’s purpose to

obtain admission from paid medical directors is shown throughout its documents. The

following examples are culled from a vast library:

       •      “We reduce physician compensation to $25,000 to provide the Medical
              Director leadership with Dr. Motto. This would be a reduction from his
              $60,000 fee currently in place. The risk may be that he does not
              support the program and may take one-third of his patients
              elsewhere. It is my assessment that the hospital will be willing to take
              this risk.”89

       •      “[T]he revised contract with Walthamweston provides us medical directors
              and DTCA incentives to increase activity at the Center. To achieve these
              new goals, we need to: 1) maximize utilization among the directors and 2)




       88
          Exh. 24, DTCA065165 (October 15, 1986 Memo). Barbara Dowl told the
Hospital that Dr. Stanchfield “has committed to refer outpatients to Holy Cross at this
time. However, the real thrust of this contribution will be derived initially on the inpatient
side of the center.” Exh. 25, DTCA065096, September 21, 1986 Letter to Ken Rock
from Barbara Dowl.
       89
         Exh. 26, DTCA105955-59, July 1990 Internal DTCA Memo regarding proposal
to decrease costs after Alexian Brothers Hospital threatened to discontinue its contract
with DTCA (emphasis supplied)

                                             -25-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 31 of 171




             seriously reconsider recruiting new associate or assistant directors who do
             not necessarily join DAEM unless your group feels it appropriate.”90

      •      “Our goal is to develop Associate Medical Director relationships with
             other specialists in the South County area to maximize the networking
             of referrals for this rapidly growing area.”91

      •      At this time, Dr. Stanchfield and DTCA are proceeding to agree upon a
             letter of understanding which outlines the terms of a formal agreement[.]
             Ken, as you may be aware, Dr. Stanchfield visited the Center today,
             and has committed to refer outpatients to Holy Cross at this time.
             However, the real thrust of this contribution will be derived initially on the
             inpatient side of the Center.92

      •      “Paula is also working through [DTCA executive, Mike] Conrad to prepare
             a background review of all endocrinologists in Louisville to determine
             which physicians to approach to increase the utilization of the
             program. We will also contact Dr. Pfeifer in Lexington to revisit a
             possible relocation to Louisville . . . We also met with DTC staff . . . to
             specifically discuss ways to reduce length of stay and increase diabetes
             admissions.”93

      •      “Jim, operational considerations are as follows:

             —Clark will never be the Director we want and need; he’s not going to
             change his admitting practices...




      90
          Exh. 3, DTCA037020, December 14,1987 Letter from VP Williams to Medical
Director Goldstein regarding increases in medical director fees and renewal of hospital
contract.
      91
         Exh. 27, BCCB009004, October 11, 1985 Letter to potential Associate Medical
Director Benjamin Milchiker regarding proposed DTC at Western Medical Center in
Santa Ana, California (emphasis supplied).
      92
         Exh. 23, DTCA065096, September 21, 1986 Letter to Ken Rock at Holy Cross
Hospital from Barbara Dowl (emphasis supplied).
      93
         Exh. 28, CHS0116, September 20, 1991 Letter from CFO Conrad to CEO of
St. Mary & Elizabeth Hospital (emphasis supplied).

                                           -26-
     Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 32 of 171




                 —Dr. Regans’ contract expires 5/4/91. In FY '89 he contributed $63,270
                 in revenue and our Medical Director fee was $12,576.94

                 —I am requesting approval to provide financial assistance [income
                 guarantee] for Dr. Margaret Maciulis . . . We estimate that Dr. Maciulis will
                 contribute the following patient volume to the center:

                 —7 admissions per month (1.15ADC). . . $185 per day . . .
                 $77,700/year.”95

      •          “Now we can create a feeling of ownership in him and he will also be able
                 to see the long term financial effect of the hard work that he is doing now.
                 He will also be able to see, again long term, what a good census at
                 the Center means to him. This would perhaps encourage him to take
                 a very active part in census building with other physicians both on
                 the staff at Shallowford Community Hospital and those who are not.”96

      •          “The primary reason for Columbia Regional to contract with DTCA is
                 to increase the number of discharges for people with diabetes[.] Our
                 goal is to assist you in increasing the number of discharges for people
                 with diabetes from one year to the next.”97

      •          “OBJECTIVE A - INCREASE DIABETES DISCHARGES BY A MINIMUM
                 OF 10% ABOVE 1991

                 —Increase admissions from Medical Director

                 —Increase admissions from other endocrinologists

                 —Increase admissions from other physicians”98



      94
           Exh. 29, DTCA041176, September 18, 1989 Internal Memo.
      95
           Id.
      96
         Exh. 30, DTCA118039, January 7, 1985 Internal Memo regarding offering
stock options to Dr. Davidson (emphasis supplied).
      97
       Exh. 1, DTCA071024, November 14, 1996 Letter to Hospital from CFO Conrad
(emphasis supplied).
      98
          Exh. 31, DTCA127836, 41, Memorial Medical Center Incremental Diabetes
Profitability Analysis, May 1, 1990 - April 30, 1991.

                                              -27-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 33 of 171




       •     “Implement individualized physician office marketing plans for our top
             admitters in order to increase office practice volume and resultant
             admissions.”99

       •     “It has been DTCA’s experience that focusing efforts on physician
             marketing results in the greatest return on investment of both money and
             time...strategies focus on continuing long-term relationships with medical
             directors, targeted physicians...to increase volume and decrease length of
             stay (LOS).”100

       •     “WPMC Expectations for DTC: . . . To retain Medical Directors and their
             business.”101

       These examples demonstrate, well beyond the threshold of demonstrating a

dispute of material fact argument, that DTCA's principal reason for contracting with

medical directors was to generate patient census for its hospital clients. Documents

and testimony regarding the implementation of these contracts show that these

intentions flowed down into a continuing course of violating the Anti-Kickback and Stark

laws resulting in the submission of a steady stream of false claims by the DTCA host

hospitals.

             2.     The Scheme In Practice: Day-to-Day Drumbeat of Referral
                    Solicitations

       During the entire time period relevant to Relator’s allegations, DTCA’s primary

source of revenue was the fees paid to DTCA by hospitals pursuant to management



       99
         Ex. 32, DTCA002111, 29, Annual Report, DTC at West Paces, 1989-1990.
Marketing for medical directors was paid for by DTCA, thus providing a financial benefit
to the medical directors (emphasis supplied). LaRue dep at 111-113.
       100
        Exh. 33, DTCA001761-71 (Selected pages), Business Plan for DTC at West
Paces September 1993 - August 1994.
       101
        Exh. 33, Business Plan for DTC at West Paces September 1993—August
1994 (emphasis supplied).

                                          -28-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 34 of 171




contracts. These contracts were structured to increase DTCA’s fees as DTCA in-

creased census for its hospital clients.

        In order to deliver the census increases essential to justify the hospitals’ payment

of management fees, DTCA promised hospitals that it would engage enough medical

directors to (1) secure a patient referral base from their practices, and (2) aggressively

market to their colleagues for referrals.102

        In order to ensure aggressive marketing, DTCA paid its employees bonuses

based on increases in census. In fact, a 1988 directive from Bob Stone modified the

bonus program to tie it more directly to census increases, based on his conclusion that

“the most significant contributor [to centers which have not experienced a census

increase] is the apparent failure of the program manager to maintain his/her marketing

efforts.”103

        DTCA employees knew that they were required to aggressively market to in-

crease census. They knew that if census did not increase, they were not compensated

under the bonus plan. They also knew that if they did not perform in accordance with

the bonus plan, they would be terminated.104 Even more to the point, DTCA em-




        102
              Exh. 116; notes 98 and 100, supra.
        103
         Exh. 34, DTCA131567-68, September 9, 1988 memos from Bob Stone
regarding PMR bonuses.
        104
          Kirk Dep. at 316 (Q. ...did you tell [Mr. Pogue] that unless he developed more
centers that he could face termination? A. The expectation was written in the bonus
plan. It was part of the reviews that the expectation was three centers). Accord Kirk
Dep. at 27-28, 336-339.

                                               -29-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 35 of 171




ployees knew that if census did not increase, DTCA would not receive the fees neces-

sary to keep the center open, and there would be no job at all.

      These operational personnel were the ones who had day-to-day interactions with

medical directors. Despite the requirements of the fraud and abuse laws, and the

repeated cautions of its business and health-care attorneys, DTCA took no steps to

ensure that employees with a financial interest in census did not attempt to influence

increased census from the medical directors. Thomas Cigarran testified that he was

aware that the company had hundreds of people in the field that were incentivized to

increase census, who had day-to-day contact with doctors, and who had far less health

care experience than he or other corporate officers.105

      Yet he and his company did nothing to educate them on the requirements of the

Medicare fraud and abuse laws. It never gave them a copy of the statutes or regula-

tions,106 nor provided summaries of the requirements of the law.107 It never distributed

any guidelines as to proper and improper means to increase census.108 There was no

written policy, no formal training, and no what-to-do or not-to-do when it came to com-

pliance with fraud and abuse laws. No employees below the highest corporate levels

were informed about what the lawyers advised with regard to the risks inherent in all the

arrangements. Even core management such as CFO Conrad and Senior Vice President



      105
            Cigarran Dep., Vol. 2, at 106, 127-129.
      106
            Cigarran Dep., Vol. 2, at 133-134.
      107
            Cigarran Dep., Vol. 2 at 136-138
      108
            Cigarran Dep., Vol. 2, at 123-124.

                                            -30-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 36 of 171




Hunter had no idea that, in the 1980's and early 1990's, lawyers had repeatedly advised

that DTCA’s contractual arrangements with medical directors exposed the company to

investigation and prosecution for anti-kickback violations.109

       Mr. Cigarran says he did not provide training specific to the kickback laws be-

cause it was a “gray area;” that it was too complicated to explain all the AKA’s pro-

visions and regulations and would have been “out of context” to give them just a part of

it; and, that doing so was “dangerous” because then employees would overlay their own

interpretations onto the statute’s requirements.110

       This was bunk. Not only was Cigarran a seasoned hospital executive—a veteran

of Columbia/HCA, in fact—who know full-well the ins and outs of the fraud and abuse

laws, but his lawyers advised him no later than 1989 that this fact necessitated

additional training of the company's employees. In an August 15, 1989 letter, Nashville

attorney and DTCA’s primary attorney, James I. Vance Berry, advised Tom Cigarran

and Jim Deal that:

       ...we are receiving an increasing number of requests—several each
       week—involving different methods of compensating doctors who happen
       to be the source, or the potential source, of substantial referrals. While
       some of these proposals are clean, some are not and the mere volume of
       the transactions casts a shadow even upon those that might otherwise
       pass muster. Thus we have an increasing concern about your ability
       to successfully defend all of the arrangements[.]




       109
         Conrad Dep., Vol. 2, at 50, 53-54; Hunter Dep. at 254-264 (believed contracts
were compliant with the law; was told by lawyers that contracts had to be restructured to
be in compliance with Stark II).
       110
             Cigarran Dep., Vol. 2, at 126-127, 133-139.

                                             -31-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 37 of 171




              We can of course qualify our opinions that this is an unsettled area
       of law....but qualified opinions really don't serve your purpose. There is no
       magic line and no magic black and white.

              We do get a feeling that some of your people who are nego-
       tiating contracts may not fully appreciate all of the considerations
       that go into dealing with this problem. Frequently, where a client has a
       group of employees dealing with a similar set of problems, we have
       arranged to put on an in-house seminar designed to inform the
       employees of the legal considerations involved and of the pitfalls.
       Because of the high exposure that this area presents for you, we believe
       such a program could be beneficial and should make the discussions
       between us more readily understood.

             We would like to do this with your people and would of course
       expect this to be on a non-fee basis.111

       DTCA flatly ignored this advice and never accepted counsel’s offer to provide

free fraud-and-abuse training to its personnel. Rather, Cigarran testified that the

company made a decision not to disseminate specific information as to the potential

outer limits of the law because it was too "dangerous" given the complications of

interpreting the "gray areas" in the law. Cigarran's chosen alternative to training his

employees was to give them no guidance at all.112

       DTCA’s focus on profit and the census growth which enabled it—coupled with

their complete lack of emphasis on compliance with fraud and abuse laws—resulted in

unrestrained fraudulent conduct. In most other cases, “smoking-gun” documents are

few and far between. Here, the documents are replete with statements proving that

DTCA was being paid by hospitals to influence referrals and that it paid its staff to do




       111
             Exh. 35, BCCB002118-19, August 15, 1989, letter from James Berry.
       112
             Cigarran Dep., Vol. 2 at 133-139.

                                             -32-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 38 of 171




the same. The following excerpts are examples of direct communications with paid

medical directors soliciting referrals to the centers:

       •      “The staff . . . make themselves available to the physicians for assistance
              at those moments of truth when the physician interacts with the patients . .
              . . We are also taking these opportunities to ask these physicians for
              more of their patients so we can again demonstrate the Columbia/DTCA
              difference.”113

       •      Please find attached Dr. Huttner’s letter of request for a development
              contract and $9,000 additional compensation per year. He has high-
              lighted specific areas where he plans to increase census for the
              additional compensation. Walt is aware that we need incremental
              census to justify any expense and I feel he will make sure the
              $750.00 per month is at a minimum.114

       •      Dr. Hellman is requesting that DTCA assist financially in the
              establishment of a Foundation for his research. The sum of the
              request is $75,000/year for three (3) years. He indicated that his support
              for DTC will be commensurate with our funding assistance . . . . Dr.
              Hellman feels that if we fund this Foundation, DTC will:

              —Continue to receive the inpatient support of Dr. Hellman. In 1988,
              Hellman contributed 332 admissions; 2687 patient days; and 8 LOS.

              —The DTC image will be enhanced through association with the
              Foundation.

              —Dr. Hellman will continue to market DTC to outside groups.115

       •      From Dr. Perley: I have a percentage ownership in that unit and if you
              lower the revenues, that affects my reimbursement by $200,000. Who is
              going to make that up? You may not see any difference in the


       113
         Exh. 36, HCA-WP-055040, “Ways in Which DTCA Staff Members Have
Helped to Increase Volume” at Columbia South Bay Health Care Network since May
1995 (emphasis supplied).
       114
        Exh. 37, BCCB009279, July 6, 1988 memo to Bob Stone from Pam Goebel
(emphasis supplied).
       115
         Exh. 38, DTCA038147, September 15, 1988 memo to Bob Stone from Morrie
Maple. (emphasis supplied)

                                             -33-
     Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 39 of 171




               census in the next week or two, but by the end of the year you will
               see changes.

      •        Handwritten comment by DTCA: If census drops off—does that create any
               rights for us [against Dr. Perley]?116

      •        Dear Dr. Bueso: . . . [Center Manager] Emily is telling me you are already
               having a significant impact on the census of the Center. I have great
               expectations for building your practice and I think we will have fun working
               together as we grow Park Plaza’s diabetes product line...As we agreed
               upon, your Medical Director fee will be increased to $18,000/year
               beginning January, 1990.117

      •        Dear Dr. Sweeney: ...As I promised, enclosed you will find a projection of
               stock value representing your 5% ownership... Increased activity will, of
               course, result in increased value for you...Moreover, on an annualized
               basis the value is $16,984.80, which when considered in addition to the
               income provided from referral office visits and admissions, exceeds the
               annual impact you have indicated you were anticipating from your
               association with us.118

      •        Regarding a meeting with Dr. Clarke to inform him, among other things,
               that “his admissions to the Center were the least representative in the
               Division.” Dr. Clarke asked “how many patients it would take to ‘keep
               the center.’” Barbara Dowl told him “at least 15 patients everyday in
               the Center would be necessary, and how did he plan to facilitate that
               census.”119

      •        Regarding discussions about an inexperienced physician hired by DTCA
               in Atlanta:

               —President Deal—Wait a minute. A guy coming out of a fellowship, most
               likely, is not going to be a medical director of a center. If he is going to be


      116
         Exh. 39, DTCA102619, November 6, 1987 Memo to File from Barbara Dowl.
Re: Michael J. Perley, M.D.
      117
         Exh. 40, BCCB009256, November 9, 1989 letter to Gerardo Bueso, MD. from
Morrie Maple (emphasis supplied).
      118
         Exh. 41, DTCA060417-18, December 9, 1986 letter to Howard Sweeney,
M.D. from Robert E. Stone.
      119
            Exh. 42, DTCA065165, October 15, 1986 Memo (emphasis supplied).

                                             -34-
     Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 40 of 171




               an associate, he is someone one of you are going to choose. What
               happened in Atlanta should never happen ever and I can’t imagine you
               letting that happen in your centers.

               —Medical Director Davidson—It was pressure to fill beds.

               —President Deal—That is an issue we need to talk about on the side.120

      •        From Program Manager: Visit each Medical Director weekly, at their
               office, to encourage DTC admissions.121

      •        From Program Manager’s Report:

               ADC [Average Daily Census]—Medical Directors

               —Analysis: We are below budget by .2 [average daily census].

               —Plan: Encourage admissions to the center. Consider giving the two
               new MD’s in practice with the medical directors a position.122

      •        From Program Manager’s Report:

               Medical Directors - Contributions by medical directors fell short by -1.1
               ADC compared to budgeted 4.3 ADC.

               Plan of Action

               —Continue to report weekly ADC and number of patients on center to
               medical directors;

               —Weekly analysis for medical directors and number of patients needed
               during the month to accomplish monthly budgeted ADC.123



      120
         Exh. 43, DTCA075427, 38, September 24, 1985 Memo from Robert E. Stone
enclosing transcript of medical directors’ meeting (emphasis supplied).
      121
          Exh. 44, DTCA169520, March 1990 MOR for Holy Cross-Utah (emphasis
supplied).
      122
            Exh. 45, DTCA179494, October 1988 MOR for Newark Beth Israel Medical
Center.
      123
            Exh. 46, DTCA190336, September 1988 MOR for Roper Hospital Center.

                                            -35-
     Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 41 of 171




     •           From Program Manager:

                 ADC MEDICAL DIRECTORS

                 —Analysis: Dr. Sweeny had twelve patients from his practice admitted
                 this month. Dr. Farrell and Dr. Gilbert admitted none.

                 —Plan: Contact associate medical directors about lack of private practice
                 admissions, or discuss the problem with Dr. Sweeney.124

     •           From Program Manager:

                 ADC - Medical Directors

                 —Analysis: Medical Directors admissions are down this month....The
                 medical directors appear to be encouraging colleagues to use the
                 Center. This has had a significant impact on ADC.

                 —Plan: Continue to reference ADC goal. Will send formal thank you
                 notes to directors for their referrals. Will share marketing plan with
                 directors and solicit their active support in implementing the plan.125

     •           From Program Manager:

                 Hospital/Medical Director Relations

                 —Analysis: ...Dr. Tulloch admitted two diabetic patients to other sections
                 of the hospital, and delayed ordering DTC Services.

                 —Plan: ...Will meet with Dr. Tulloch to assure his commitment to DTC
                 goals.126




     124
           Exh. 47, DTCA191243, May 1989 MOR for Mercy-Chicago.
     125
         Exh. 48, DTCA191245 and DTCA191248, May 1989 MOR for DTC at Park
Plaza (emphasis supplied).
     126
           Id.

                                              -36-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 42 of 171




      •        From Program Manager: Dr. Smith admits frequently, but only keeps
               patients in for a very short duration. I will be talking with him about
               this. I talked with Dr. Rose regarding no admissions.127

      •        From Program Manager’s Report:

               Enhanced Medical Staff Relationships

               —June 12 - Med First Physicians (Toco Hills) - Sally spoke with Dr. Grier
               about DTCA making referrals and the upcoming screening

               —June 16 - Larry Ball - Idie made marketing call to his office per request
               of Joni Crepps (VP operations). NRMC introduced him to DTCA services
               and discussed possible referrals.128


      The DTCA Centers had a specific census goal and budget for medical directors

that was communicated from DTCA to the medical directors129 There were additional

ways in which medical directors were made aware that their continued receipt of a

salary from DTCA depended on census increases. From the inception of these ar-

rangements, DTCA officers sent the same message to their medical directors that they

sent to their operations employees—their jobs depended on increased census. In

1986, for example, Senior Vice-President Bob Stone, told medical directors:

      [DTCA’s investment] must yield a sufficient return . . . the essential
      element [to DTCA’s ability to provide resources to the center] is
      census–not only in the absolute, but equally is important, as compared to
      budget.130


      127
        Exh. 49, DTCA180132, 1987 Letter to Duell Wise from Sheila Ryan
(emphasis supplied).
      128
         Exh. 50, DTCA235757-62, MOR for June 1993 for DTCA at Northlake
Regional Medical Center.
      129
            LaRue Dep. at 135-140.
      130
            Exh. 8, DTCA075400-08, November 5, 1986 Stone letter (emphasis supplied).

                                           -37-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 43 of 171




       Stone went on to advise each medical director of the census shortfall for their

respective DTCs based on actual versus projected census numbers, as well as the

specific dollar loss realized by DTCA as a result of each census shortfall.131 He then

clearly stated what was expected of each paid medical director:

       There are only two ways in which that shortfall can be made up–reduced
       expenses or increased volume. Since reducing expenses is as
       unpleasant for you as it is for us, and in some cases may be counter-
       productive, I hope you will join us in taking whatever steps are
       necessary to increase volume.132

       In 1989, DTCA President Deal told medical directors that DTCA staff were

undergoing training in “professional selling skills” in order to

       increas[e] our ability to bring more referrals to your practice and
       attract more patients to our centers . . . As I hope you realize, we are
       extremely eager to understand your needs and satisfy as many of them as
       we possibly can. Our ability to do this, however, is contingent upon
       maintaining our contracts with our hospitals. To maintain these
       contracts we must reach out, understand our hospitals’ needs and satisfy
       them, too . . . Without lasting relationships with hospitals, we cannot
       continue to meet your needs or those of your patients.133

       With the message well and frequently delivered, DTCA’s officers relied on their

field representatives to make sure it was acted upon. Gary LaRue testified that DTCA

Regional Managers encouraged DTCA onsite program managers to talk to Medical




        131
              Id.
        132
              Id. (emphasis added).
        133
        Exh. 51, AP000080-83, April 10, 1989 letter to Judson G. Black, M.D. from
James A. Deal (emphasis supplied).

                                             -38-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 44 of 171




Directors about their individual census numbers and that there was no prohibition

against DTCA employees talking to the medical directors about their admissions.134

       C.     AHC and DTCA Knowingly Decided to Risk Prosecution by the United
              States in Order to Keep the Company Alive

       The documents show that DTCA was advised, at the latest, by 1989 that it was at

risk of prosecution for felony kickback violations resulting from its contractual arrange-

ments with hospitals and doctors. It is equally clear that DTCA decided to take that risk.

       In response to repeated warnings that their contractual arrangements posed risk

of criminal prosecution, (including a remarkable series of letters in the summer of 1989,

detailed below), DTCA did not take affirmative measures to ensure that such arrange-

ments were in compliance with Medicare fraud and abuse laws. Far from modifying its

arrangements to remove any incentives to admit patients, the company’s emphasis was

just the opposite. In 1989 and 1990 DTCA focused on “increasing the volume of

diabetes patients at our client’s hospitals”135 and taking “whatever steps are

necessary”136 to make that happen.




       134
          LaRue Dep. 157-160; See also, Exhs. 106 & 107 (formerly exhibits 13 and 14
to the LaRue deposition) are examples of center monthly operations reports showing
that program managers were discussing census numbers and the need to increase
them with medical directors. LaRue testified that reports like these were sent to and
available to anyone in the home office. LaRue Dep. 155-56.
       135
          Exh. 52, DTCA101398-403, November 29, 1990 Minutes of Board of
Directors’ Meeting at ¶ 5.
       136
         Exh. 8, DTCA075400-08. This instruction had been in place since 1986,
when VP Bob Stone informed medical directors that it was necessary for them to “take
whatever steps necessary” to make up census shortfall if they did not want to lose
resources from DTCA.

                                            -39-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 45 of 171




               1.     DTCA ignored extensive, and increasingly-vehement, legal
                      advice regarding its exposure under the Anti-Kickback Statute

      DTCA had no in-house counsel. It retained outside counsel to advise it as to all

legal matters and, as such, had sole control of all information provided to that counsel in

order to obtain advice. In 1981, DTCA, through its parent company AHC, hired

Nashville’s Boult, Cummings, Conners, & Berry (“BCCB”) to serve as counsel. In 1988,

DTCA retained separate attorneys at Bass, Berry, and Sims to provide advice on

corporate matters, but still retained BCCB as their healthcare counsel.

      DTCA’s decision to make BCCB their dedicated healthcare counsel is of interest

because its primary contacts had little experience in health care. The partners in charge

of the account, Vance Berry and E. Berry Holt, were business lawyers with practices in

real estate and finance, respectively.137 They delegated the substantive work and day-

to-day contact with DTCA to associate Tom Smith.138 After graduating from law school

in December 1984, Smith joined the firm in 1985.139 Smith testified that he was hired to

be the firm’s health care expert, such that “the knowledge level that [he] either would

bring or develop at Boult, Cummings would exceed what they had already.”140 Smith’s

experience before attending law school included seven years as a hospital administrator

(1974-1981), though he states the anti-kickback laws were something they “didn’t think




       137
             Hardcastle Dep. at 29-31; Smith Dep. at 26-27.
       138
             Hardcastle Dep. at 39.
       139
             Smith Dep. at 12-15, 59.
       140
             Smith Dep. at 152-153.

                                            -40-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 46 of 171




about too much” at that time.141 Smith attended one class in law school regarding health

care.142

       In May of 1989, Smith left the firm.143 Before Smith’s departure, BCCB added a

new attorney, Jay Hardcastle, Jr., to its AHC/DTCA matters. Hardcastle joined the firm

upon graduating law school in 1987.144 Hardcastle began his practice as a real estate

lawyer.145 He commenced work on the AHC/DTCA account in early to mid-1988, having

been an attorney for about six months.146 Having taken only one course in law school on

the topic of health care, Hardcastle “worked in an apprenticeship role with Smith.”147

Hardcastle considered three-year associate Smith to be his “mentor”—an “accom-

plished, experienced healthcare attorney who did a lot of day-to-day contracting.”148

After about a year, however, Smith left the firm to practice in Florida. Two years into his

practice and a year into his healthcare “apprenticeship,” Hardcastle took Smith’s place

as the primary advisor to AHC and DTCA on healthcare issues.149 Though he lost his

mentor, Hardcastle noted in deposition that he did attend a national health care law


           141
                 Smith Dep. at 21-22.
           142
                 Smith Dep. at 15.
           143
                 Smith Dep. at 26.
           144
                 Hardcastle Dep. at 12, 15-16.
           145
                 Smith Dep. at 26-28.
           146
                 Hardcastle Dep. at 229.
           147
                 Hardcastle Dep. at 12-13, 82.
           148
                 Hardcastle Dep. at 39, 217.
           149
                 Smith Dep. at 30; Hardcastle Dep. at 230.

                                                 -41-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 47 of 171




seminar in San Francisco in June 1989.150 Not long after that conference, in August

1989, Hardcastle issued a flurry of internal memoranda and letters to the client docu-

menting BCCB’s warnings regarding the risks of Medicare fraud and abuse in DTCA’s

contracts and the client’s decision to proceed anyway.151

                 2.    DTCA Did Not Fully and Accurately Report the Material Facts to
                       its Attorneys: Its Attorneys Knew About Contracts, Not
                       Conduct.

       Before addressing those documents, it is important to keep in mind a few

pertinent facts. The attorneys have consistently testified that they relied on the client to

provide all information relevant to their advice and conducted no independent

investigation as to the implementation of the contracts.152 Tom Smith testified that he

reviewed and approved the contract language in a vacuum: he had no knowledge

regarding how the contract was implemented or “whether the relationship was designed

to accomplish anything outside the four corners of the agreement.”153 Further, as to the

medical directors’ contractual duty to develop referral sources, Smith states:

       When you identify any conduct in a general term, like development of
       services, we certainly, sitting here, can review that word and envision
       conduct that would fall within development that is legal and conduct that
       would fall within development that is illegal. The reason I would have
       opined that the use of that duty development is okay in this contract is
       because I believed from my interactions with my client that they had a


        150
              Hardcastle Dep. at 230-231.
        151
         Exh. 108 chronological chart regarding attorney advice and attachments N-W
thereto. See infra for further discussion.
        152
              See infra testimony of Smith and Hardcastle; Mills Dep. at 101.
        153
       Smith Dep. at 122-123, 181-182. He does not recall seeing any operational
documents of any kind. Smith Dep. at 123.

                                             -42-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 48 of 171




      desire -- this is a general recollection, no specific conversations -- had a
      desire to comply with the law, and therefore, it would have been my belief
      that the contract on its face, using the word development, was legal, and I
      would have believed that my client was implementing that in a legal
      fashion. Did I search beyond the four corners? No. Do I have a
      recollection of a specific conversation with them about the specific
      activities that were being done? No.154

      Smith’s successor, Jay Hardcastle, testified similarly, stating that when he raised

fraud and abuse concerns about the terms of the contracts, DTCA officers “were able to

assure me to my satisfaction that the reality of the situation was that the medical

directors were providing a valuable service and were not getting paid too much

money.”155 Hardcastle was provided no documentation of those facts, and relied on

James Deal’s “heartfelt” belief “convincingly presented” that the various contractual

schemes, such as ones involving multiple medical directors, “generated a better quality

clinical product.”156 Deal did not communicate to Hardcastle the non-quality focus

reflected by its operational documents. During his deposition, Hardcastle was shown

many of the “smoking gun” documents cited supra and testified that he had no

knowledge of ever having seen them.157

      Thus, based on DTCA's representations, the attorneys operated on the following

assumptions:




       154
             Smith Dep. at 179-180.
       155
         Hardcastle Dep. at 444; see also Dep. at 417, ("Bob assured me that
whatever he was doing with Hellman was up and up").
       156
             Hardcastle Dep. at 445.
       157
             E.g., Hardcastle at 113-115.

                                            -43-
     Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 49 of 171




     •           "[P]ayments are solely intended to be compensation for...services as a
                 medical director";158

     •           No purpose of the medical director's payment was to obtain the referral of
                 their patients;159

     •           Medical directors' compensation is "based on the size of the centers and
                 the staff;"160

     •           "DTCA is not paying any more for our medical directors' services than they
                 are worth;"161

     •           The medical director compensation is "consistent with fair market value in
                 arms length transactions and will not be determined in a manner that takes
                 into account the volume or value of any referrals or business otherwise
                 generated between the parties;"162

     •           Medical Directors performed the duties set forth in their agreements;163

     •           DTCA was keeping records of the medical directors' performance of
                 duties;164

     •           Multiple medical directors at the same center were necessary to
                 "generate[] a better quality clinical product;"165




         158
               Exh. 53 DTCA265528-30, May 18, 1989 Hardcastle letter to Williams.
         159
               Hardcastle Dep. at 267-269.
         160
        Exh. 54, AH000076, July 24, 1995 BCCB Internal Memo with a three-
paragraph summary of contracts.
         161
               Exh. 55, DTCA265542-43, August 11, 1989 letter from Hardcastle to Williams.
         162
         Exh. 56, DTCA039529-31, February 18, 1993, Hardcastle to AMI Hospital
Administrator.
         163
               Hardcastle Dep. at 260.
         164
        Exh. 57, BCCB001983-84, February 3, 1994 Hardcastle letter to Stuart; Exh.
58, DTCA132133-34, July 7, 1989 Deal Letter to Medical Directors.
         165
               Hardcastle Dep. at 445.

                                              -44-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 50 of 171




       •           DTCA provides services to the Hospital in return for its fees and is not
                   responsible "for procuring referrals through influencing patients or
                   physicians or any other parties."166

       DTCA full-well knew that these assumptions were required in order for it to be

considered in compliance with the law. The record shows that DTCA was fully informed

of the scope of prohibited conduct under the AKA, but it kept its lawyers in the dark

about its actual business practices. The inference to be drawn from this is that DTCA

knew it needed its lawyers to paper over its fraud, and knew that if its lawyers knew

about the fraud, they would step up efforts to shut it down. DTCA thus simply failed to

tell the lawyers what it was actually doing.

                   3.     DTCA Was Repeatedly Advised That it Was at Risk of
                          Prosecution—And It Routinely Decided To Take That Risk.

       DTCA was repeatedly advised on the basic precepts of the anti-kickback laws

and was kept apprised of any developments. Years before Mr. Hardcastle’s “DTCA

Fraud and Abuse” file was initiated, a BCCB internal memo dated August 1986

documents conversations between Berry Holt, Barbara Dowl, and James Deal regarding

the "fraud and abuse questions which we have discussed in the past."167 DTCA's files

contained a lengthy research memo on "fraud and abuse" authored by Tom Smith in

October, 1987.168 This memo contained a detailed review of the anti-kickback

provisions, as well as the holding in United States v. Greber that the anti-kickback




           166
                 Exh. 59, BCCB009340-43, July 13, 1993 Hardcastle letter to Stuart.
           167
                 Exh. 60, AH000127, August 27, 1986 Smith memo to Vance Berry.
           168
                 Exh. 61, DTCA280517-33, October 19, 1987 Smith Memo.

                                                -45-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 51 of 171




statute is violated if one purpose of the payment is to induce a referral. Smith further

advised:

      •         Any remuneration related to referrals is a violation, whether as an
                opportunity to generate a fee, a reduced office rent for a physician who is
                going to refer patients, or even an opportunity to participate in a joint
                venture (Memo at 10).

      •         Payments...should be closely analyzed...an organization cannot just create
                a mechanism for making payments. The physician should be paid only for
                performing medical services, not merely for performing paperwork that
                does not require a physician's skills. Further, the physician should be
                paid an amount which is reasonable in light of what others are being
                paid in the community for providing the same service (Memo at 12
                (emphasis supplied)).

      Thus, by 1986, DTCA had already received detailed analysis of the AKA and the

Third Circuit holding in Greber. By May of 1989, it was further advised that Greber had

been joined by the Ninth Circuit in Kats and that these were the "two leading cases."169

By July and August of 1989, it was advised of the Bay State decision and its holding that

payment of fair market value is not in and of itself a defense to a Medicare fraud

action.170 Also in 1989, it received the proposed Stark Bill, the proposed AKA safe

harbors, and the May 1989 IG Report on Financial Arrangements Between Physicians

and Health Care Businesses.171 Indeed, it was kept constantly abreast on the law and



          169
          Exh. 53, DTCA265528-30, May 18, 1989 Hardcastle letter to Williams; see
also exh. 62, DTCA280237-38, May 30, 1989 Berry Letter to Cigarran.
          170
       Exh. 63, BCCB001990, July 11, 1989 Hardcastle Letter to Stone; Exh. 55,
DTCA265542-43, August 11, 1989 Hardcastle Letter to Williams.
          171
         Exh. 64, DTCA280230-35, March 16, 1989 BCCB letter to Conrad; Exh. 65,
DTCA035542, May 1, 1989 Client Memo; Exh. 66, BCCB009213-14, August 15, 1989
Hardcastle letter to Stone; Exh. 67, DTCA280246-52, December 6, 1989 Holt letter to
Deal and Cigarran.

                                             -46-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 52 of 171




even hired a separate law firm in Washington, D.C. in 1993 for the express purpose of

monitoring developments in the law.172

       DTCA cannot credibly deny that it was fully informed regarding the development

of the fraud and abuse laws. DTCA officers James Deal and Gary LaRue reassured

medical directors in a mass mailing in July, 1989 that they had "carefully monitored

developments in the law"173 and "are protected if the amount paid is competitive . . . To

protect you, we will strive to keep accurate records of your involvement"174. At this time

DTCA created a medical director time log and documented that it was required for

medicare and medicaid reporting175. But DTCA never utilized the log until 1995.176

       In addition to instructing them on the law, DTCA’s attorneys repetitiously

conveyed that the company risked violation of those laws. Even without knowledge of

how the contracts were implemented, DTCA attorneys advised DTCA that the sheer

nature of the terms of the contractual arrangements posed a risk of criminal prosecution.

This advice is documented as early as 1986 and continued until the contracts were


       172
             Exh. 68, BR00227, April 29, 1993 Mills letter to Cigarran.
       173
             Exh. 69, DTCA132136-39, July 7, 1989 LaRue letter to medical directors.
       174
          Exh. 58, July 7, 1989 Deal Letter to medical directors. These letters were sent
to explain AHC and DTCA's decision to discontinue its practice of extending medical
directors stock and other equity in the company.
       175
          Exh. 16 (1989 Time Log Sheet stating that records of time are required for
medicare and medicaid reporting) Former DTCA CFO Gary LaRue testified that he is
the person that developed the form and the FIN 760 stamp indicates that it came out of
the finance department. LaRue Dep. at 70-71; See also Dep. V.P. Bob Stone 216-218
that form was developed for Medicare and Medicaid regulation compliance.
       176
         E.g. Dep. of Medical Director Judson Black at 82-83; Dep. of Medical Director
Paul Davidson at 377; Dep. of DTCA program manager Mary Hunter at 290.

                                             -47-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 53 of 171




finally restructured in 1995. The tedious nature of this advice is overwhelming and is

presented more fully in the attached chronological table which quotes or details relevant

excerpts of more than 50 letters or memoranda documenting such advice.177

       These documents show that AHC and DTCA's attorneys told AHC and DTCA that

"payments to medical directors...constitute possible violations of the anti-kickback pro-

visions of the Medicare laws, and that these possible violations were especially

dangerous after the Kats and Bay State decisions."178 Further, they advised:

       ...courts are saying that any form of payment, even if supported by fair
       market value consideration, may violate the statute if any portion of the
       payment is intended to induce the referral of patients.
           In the face of this, we are receiving an increasing number of requests--
       several each week–involving different methods of compensating doctors
       who happen to be the source, or the potential source, of substantial
       referrals. While some of these are doubtless clean, some are not and the
       mere volume of the transactions casts a shadow even on those that might
       otherwise pass muster. Thus, we have an increasing concern about your
       ability to successfully defend all of the arrangements..., many...for which
       our opinion has been sought.179

       Rather than heed these warnings, CFO LaRue sent a letter to Hardcastle asking,

on behalf of President Jim Deal, “at least tell us how close we are relative to the line,

and that line being between the black and white on the issue of fraud and abuse...180

DTCA's attorneys responded in no uncertain terms that there was no “magic line” and

that the risk assessment was the company's alone:


        177
              Exh. 108 Chronological Table of Advice with attached supporting documents.
        178
        Exh. 70, AH000094, August 18, 1989 Hardcastle Memo to File Re. “Various
Fraud and Abuse Issues.”
        179
              Exh. 35, BCCB002118-9, August 15, 1989 Berry letter to Deal and Cigarran.
        180
              Exh. 71, BCCB009196, August 9, 1989 LaRue letter to Hardcastle.

                                            -48-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 54 of 171




       The ultimate decision as to whether or not to take the risk is, of
       course, your own.181

       All an opinion letter can do is recite the law and educate...as to the
       risks . . . . I cannot offer any magic bullet.182

       We can of course qualify our opinions that this is an unsettled area of
       law....but qualified opinions really don't serve your purpose. There is
       no magic line and no magic black and white.183


It is plain that AHC and DTCA were fully advised that their practices were inconsistent

with the laws governing financial relationships between health care providers, and

decided to forge ahead. It could, in short, not afford to do business legally because its

entire business was conditioned on census driven by patient referrals.

              4.     DTCA Repeatedly Ignored The Advice of Counsel and
                     “Proceeded Anyway”184 To Take The Risk of Prosecution.

       DTCA chose not to amend either its medical director or hospital contracts until

almost a decade after the first documents identifying the risks inherent in their

arrangements. An internal memo at BCCB documents that, as early as August 1986,

BCCB identified “the potential Medicare Fraud and Abuse issues” concerning DTCA’s

agreements—particularly as to the sheer amount of compensation to Dr. Perley—and



       181
        Exh. 53, DTCA265528-30, May 18, 1989 Hardcastle letter to Williams
(emphasis supplied).
       182
          Exh. 72, BCCB009382-85, August 31, 1993 Hardcastle letter to Conrad, Deal,
Stone, Kirk, Herr (emphasis supplied).
       183
        Exh. 35, BCCB002118-9, August 15, 1989 Berry letter to Deal and Cigarran
(emphasis supplied).
       184
         E.g., Exh. 73, AH000122, August 18, 1989 Hardcastle memo to AHC/Dr.
Hellman File re: “Admission of Dr. Howard Rosen.”

                                            -49-
        Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 55 of 171




proposed a potential alternative approach which was squarely rejected by DTCA

officers.185

       Attorney Tom Smith’s description of that series of meetings in 1986 is telling:

       After several conversations between myself and Barbara Dowl and Jim
       Deal with regard to this matter, Berry Holt and I had lunch with Jim Deal
       several weeks ago and once again raised our concerns. We identified the
       extent of the problem based on the practice of the company since the
       execution of Dr. Perley’s agreements. We also identified an approach
       which might lessen this risk, although not eliminate it. At that luncheon
       meeting Jim agreed to consider our approach.

       I was informed on this past Monday by Barbara Dowl, and this was
       confirmed yesterday by Jim Deal, that they have discussed the alternatives
       with regard to Dr. Perley’s agreements and have decided the only action
       which will be taken will be that the existing agreements will be amended to
       extend the terms thereof for an additional three years. When I talked with
       Jim Deal, I reminded him of our luncheon conversation and he restated
       their decision to merely extend the term of the existing agreement and not
       deal in any substantive way with the issues which Berry and I had raised.

       After relating these instructions from Jim Deal to Berry Holt, he suggested
       that I write you this memo explaining what has transpired in this
       matter....186

       While the 1986 memo does not identify what alternative approach was proposed,

it is obvious that DTCA could have taken myriad intermediate steps to attempt to comply

with the laws, including:

       •           deleting references to developing referral sources;

       •           including affirmative provisions that physicians are not required to refer;

       •           obtaining a fair market valuation;

       •           paying medical directors hourly wages;


           185
                 Exh. 60, AH000127, August 27, 1986 Smith memo to Berry.
           186
                 Exh. 60, August 27, 1986 Smith memo to Berry.

                                                 -50-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 56 of 171




      •         requiring minimum number of hours; and

      •         requiring documentation of medical director duties.

      DTCA did not do a single one of those things. In fact, it made no effort to re-

structure the agreements for ten years. Far from an effort to seek legal alternatives, the

documents show that AHC and DTCA officers decided to proceed with scores of

transactions over their lawyer’s warnings.

      By mid-August 1989, DTCA’s concerted decision to ignore the warnings of its

counsel forced newcomer Jay Hardcastle into documentation mode. BCCB files

revealed a flurry of internal memos created by Mr. Hardcastle documenting his advice

and DTCA’s decision to “proceed anyway.”187 These memos include:

      •         August 17, 1989 memo to file regarding a call to former lawyer Tom Smith
                to discuss prior advice regarding fraud and abuse. Smith told Hardcastle
                he advised DTCA of his concerns with ADC kickers (payments triggered by
                census increases), the sheer amount of compensation (particularly to Dr.
                Perley), and the use of multiple medical directors. Smith said he also
                advised that the likelihood of enforcement action was increasing with 1987
                legislation and the tripling of the number of OIG investigators in 1988.
                Smith referred specifically to a conversation with CFO LaRue in mid-1988,
                during which "Gary & Tom decided that most of the arrangements were
                probably still legal in almost all cases, but there were a few incidents (most
                particularly, Mike Perley) which were especially dangerous.”188

      •         August 18, 1989 memo to file documenting meeting between BCCB and
                DTCA officers regarding “pending fraud and abuse matters.” BCCB
                advised that payments to medical directors constituted potential violations
                of the Anti-Kickback Act which were “especially dangerous” after Kats and
                Bay State. BCCB specifically discussed the problems with WPMC and



          187
         Exh. 73, August 18, 1989, Hardcastle memo to AHC/Dr. Hellman File re:
“Admission of Dr. Howard Rosen.”
          188
        Exh. 74, AH000079, August 17, 1989 Hardcastle Memo regarding
“Conversation with Tom Smith.”

                                              -51-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 57 of 171




                   eight medical directors and that the “general situation at HCA West Paces
                   Ferry is dangerous.”189

       •           August 18, 1989 memo to file regarding advising Morrie Maple of risk of
                   arrangement with Dr. Hellman, “but he decided to proceed anyway.”190

       •           August 18, 1989 memo to file regarding advising Bob Stone of Medicare
                   fraud implications of letter agreement with Dr. Hellman, in response to
                   which Stone advised “that he wanted to go ahead with the letter as is.”191

       •           August 18, 1989 memo to file regarding advising Dana Williams about the
                   “Medicare implications” of the Dr. Agrin transaction, in response to which
                   Williams indicated “he did not feel that there was a large enough risk to
                   change the terms of the deal.”192

       DTCA’s decision to “proceed anyway,” against all warnings of counsel, continued

for six more years until 1995, when it engaged in wholesale restructuring of its form

contracts. Though its officers claimed the impetus for the restructuring was “budget

pressures” and then later, “Stark II,” the series of events leading up to the restructuring

are far more telling as to why DTCA finally determined, ten years too late, to heed the

advice of counsel.

                   5.     DTCA Restructured Its Arrangements Only After It Had Maxed
                          The Profitability Out of the Hospital Business.

       DTCA was built on the kickbacks it received from hospitals reaping increased

Medicare reimbursements as a result of referrals from DTCA medical directors. DTCA’s


           189
        Exh. 70, August 18, 1989 Hardcastle Memo to File regarding “Various Fraud
and Abuse Issues.”
           190
         Exh. 73, August 18, 1989, Hardcastle Memo to AHC/Dr. Hellman File
regarding “Admission of Dr. Howard Rosen.”.
           191
          Exh. 75, AH000123, August 18, 1989 Hardcastle Memo to AHC/Dr. Hellman
File regarding “Fraud and Abuse.”
           192
                 Exh. 76, AH000124, August 18, 1989 Hardcastle Memo to AHC/Dr. Agrin File.

                                                -52-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 58 of 171




sole source of revenue was the fees received from the hospitals, and those fees were

tied to bringing incremental growth in the number of patients admitted to the hospitals.193

As previously described, this was immensely profitable for DTCA—its primary costs

remained static, while its revenues grew. However, if DTCA did not increase the census

through more inpatient admissions, it was no longer profitable for the hospitals. If DTCA

did not demonstrate profitability for its hospital clients, contracts would be cancelled and

DTCA would be out of business.

                      a.     DTCA Was Struggling to Demonstrate Profitability to
                             Hospitals.

       This became a much bigger challenge for DTCA in the 1990's as a result of

federal budget cutbacks that reduced the amount of allowable reimbursements under

the prospective payment system.194 Vice president Dana Williams testified unequivo-

cally that the company was “under financial business pressures by the marketplace and

by the hospitals, our customers, because they were going under radical change in the

marketplace with reimbursement changes and managed care changes[.]”195 In fact,

Williams describes that these internal budget pressures resulted directly from the

passage of federal legislation which “cut reimbursements to hospitals drastically.”196 Of

course, Williams’ testimony merely cements what is obvious—that, far from its position



       193
             Conrad Dep. at 53.
       194
        Fed. Reg. 1990 Sep: 4,55(171): 35990-6175; Fed. Reg 1991 Aug 30:
56(169)113196-355.
       195
             Williams Dep. at 246.
       196
             Williams Dep. at 246-250.

                                            -53-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 59 of 171




in this litigation that it was the removed “non-provider” (having nothing to do with

Medicare reimbursements), DTCA’s very existence was reliant on increased Medicare

payments to hospitals197.

       The legislation to which Williams referred was of enormous concern to hospitals

in the 1990's. The Omnibus Budget Reconciliation Act of 1990, among other things, cut

the prospective payment rates and reduced payments for capital-related costs for

inpatient hospital services for FY 1992 through 1995.198 The Omnibus Budget Recon-

ciliation Act of 1993, which also implemented Stark II, provided for further reductions in

prospective payments, including post-FY 1993 reductions in the federal rate for hospital

capital expenses.199 As hospitals felt the pinch of such reductions, it became harder and

harder for DTCA to demonstrate that it was worth it for hospitals to pay them a

“management fee” in exchange for a declining benefit. As President Jim Deal told all his

program managers in 1990, “[o]ur hospital customers have spoken loud and clear. They

expect, in no uncertain terms, for us to grow their diabetes product line substantially

greater than they are able to grow it themselves.”200

       And establishing this type of growth was becoming much harder for DTCA. At

least by the 1990's, the trend in the health care industry was moving from inpatient to



        197
        Exh. 121 various DTCA hospital contracts showing DTCA fee in dollars for
each Medicare patient day.
        198
              P.L. No. 101-508 (November 5, 1990).
       199
              P.L. No. 103-66 (August 10, 1993).
        200
        Exh. 77, DTCA225800-810, October 4, 1990 Deal letter to Program
Managers.

                                            -54-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 60 of 171




outpatient—from symptom management to prevention.201 This was a problem for DTCA,

whose largest revenue driver was inpatient admissions. DTCA’s emphasis on inpatient

treatment is clear from the testimony and documents because, even though diabetes

management became a largely outpatient-practice, DTCA was paid for inpatient admis-

sions.202

       Coupled with the growing risks of prosecution under Medicare fraud and abuse

laws, DTCA was becoming a harder sell to hospitals. On July 29, 1991, the Anti-

Kickback Act safe harbors regulation became effective.203 On January 1, 1992, Stark I

became effective.204 On May 5, 1992, DTCA’s lawyers at BCCB informed DTCA of the

publication of new IRS audit guidelines under which auditors were closely scrutinizing

arrangements between nonprofit hospitals and physicians and for-profit entities with

instructions “to be sensitive to ventures that may violate the anti-kickback provisions of

the Medicare and Medicaid laws.”205 On May 7, 1992, HHS-OIG issues a Special Fraud

Alert on Hospital Incentives to Referring Physicians206. Of note, BCCB forwarded this

Alert to DTCA officers, advising them to make “absolutely sure” that they are providing




        201
          Dep. of Dr. John Buse, Defendant’s expert endocrinologist at 54. Diabetes
patient care is primarily outpatient.
        202
        Dep. of Medical Director Paul Davidson at 339-340; Dep. of DTCA President
James Deal Vol. 1 at pg.162; Dep. of program manager Charlotte Hodge at 246-250.
        203
              56 FR 35952.
        204
              42 U.S.C. §1395nn.
        205
              Exh. 78, BCCB009210-211, May 5 1992 Hardcastle letter to Bob Stone.
        206
              59 Fr 65372.

                                            -55-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 61 of 171




compensation for being a medical director and “not an additional perquisite [sic].”207 On

January 5, 1993, the Stark II bill was introduced208. It was enacted shortly thereafter, on

August 10, 1993, with the effective date of January 1, 1995.209

                      b.     Hospital Fraud and Abuse Concerns Became An
                             Obstacle to Contract Negotiations.

       At the same time, DTCA’s hospital clients were raising weighty concerns around

the legality of DTCA’s hospital and medical director contracts. At or about October

1991, for example, DTCA was provided a copy of an internal memorandum from

Assistant General Counsel of Medlantic Healthcare Group which questioned the volume-

based provisions of the contract between DTCA and Washington Hospital Center,

concluding that they may expose both the hospital and DTCA to Medicare fraud and

abuse claims.210 In January 1993, Bob Stone wrote Spohn Hospital to assure that the

hospital contract does not violate Texas anti-kickback provisions because the paid

medical director agreements meet the AKA safe harbor with the exception of the

“virtually impossible to meet” scheduling requirement.211 In February 1993, Hardcastle

wrote to AMI Hospital, at Stone’s request, to assure that the form medical director



       207
        Exh. 79, DTCA039516-17, May 11, 1992 Hardcastle letter to Deal, cc’d to
Stone and circulated to other DTCA officers.
       208
             H.R. 345, 103rd Congress, 1st Session (1993).
       209
             P.L. 130-66; Hunter Dep. at 223; Williams Dep. Vol 2 at 91.
       210
        Exh. 80, BCCB002113-14, October 4, 1991 Internal Memorandum from
Thomas Doherty to WHC Hospital Administrator, produced by BCCB with AHC fax
header.
       211
             Exh. 81, BCCB002341-44, January 25, 1993 Stone letter to Spohn.

                                            -56-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 62 of 171




agreements will satisfy the AKA safe harbor, with the exception of the scheduling

requirement, as long as “the aggregate compensation...will be consistent with fair market

value in arm’s lengths transactions and will not be determined in a manner that takes

into account the volume or value of any referrals or business otherwise generated

between the parties.”212

       AMI, in fact, insisted on contractual provisions containing an agreement not to

violate the anti-kickback laws and a specific representation that DTCA shall not offer or

pay any remuneration to any person or entity with the intention of inducing referrals.213

In the event of DTCA’s breach, DTCA agreed to “indemnify and hold hospital harmless

to the fullest extent permitted by law.”214 AMI was not the only hospital to request such

indemnity. In June 1993, for example, St. Agnes Hospital in White Plains, New York,

also insisted on an indemnity provision in the case of an assertion by the Inspector

General, DOJ, or any other regulatory body that the hospital agreement or medical

directorship agreement violates the anti-kickback laws.215 At or about the same time,

identical language was being proposed for the contract with Virginia Beach Hospital.216




       212
             Exh. 56, DTCA039529-31, February 18, 1992 Hardcastle letter to AMI.
       213
             Exh. 82, DTCA034241-55 at 034245, March 31, 1993 Contract with AMI.
       214
             Id.
       215
         Exh. 83, BCCB009305, June 4, 1993 Memorandum from Phil Stuart and
Hardcastle to William Tan, Vice President of Finance and Assistant Counsel at St.
Agnes Hospital.
       216
             Exh. 84, DTCA266558.

                                           -57-
         Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 63 of 171




Parkway Hospital, likewise, was proposing termination clauses based on findings of

illegality.217

        DTCA was probably most affected, however, by the objections of its largest

customer, HCA, which owned at least 15% of the hospitals with which DTCA contracted,

including West Paces Medical Center. As early as November 1993, the documents

reflect that counsel for DTCA and HCA were meeting to discuss issues of fraud and

abuse, and that HCA had engaged the services of Sandy Teplitsky, a “Nationwide

attorney for fraud and abuse.”218 At that time, HCA owned Parkway Regional Hospital,

among others, and was in negotiation for ownership of other hospital clients as a result

of a proposed merger with Columbia Hospital Corp in early 1994.219

        The records reflect a flurry of meetings and discussions throughout early 1994,

starting with a January 27 meeting at HCA between HCA counsel Dick Knight and John

Wade, DTCA officers, and Jay Hardcastle. In a letter written to his client earlier that

week, Knight described that “the ’DTCA brass’ will be here on Thursday to meet with me

and John Wade. I presume the focus will be on fraud and abuse.”220 Scott Pogue found

out about this meeting from fellow Director of Development, Bill Moore, who was the




         217
          Exh. 85, DTCA265522-23, October 27, 1993 Hardcastle Letter to CFO
 Conrad regarding concerns raised by AMI and Parkway.
         218
               Exh. 86, DTCA112418-112423, handwritten notation at top left corner of
 112420.
         219
               HCA merged with Columbia Hospital Corp. in February 1994.
         220
               Exh. 87, DTCA270603, January 25, 1994 Knight Letter to Parkway Regional
 Hospital.

                                             -58-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 64 of 171




DTCA point-man for HCA contracts221. Moore described an alarming phone call from his

HCA contacts in Florida who had been informed by HCA counsel that the DTCA

contracts were illegal and that HCA was reviewing all its contracts with DTCA based on

these concerns222. The potential loss of these contracts, accounting for approximately

20% of DTCA’s revenue, raised pure panic at DTCA223.

      The documents make clear that these concerns were related to both hospital and

medical-director contracts. DTCA’s electronic files contain a draft letter to HCA Attorney

Richard Knight expressing outrage regarding a February 9, 1994 Memorandum that

Knight circulated to the CEO’s of all HCA Eastern Division Hospitals stating “These

officials [presumably DTCA] now seem to have accepted our position that DTCA is a

potential referral source. As a potential referral source, volume-driven reimbursement

methodologies are very suspect.”224 DTCA’s hard-copy files contain another memoran-

dum showing that Development VP Kathy Kirk was working with HCA’s fraud and abuse

expert, Sandy Teplitsky, to revise the medical director agreements associated with HCA

contracts to delete language that Mr. Teplitsky believed could be construed as

marketing; to remove any volume-based provisions; to attach a form for the documen-


       221
             Exh. 116 Declaration of A. Scott Pogue.
       222
             Id.
       223
             Id.
       224
           Exh. 88, draft Letter from Deal to Knight. Relator does not have a copy of the
referenced February 9, 1994 Memorandum. It was produced by DTCA prior to its
waiver of privilege. HCA was able to successfully assert privilege over the document
after its production by DTCA, pursuant to Motion for Protective Order. That document,
formerly the subject of a Motion for Summary Judgment by Relator Pogue, was stricken
from the record by the Tennessee Judge (Doc. 182, March 9, 1999 Order).

                                            -59-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 65 of 171




tation of hours; and to restructure agreements that involved multiple medical directors for

a single hospital.225

       The HCA contract renegotiations came at a high price for DTCA. Relator Pogue

was told that it reduced the value of those contracts by more than $1,800,000 per

year.226 The loss of that revenue was a major setback for DTCA, and may have tipped

the scale in regard to the financial gains resulting from taking the risk of prosecution

under the kickback and Stark laws. Shortly after these renegotiations, DTCA finally

determined to restructure all its medical director contracts.

       There is an additional piece of evidence and advice leading up to the restructur-

ing of the medical director contracts. In 1993 and 1994, DTCA engaged yet more

counsel to render opinions about the fraud and abuse issues raised by its contracts. In

the process, DTCA received exactly what it always had—targeted advice that its

contracts violated anti-kickback laws.

                          c.   Advice of “Specialist” Counsel That DTCA’s Form
                               Contracts Were Potential Kickback Violations.

       On several different occasions in 1993 and 1994, DTCA engaged third party

counsel to give a specialty opinion regarding Medicare fraud and abuse issues. Each of

these counsel advised DTCA that the pre-1995 contracts posed potential kickback

violations.




        225
        Exh. 89, DTCA280466, June 8, 1994 Kirk Memorandum to Teplitsky re.
Columbia/HCA Contracts.
        226
              Exh. 116.

                                            -60-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 66 of 171




                              i.     Independent Opinion of Robert Sevell.

       The first such opinion was sought in 1993 from Robert Sevell at Weissburg and

Aronson in California. Sevell was engaged to give a “second” opinion regarding Dr.

Perley’s contract when it came up for renewal in 1993. Dr. Perley was the highest paid

medical director—receiving hundreds of thousands of dollars a year—and had been the

subject of repeating warnings from BCCB. For example, in 1986, during a previous

renewal period, BCCB had advised that the sheer amount of compensation “raises the

fraud and abuse question we have discussed in the past” and had identified an

alternative approach.227 At that time, DTCA officers Barbara Dowl and Jim Deal

determined “not to deal in any substantive way” with the issues raised and to extend Dr.

Perley’s contract without modification.228

       DTCA continued on that course until Dr. Perley’s third renewal opportunity in

1993. During those negotiations, DTCA tasked CFO Mike Conrad to approach Dr.

Perley with a proposal to restructure his contract to significantly reduce his

compensation. CFO Conrad explained that they had determined that Dr. Perley’s

compensation was “excessive in terms of what we...could afford to pay” at that point and

had to be reduced from a “business perspective.”229 Dr. Perley was “not happy” with this

proposal, to say the least.230 As early as 1987, when DTCA had proposed changes to



       227
              Ex. 60, AH000127, August 27, 1986 Smith Memo to Vance Berry.
        228
              Id.
        229
              Conrad Dep. at 160, 158, respectively; see also Conrad vol 2 at 164.
        230
              Conrad Dep. at 151, 159.

                                             -61-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 67 of 171




the hospital contract, Perley had threatened to stop referring patients.231 Because his

compensation was tied to census, Perley had told DTCA that anything they did to lower

revenues would affect his reimbursement.232 If that happened, “[y]ou may not see any

differences in the census in the next week or two, but by the end of the year you will see

changes.”233 It is of no surprise that in 1993, when DTCA proposed significant direct

cutbacks to his compensation, Dr. Perley was far from cooperative.

       In response to Dr. Perley’s objections, DTCA endeavored to convince him that the

changes were necessary to comply with the law. In light of the passage of Stark II,

Conrad told Perley that his contracts had to be restructured “according to the advice we

had been given by Boult, Cummings.”234 Perley was not swayed. He told Conrad that

he “did not feel that a Nashville law firm could possibly understand the law and wanted

to have someone local.”235 In response, DTCA brought in Sevell to persuade Perley that

the law required a restructured deal.236

       Sevell did just that. After a series of conversations with Conrad, Sevell met with

Conrad and Perley. Sevell’s notes of those conversations reflect that he was tasked by

Conrad to “layout [the] issues”—specifically, his “understanding of f&a and safe


       231
        Exh. 39, November 6, 1987 Internal Memo from Barbara Dowl; see also Exh.
90, BCCB 003082, November 4, 1987 Dowl Internal Memo.
       232
             Id.
       233
             Exh. 39, November 6, 1987 Internal Memo from Barbara Dowl.
       234
             Conrad Dep. at 162.
       235
             Id.
       236
             Conrad Dep. (vol 2) at 188-189.

                                               -62-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 68 of 171




harbors...”237 The “areas of concern” included “total compensation;” duties reflecting

compensation; focus on value for value (“easier to defend but same thing”) and whether

there was “a way to compensate [Perley] for what he does.”238 In his meeting with

Perley and Conrad, Sevell advised that Perley’s existing arrangement was suspect

under the anti-kickback laws. His notes reflect that he advised Conrad and Perley of the

following:

       •               The requirements of the Fraud and Abuse Statute, including a
                       canvas of the one-purpose test; the holdings in Greber, Kats, Bay
                       State, and Hansleter; and the [OIG] Fraud Alerts;

       •               The scope of the safe harbors;

       •               Proposed legislation, including Stark;

       •               Specific concerns regarding the terms of Perley’s agreements, including
                       the total compensation; vagueness of hours, duties, and documentation.239


       Sevell concluded:

                       Fact that Perley is in a position to refer and does refer
                       creates problems since law says that if any purpose (even if
                       minor) of a payment (here for consulting services and med
                       direction and admin services) is to induce referrals, the anti-
                       kickback statute is violated.

                       This implicates all [Perley’s] agreements including consulting
                       agreement.




           237
                 Exh. 91, 067-068 Attorney Sevell notes of 3/19/93 conversation with Conrad.
           238
                 Id.
           239
                 Exh. 92, 055-62, Sevell notes of 3/23/93 meeting.

                                                     -63-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 69 of 171




                Even if doctor is paid fmv for services actually rendered, still
                not entirely free from scrutiny, but certainly much safer.240

       In the ensuing spate of correspondence, Perley proposed that the contractual

language (including his duties) be revised but there be no change to the financial terms

of his arrangements.241 Sevell firmly rejected this proposal, because Perley could be

“paid no more than the fair market value of the services he actually provides.”242

       Interestingly, Conrad testified that he reported the results of his Sevell meetings

and conversation to Deal, and that he did not recall Sevell’s advice to be significantly

different than that already received from BCCB.243 Despite their repeated claims that the

law was confusing or “shades of gray” prior to 1995, DTCA demonstrated that it was well

able to gain a clear picture of the requirements of the Anti-Kickback laws when it served

its purpose.

       No agreement was ever reached with Perley nor, apparently, with the hospital.

Unable to make a go of it without the kickback arrangement in place, the Lakewood

Center closed in 1993.244




       240
             Exh. 92, 062, Sevell notes of 3/23/93 meeting.
       241
             Exh. 93, DTCA039539-40, March 31, 1993 Perley Letter to Conrad.
       242
             Exh, 94, 002-003, April 5, 1993 Sevell Letter to Conrad.
       243
             Conrad Dep. (vol 2) at 194-196.
       244
          Exh. 123 April 1993 Lakewood monthly operations report. “Due to loss of
contract with medical director Michael Perley, the DTC has been asked to vacate
premises by June 30, 1993. We are all very saddened by this as our Center has been
open for nine years”.

                                               -64-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 70 of 171




                             ii.    Independent Opinion of DC Counsel.

      In 1993, DTCA also engaged the services of the Washington, DC law firm of

Dyer, Ellis, Joseph & Mills.245 Cigarran testified that they were engaged as “super

experts”246 located in Washington who “were really there all the time who could really get

to understand at a deeper level what was the intent of some of these regulations[.]”247

Cigarran further described: “[w]e needed more and better information, the best we could

get, about what the intent of the law was and how they were going to interpret it and

what was going to happen.”248 Far from providing a back door based on the “real” intent

of the federal laws, those “superexperts” confirmed what DTCA had already been told

time and time again—that its form agreements posed potential violations of Anti-

Kickback laws.

      DTCA’s primary contacts at Dyer, Ellis were Thomas Mills and Michael Joseph.

The documents reflect that these attorneys were significantly involved in the renego-

tiations with HCA, and were involved in multiple discussions with AHC/DTCA officers

and HCA’s counsel (including its “nationwide fraud and abuse counsel” Sandy Teplitsky)

addressing among other things the “anti-kickback concerns on management agree-

ment.”249 In April 1994, Tom Mills issued an opinion whether DTCA’s proposed



       245
             Exh. 95, BR00227, April 29, 1993 Mills Letter to Cigarran.
       246
             Cigarran Dep. (vol 2) at 310.
       247
             Cigarran Dep. (vol 2) at 309.
       248
             Cigarran Dep. (vol 2) at 310.
       249
             E.g., Exh, 95 at BR00175, 208, 236, 272, 292-293, 310-311

                                             -65-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 71 of 171




restructured financial arrangements with hospitals and medical directors complied with

the anti-kickback statute.250 HCA objected to that opinion251 and Dyer, Ellis issued a

second opinion in November 1994 regarding the proposed restructured contracts with

HCA.252 Those opinions, however, both concerned the propriety of future arrangements

based on a set of factual assumptions supplied by the client (i.e., payment to medical

directors based strictly on hours of service at a rate reasonably commensurate with the

nature of services performed).

       The Dyer, Ellis opinion that is most relevant to DTCA’s summary judgment motion

is the one which was never finalized—an opinion related to DTCA’s contracts in their

original form, sent to DTCA in draft less than three weeks before the Inspector General’s

Office served its subpoena duces tecum on DTCA as a result of Mr. Pogue’s allegations.

Mr. Mills testified that he believes this opinion was rendered at his initiative.253 In the

process of rendering advice regarding legislative and other developments impacting

DTCA, Mills was required to become familiar with DTCA’s business model. In con-

junction with that endeavor, Mills suggested to Bob Stone that the documents raised

“some issues” and that DTCA “ought to have us take a look at this [sic].”254 DTCA sent

him the agreements for the five medical directors at West Paces Medical Center, which



        250
              Exh. 96, April 5, 1994 Dyer, Elis Opinion.
        251
              E.g., Exh, 97 BR00288-290.
        252
              Exh. 98, November 3, 1994 Opinion Letter from Michael Joseph to DTCA.
        253
              Mills Dep. at 30-33, 46-47.
        254
              Mills Dep. at 46-47.

                                              -66-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 72 of 171




were virtually identical to the agreements in place with all the medical directors over the

past decade.255

       Mills’ draft opinion was sent to DTCA VP Dana Williams via facsimile on October

11, 1994. 256 In a sharply-worded 12-page analysis, Mills addressed each of the various

provisions of those agreements and concluded that the OIG may view such provisions

as being in violation of the antikickback statute. Among other observations, Mills stated:

       •               “Certain compensation provisions...may be viewed by the OIG as in excess
                       of fair market value and thus the OIG might view the arrangement in
                       question as violative of the antikickback statute.”257

       •               “[Multiple agreements with one director] may raise the OIG’s suspicion
                       since there is an implication that these physicians are being paid twice for
                       providing the same service.”258

       •               “Further, although medical directors are required to provide essentially the
                       same services to the center, each is paid a different amount of
                       compensation. To the extent that these differences do not appear to be
                       based on legitimate factors, the OIG may be suspicious since this may
                       imply some physicians are being paid a greater amount for increased
                       referrals to the center.”259

       •               [Income guarantees, research funding, free rent, loan forgiveness,
                       reimbursement for expenses] “likely would be viewed by the OIG as
                       providing these physicians with aggregate compensation that is in excess




           255
                 Exh. 99, DTCA280465, June 1 1994 Conrad Letter to Dyer, Ellis.
           256
         Exh. 100, DTCA280499-511, October 11, 1994 Facsimile from Dyer Ellis to
Dana Williams, enclosing draft Mills letter.
           257
                 Exh. 100, Mills’ draft letter at DTCA280505.
           258
                 Exh. 100 at DTCA280506.
           259
                 Id.

                                                    -67-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 73 of 171




                   of fair market value and thus an improper inducement for these physicians’
                   referrals to the center.”260

       •           “[A]rrangements may not be expressly or implicitly conditioned on
                   physicians’ referrals . . . . Accordingly, various provisions may be viewed
                   suspiciously by the OIG unless further clarified or deleted to remove any
                   suspicion that the arrangements are conditioned on physicians’ referrals . .
                   . . the OIG may be suspicious of . . . provisions . . . requiring the medical
                   director to assist in the development of referral sources for the center to
                   enhance the referral patterns of the area and in identifying and
                   encouraging other physicians and referral sources.”261

       •           “While Dr. Davidson’s recruitment responsibilities may be for the purpose
                   of marketing the center’s services, the OIG might assert that his profes-
                   sional services as a physician provides him with the access and ability
                   improperly to influence the referral practices of associates or other
                   colleagues.”262

       Each of these observations are equally applicable to all of DTCA’s form medical

director contracts. Indeed, Cigarran testified that DTCA’s model rested on the fact that,

starting with Dr. Perley in 1984, every medical director was required to develop referral

sources and to identify other physicians to be a source of referrals.263

       As a result of his conclusions, Mills also issued almost three pages of recom-

mendations “[f]or purposes of compliance with the antikickback statute and avoidance of

even the appearance of a violation thereof,” including:

       (1)         Compensation...in exchange for legitimate items and/or services and
                   consistent with fair market value.

       *           *       *


           260
                 Id. at DTCA280506-7.
           261
                 Id. at DTCA280508-9.
           262
                 Id. at DTCA280509-10.
           263
                 Cigarran Dep. at 111-117; see also 95-103.

                                                -68-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 74 of 171




      (5)       Each medical director agreement should set forth any factors
                substantiating a need for differing compensation provisions...including the
                number of hours of service required of a medical director. If...cannot be
                justified, compensation...should be adjusted to reflect fair market value;

      *         *      *

      (7)       . . . . discontinue [income guarantees, research funding, free rent, etc.]; to
                further minimize any risk of OIG enforcement action, you may also wish to
                consider requiring that these physicians reimburse DTCA the value of any
                expenses or forgiven payments . . . ;

      *         *      *

      (9)       Delete provisions...requiring medical director to assist in the development
                of referral sources for the center to enhance the referral patterns of the
                area and in identifying and encouraging other physicians and referral
                sources . . . .264

      Mr. Mills’s billing records reflect that he spoke by telephone with DTCA’s Dana

Williams regarding this advice on the same day that his associate Katie Tenoever faxed

it to Williams.265 Ms. Tenoever’s records reflect that she had several conferences with

Williams and others in this time frame266 and that, exactly one week later, she

“research[ed] False Claims Act.”267 Williams testified that he has no recollection of the

letter or the multiple conferences regarding these issues, though he does not contend

they did not occur.268 Mills described the reaction of DTCA as concerned, dismayed, but




       264
             Exh. 100, Mills draft letter at DTCA280510-12.
       265
             Exh. 101, BR00156.
       266
             Exh. 102, BR00139-140, 156, 167.
       267
             Id. at BR00139.
       268
             Williams Dep. vol. 3 at 26-55.

                                              -69-
           Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 75 of 171




accepting: “they clearly understood the gravity.”269 By their reaction, Mills assumed that

they were not previously aware of the issues he raised in his letter.270 He was not told

that they had received any prior advice from Boult Cummings or Weissburg & Aronson

regarding those same issues.271

       Less than three weeks later, on October 31, 1994, the Inspector General’s office

served a subpoena duces tecum on DTCA pursuant to its investigation of Relator

Pogue’s June 1994 in camera Complaint.272 The Mills’ draft opinion was never final-

ized.273

                           iii.   Contemporaneous BCCB Recommendation.

       The reason that neither Mills’s nor Sevell’s opinions registered any surprise with

DTCA is obvious. These opinions merely echoed the repeated warnings of its long-time

counsel. In fact, BCCB had issued yet another warning around the same time DTCA

was meeting with Sevell and engaging its DC “superexperts.” In August 1993, Hard-

castle wrote to Conrad requesting a meeting with senior management of DTCA and a

representative of AHC to discuss his recommendation to reexamine DTCA’s form




           269
                 Mills Dep. at 187, 191-192.
           270
                 Mills Dep. at 192.
           271
                 Mills Dep. at 186.
           272
                 Exh. 103, October 31, 1994 IG Subpoena.
           273
          Mills testified that the document became more of a “letter of advice,” than an
opinion, because it pointed out so many problems. Mills Dep. at 180-181.

                                               -70-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 76 of 171




medical director and hospital contracts.274 In that letter, Hardcastle urged DTCA to

modify its contracts for several reasons, including:

       •            The passage of Stark II;

       •            Increasingly aggressive public stances by the IG’s office since the
                    publication of the safe harbors in July 1991;

       •            IRS position that hospital’s violation of the antikickback statute could result
                    in the revocation of the hospital’s tax exempt status, resulting in a regular
                    audit process which could, in the ordinary course of business, bring to the
                    government’s attention any fraud and abuse issues that may be inherent in
                    DTCA’s contracts;

       •            Increased public awareness of fraud and abuse issues generally...which
                    have led to great caution on behalf of hospital administrators and their
                    counsel entering into agreements.275

       As a result, Hardcastle observed that it was becoming more and more difficult to

sell DTCA’s product since legal counsel were commonly raising fraud and abuse issues.

Because, as DTCA was aware, neither the form medical director or hospital agreements

met the requirements of the safe harbor, Hardcastle warned that opinion letters could

“offer very little comfort” and “can only educate the recipient as to the risks of the

transaction.” Concluding that he “cannot offer any magic bullet to entirely reduce the

risk,” Hardcastle suggested that DTCA consider:

       1.           Changing the form medical director contracts so that physicians are paid
                    by the hour.




           274
                 Exh. 72, August 31, 1993 Hardcastle Letter to Conrad.
           275
                 Id. at 1-2.

                                                  -71-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 77 of 171




       2.        Requiring in the medical directorship agreements that physicians keep time
                 logs . . . .276

       3.        Tying the hourly rate to an objective, defensible standard in an attempt to
                 meet the “fair market value” provision of the safe harbor . . . .

       4.        Creating an “out” clause...in the event that it, upon the advice of counsel,
                 determine that the contract is inconsistent with applicable law. In the past,
                 we have resisted this sort of clause because it presents an obvious red
                 flag. . . .

       5.        Keeping the number of medical directors at any one center to a minimum.

       6.        Reassessing the fee structure in the hospital contract. The fact that the
                 DTCA’s fee fluctuates with volume, and the fact that DTCA usually
                 receives an increased fee on incremental volume raises a red flag . . . .

       7.        Instituting a company-wide formal compliance program.277

       By 1994, DTCA finally determined to take this advice in regard to the medical

director contracts, but never substantively modified the volume-based provisions of the

hospital contracts. Forensically, it is apparent that what had changed was not the

substance of the advice or the law, but rather the financial incentive to accept the risk of

violating the law.

                 6.     The Restructuring.

       DTCA restructured its medical agreements, effective on or about January 1,

1995.278 Those agreements contained many of the specific recommendations of Mills



        276
          He also mentions that he understood DTCA to require medical directors to
keep time logs, demonstrating yet again that DTCA kept its attorneys operating on a
false set of assumptions. DTCA officers confirmed that no time logs were required prior
to 1995.
        277
              Exh. 72, August 31, 1993 Letter at 3-4.
        278
              Exh. 18 (BCCB001966-1968).

                                              -72-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 78 of 171




and Hardcastle, including modification of the “duties” provisions to eliminate references

to referral sources; a specification of the number of hours required by each medical

director; compensation tied to an hourly rate; and the requirement of time logs.279

      The restructuring purported to modify all the medical director contracts to reflect

the fair market value of an hours-worth of work from each medical director and to specify

the amount of hours needed from each medical director to operate the center.

Significantly, this process resulted in a marked reduction in the amount of compensation

paid to each medical director—with most stipends cut by half.280

      Dr. Perley was not the only medical director unhappy about these reductions, but

they had little leverage. An internal memo shows that Williams’ “bullet points” for his

conversations with medical directors addressed not just Stark II, but the “increasingly

public stance” of the government regarding kickback violations.281

      DTCA’s 1995 restructuring is telling, both for what it represents and what it

concedes about what was not done in the past. CFO Conrad testified unequivocally that

he believed that the reduced compensation represented fair market value and that the

number of contracted hours represented the actual amount of time necessary to operate

each center282. Moreover, DTCA officers, including Conrad, testified that they are not

aware of a fair market value assessment being conducted prior to the 1994-1995 time


       279
             E.g., Exh. 17, Post-1995 contract.
       280
             E.g., Exh. 19.
       281
         Exh. 20, August 3, 1994 Hardcastle Memo to Williams; see also Exh. 18,
General Plan Strategy.
       282
             Conrad Dep. at 296-300.

                                             -73-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 79 of 171




frame.283 Neither are they aware of any pre-1994 assessment of the amount of hours

necessary to operate a center.284

      It is worth noting that DTCA never sought a fair market value analysis—not even

when it reduced compensation. Its attorneys testified that they made no fair market

value assessment (nor did they view it to be within the scope of their competency).285

BCCB advised DTCA to engage a consultant to advise as to an appropriate hourly

rate.286 BCCB also advised it to use an objective, defensible standard, such as that

provided by the AMA or Medical Group Management Association.287 DTCA did not do

that. Instead, it commissioned its own employee, Dana Williams, who created a range

of rates per geographic region based on conversations with DTCA’s regional directors

and two or three physician friends.288

      The lack of any significant effort to obtain a professional fair market value analy-

sis is merely symptomatic of DTCA’s failure to make any real effort to change its

business model. The 1995 restructuring facially modified the medical director contracts,

and reduced some of the financial incentives, but did not restructure the model. This

wholesale restructuring of both the hospital and medical director contracts was recom-


       283
             Williams Dep. at 92, 125-126, 202-203, 291-292; Conrad Dep. at 289.
       284
             Conrad Dep. at 290-291.
       285
             Smith Dep. at 218-220; Mills Dep. at 65-67.
       286
             Exh. 14.
       287
         Exh. 72 at 3. This is the group utilized by Relator’s expert, Kathy McNamara
to access Fair Market Value, Exh. 105.
       288
             Williams Dep. at 177-178, 191-192, 227-256.

                                            -74-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 80 of 171




mended by counsel, but was ignored. As a result, DTCA was still being paid by

hospitals based on the volume of patients admitted to the centers, and was still in the

business of paid-marketing to physicians to make sure those admissions happened.

      D.       The Resulting False Claims for Payment

      DTCA’s improper medical director relationships, designed to induce patient

referrals to the DTCA centers in host hospitals, caused the submission of false claims

for payment to the Government by the host hospitals. The claims for patients referred

by medical directors with improper financial relationships with DTCA are false because

the claims violate the medicare fraud and abuse laws.

      In order to determine the dollar amount of false claims for payment DTCA caused

to be submitted, Relator first subpoenaed and paid $76,000 for claims data from the

Federal Government for claims submitted by host hospitals for diabetes patients referred

to the host hospital by the medical directors receiving improper financial inducements for

referrals. Relator Issued two subpoenas.289 The first was for data related only to the five

Defendant doctors from West Paces Ferry Hospital.290 The second subpoena was much

broader and requested claims for each host hospital that indicated the item or service

was referred or ordered by the medical director listed on the subpoena.291 The host

hospital names and provider numbers were provided to the government as well as the

medical director name and unique physician identification number (“UPIN number“). Id.



       289
             Exhs. 109 and 110 subpoenas to federal government for claims.
       290
             Exh. 109
       291
             Exh. 110

                                           -75-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 81 of 171




The Government responded to the subpoena by providing electronic claims data

compliant with the subpoena for the years 1991 through 2000.292 The data was provided

in electronic form and contained detailed information about each claim at issue including

claim date, admitting diagnosis code, physician UPIN, medical record number, claim

amount and reimbursement amount293.

      The claims information was provided to Mayer Hoffman McCann accounting

expert Alan Thibault for purposes of determining the total dollar amount of false claims

submitted by host hospitals related to physicians who were referring and admitting

patients in violation of the medicare fraud and abuse laws. Mr. Thibault performed three

different calculations. The first calculation was of the hard government electronic claims

data related to medical director referrals and admissions at host hospitals. The other

two calculations are extrapolations from the electronic data and other information

provided to Mayer Hoffman McCann.294

               1. The False Claims Evidenced By Actual Electronic Claims Data
               Totals $43,141,839.

      The Government’s response to Relator’s subpoena for claims information

contained claims from hospitals which had kickback contracts with DTCA related to just



       292
          Exh. 111 As explained herein, claims after May 20, 1996 were not included in
Relator’s calculation as they were outside of the time period set by the Court. The
Government does not have sufficient electronic claims data prior to 1991.
       293
             Exh. 117.
       294
          The detailed steps of each calculation and the results are described in Mr.
Thibault’s expert report Exh. 112 and pages 25-27, 102-105 of his deposition
confirming this is his report. Mr. Thibault’s affidavit affirming his report is part of Exh.
112.

                                             -76-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 82 of 171




89 of the 276 DTCA medical directors295. Thus, this figure is extremely conservative in

nature in that it does not include claims for 187 of the medical directors from 1991

forward296. To arrive at this dollar figure for the actual claims submitted and paid data

provided by the Government, Mr. Thibault required that the claim be identified with an

attending or admitting UPIN number of a DTCA medical director; that the patient’s

diagnosis contain a diabetes related diagnosis code; that the host hospital be identified;

and, the date of the claim be between 1992 and May 20, 1996297. Thus, Relator has

direct evidence of $43,141,839 of false claims submitted and paid to hospitals with

which DTCA had kickback contracts.

               2. The Estimated False Claims for Time Periods Prior to 1992.

       As stated above and explained by Mr. Thibault in his deposition, the Government

does not have complete claims information prior to 1992. Thus, in order to estimate the

dollar amount of false claims for periods prior to 1992, Mr. Thibault performed some

reasoned extrapolations298. Mr. Thibault, who does work similar to this case for Medi-

care in the arena of Medicare fraud damage calculations, explained that, in the field of

Medicare data analysis extrapolations are often employed when the data set is incom-



       295
             Thibault Deposition at 202-204, 222.
       296
          Prior to 1992, the claims data stored by the government is sparse and often
missing fields. Therefore, Mr. Thibault used 1992 forward for this analysis. Thibault
Dep. at 42-46.
       297
         Exh. 112 (Thibault Expert Report ) p. 3 and Schedule A. A more detailed step
by step analysis is provided in the report.
       298
          The step by step nature of the extrapolations is contained in Ex. 112 Mr.
Thibault’s expert report.

                                            -77-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 83 of 171




plete. 299 His methodology for each extrapolation is set forth in detail in his report and

can be followed by any expert or finder of fact seeking to examine it.300

       The first extrapolation Mr. Thibault performed was for medical directors that had

responsive electronic claims data from the Government and were listed in schedule A of

Mr. Thibault’s report.301 For these medical directors, Mr. Thibault performed an

extrapolation to estimate the total dollar amount of false claims for these 89 medical

directors from January 1, 1986 through December 31, 1991. The steps and data used

to perform the extrapolation are set forth in his report and the results are listed in

Schedule B.302 The total estimated dollar amount of false claims for these medical

directors from January 1, 1986 through December 31, 1991 is $29,726,644.303

       The second extrapolation Mr. Thibault performed was for the medical directors for

which no electronic claims data was provided by the Government in response to the

subpoenas for the period January 1, 1986 to May 20, 1996.304 Mr. Thibault based his

extrapolation and estimate on comparable data for the medical directors for which

electronic claims data was provided by the Government.305 The total estimated dollar




        299
              Thibault Dep. at 37-41, 354-55.
        300
              Id. at 355.
        301
              Exh. 112, Thibault report.
        302
              Id.
        303
              Id.
        304
              Id.
        305
              Id.

                                                -78-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 84 of 171




amount of false claims for this group of medical directors from January 1, 1986 though

May 20, 1996 is $63,616,498.

      The total dollar amount of false claims from host hospitals related to medical

directors (both hard claims and estimates) is $136,484,981.

      3.           The Number of False Claims for Payment That DTCA Caused Host
                   Hospitals to Submit to the Federal Government.

      The electronic claims data provided in response to the subpoena issued to the

federal government was provided on a claim by claim basis306. An examination of the

claims on the CD indicates that 17,206 claims for payment were submitted by host

hospitals related to patients of medical directors307. Relator contends that the foregoing

evidence makes clear that each of these claims for payments is a false claim for

payment because it was submitted in violation of the Medicare Fraud and Abuse

laws–specifically Anti-Kickback Act and Stark–with an express and/or implied

certification that the claims were in compliance with those laws.




       306
             Exh. 117 and declaration of Don McKenna and Exh. 119.
       307
             Id.

                                           -79-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 85 of 171




                  RELATOR’S CONTRAVERSION OF DEFENDANTS’
                  STATEMENT OF UNDISPUTED MATERIAL FACTS

       Most of the relevant material facts asserted by Defendants to be undisputed are

disputed in the statement of genuine issues and facts in support set forth above. To be

certain that the Relator complies with Local Rule LCvR 56.1, which states that facts not

controverted may be deemed admitted by the Court, Relator lists each of the facts

asserted by the Defendants below and then strikes through the portion of the asserted

factual statement which is controverted by the Relator. Underneath each asserted fact,

Relator cites the Court to the specific section of Relator’s statement of genuine issues

and supporting evidence in which the Defendant’s asserted fact is controverted or

Relator cites the Court directly to evidence which controverts the asserted fact. If the

asserted fact is not disputed, Relator so states underneath the asserted fact.

1.     Beginning in 1984, DTCA set up diabetes treatment centers that coordinated and

managed specialty care and clinical support for diabetes patients at hospitals across the

United States. (Thomas Mills Dep. at 35-37).

Relator’s Response: Not disputed.

2.     In the early years, the treatment centers consisted of an actual unit or wing of a

hospital with dedicated patient beds, an exercise facility, a classroom, and a dining

facility with a staff of diabetes specialists provided by DTCA. (Dr. Judson Black Dep. at

49; Kathy Kirk Dep. at 178).

Relator’s Response: Not disputed.

3.     Although conventional diabetes treatment at that time focused on treating

diabetes complications, DTCA centers were founded on the notion of a more aggressive


                                           -80-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 86 of 171




treatment method known as tight blood glucose control (“tight control”). (Derek Freed

Dep. at 53-54; Dr. Paul Davidson Dep. at 87; Dr. Richard Hellman Dep. at 22-23; Irene

Thomas Dep. at 129-30; Jim Deal I Dep. at 32-34).

Relator’s Response: Not relevant. Relator also presents evidence that centers

also founded on business model of increasing federal healthcare business.

4.     An early form of preventative medicine, tight control was an intensive treatment

that required strict attention to diet and exercise, frequent glucose level measurement

and routine insulin dosing through injections or pumps based on the belief that if

diabetics kept their glucose levels as close to normal as possible, they could prevent or

slow the progression of many known diabetes complications, including cardiovascular

disease, nerve damage and kidney malfunction. (Dr. Judson Black Dep. at 47; Dr. Bruce

Bode Dep. at 52, 143-44; Dr. Michael Perley Dep. at 116).

Relator’s Response: Not disputed and irrelevant.

5.     From 1984 to 1996, DTCA contracted with approximately 120 hospitals to run

diabetes treatment centers at those hospitals. (Declaration of Henry Herr ¶ 4, which is

attached hereto as Exh. 2).

Relator’s Response: Not disputed.

6.     The hospitals provided the equipment and furnishings necessary for the centers

and retained responsibility for routine patient services, including patient admissions and

billing. (Id.. ¶ 5; Conrad I Dep. at 55).

Relator’s Response: A doctor is required to admit the patient to the hospital.(LaRue

Dep. at 124, Davidson Dep. at 276, Williams Dep., Vol. 3 at 130).



                                            -81-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 87 of 171




7.    DTCA provided staff that operated the centers, including staff responsible solely

for patient education and training. (Herr Decl. ¶ 6; Black Dep. at 98-99; Deal I Dep. at

56-59).

Relator’s Response: DTCA staff were also responsible for things such as marketing

the center and marketing the medical directors. ( Exh. 11 staff member resigning

because of objections to marketing duties, Exhs. 32 & 33, LaRue Dep. at 111-113).

8.    DTCA entered into management contracts with its hospital customers, which

required those hospitals to pay DTCA a management fee for operating the centers. (Herr

Decl. 4). The business proposition for the hospital was that by creating a “center of

excellence” for diabetes treatment, the hospital would be able to increase its market

share of patients in the community with diabetes patients who required hospitalization.

(Herr Decl. ¶ 4; Pogue III Dep. at 189-90; Perley Dep. at 118-19).

Relator’s Response: DTCA entered into contracts with hospitals, the purpose of which

was to increase hospital admissions of diabetes patients. DTCA promised to increase

admissions by bringing on medical directors with patient loads that would increase

admissions and corresponding diabetes discharges at the hospital. (Section A, supra,

and Exhs. 1, 6, 116).

9.    While DTCA’s management contracts with hospitals evolved over time, most were

categorized as either “A” or “B” contract models. Under an “A” model contract, DTCA

was responsible for the operating expenses of the centers, including staff salaries,

medical director fees and marketing expenses. Under the “B” model contract, the

hospital paid those same operating expenses. (Conrad I Dep. at 59-60; Dana Williams I



                                           -82-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 88 of 171




Dep. at 93-94).

Relator’s Response: DTCA had many with contracts with hospitals that paid fees

based on per-patient day as well as a fixed fee plus a fee for each incremental diabetes

discharge above a baseline. Thus, payments under the DTCA contracts with hospitals

varied with diabetes patient volume. (See for example Exhs. 121, 120 and supra note 9).

10.    Under both arrangements, DTCA’s fees were based on the center’s operating

performance under various contractual arrangements. Early on, DTCA often was paid on

a per-patient, per-day basis. Later contracts based DTCA’s compensation on changes in

the hospital’s market share of diabetes patients, and in some circumstances, the

hospital’s cost of providing diabetes care to patients. Still later, most hospital contracts

became flat-fee arrangements. (Conrad I Dep. at 30, 53-54, 61; Ben Leedle Dep. at 30).

Relator’s Response: DTCA had many contracts with hospitals that paid fees based on

per-patient day as well as a fixed fee plus a fee for each incremental diabetes discharge

above a baseline. Thus, payments under the DTCA contracts with hospitals varied with

diabetes patient volume. (See for example Exhs. 120, 121 and supra note 9).

11.    DTCA did not submit claims to Medicare or any other payor for services provided

to patients in the diabetes treatment center. (Herr Decl. ¶ 5).

Relator’s Response: Irrelevant. While DTCA did not directly submit claims to

Medicare, Relator’s allegation and substantial evidence is that DTCA caused host

hospitals to submit false claims for payment to Medicare, Medicaid and other Federal

Payors. (Section D supra).

12.    In general, the staff at a DTCA center consisted of nurse educators, dietitians,



                                             -83-
        Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 89 of 171




exercise physiologists and counselors. (Hodge Dep. at 270-71; Bode Dep. at 146; Tom

Cigarran II Dep. at 85-86; Deal II Dep. at 31-32).

Relator’s Response: Incomplete. Each center also had a program manager

responsible for marketing, meeting with medical directors, tracking and reporting patient

census to the home office, and talking to medical directors about their patient census.

(Exhs. 34, 106, 107 and LaRue Dep. at 157-160).

13.     The staff and center were supervised by a DTCA program manager, who also

was responsible for community, hospital and physician relations. (Kaplan-Lewis Dep. at

36-37; Deal II Dep. at 37-38).

Relator’s Response: The program manager was also responsible for marketing,

meeting with medical directors to discuss their patient referrals, tracking and reporting

patient census to the home office, and recruiting additional medical directors to

contribute census. (Exhs. 34, 106, 107, Beard Dep. at 31-32, 45, and LaRue Dep. at

157-160).

14.     DTCA additionally retained physicians who specialized in diabetes treatment to

serve as the medical directors of the centers. (Deal I Dep. at 156-58; Pogue III Dep. at

198).

Relator’s Response: Not Disputed.

15.     Although the particular services performed by the medical directors varied by

physician, the medical directors generally were responsible for supervising medical

treatment provided at the center, educating center staff and patients about tight control,

interfacing with hospital medical staff and administration, overseeing center and hospital



                                            -84-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 90 of 171




quality control, community outreach, and helping ensure that each hospital had a

diabetes treatment “center of excellence.” (Derek Freed Dep. at 30; Williams I Dep. at

39; Pogue II Dep. at 47-48, 82-83; Pogue III Dep. at 198; Thomas Dep. at 111).

Relator’s Response: Each paid medical director had identical duties spelled out in form

contracts. These duties included:

              (ii) Doctor shall assist the Center in development of referral
              sources for the center. . . .and (iv) The doctor shall identify
              and encourage other physicians and referral sources whose
              patients could benefit from services offered by the center.

(Section B(1)(a) supra and notes therein, LaRue dep. at 52, Exh. 12).

16.    Depending upon circumstances and need, centers could have one medical

director or multiple medical directors. (Cigarran I Dep. at 191-92; Cigarran II Dep. at 248-

49).

Relator’s Response: DTCA had multiple medical directors at most centers. The

purpose of the medical directors was to deliver a diabetes patient base to the host

hospital by way of referrals for admission. (Section B(1)(a) supra and notes therein).

17.    The tight control model was considered “revolutionary” at the time, as it was not

generally accepted by physicians and most physicians did not know how to practice it.

(Hellman Dep. at 23; Williams II Dep. at 173-74; Davidson Dep. at 238; Perley Dep. at

117; Deal I Dep. at 32-34; Dr. John Buse Dep. at 47-48).

Relator’s Response: Not disputed but irrelevant to the issues.

18.    Conventional diabetes treatment models focused on minimizing diabetes

symptoms and treating diabetes complications and feared that aggressive management




                                            -85-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 91 of 171




would lead to an unreasonable number of episodes of hypoglycemia, which was life-

threatening. (Stone Dep. at 27; Debra Kaplan-Lewis Dep. at 277-78).

Relator’s Response: Not disputed but irrelevant to the issues.

19.   One of the most important roles of the DTCA medical directors, especially during

the early years of the centers, was to advocate the tight control treatment model to

diabetics and other physicians. (Freed Dep. at 44). DTCA believed that the success of

its centers depended upon medical directors like Dr. Paul Davidson (“Dr. Davidson”),

who were convinced of the benefits of tight control and would champion the centers to

diabetics and their physicians. (Pogue III Dep. at 177).

Relator’s Response: Relator agrees that DTCA believed the success of its centers

depended upon medical directors like Dr. Paul Davidson. One of the most important

roles of these directors was to refer patients and generate patient referrals to the DTCA

center in the host hospital so that DTCA could make money under its contracts with the

host hospital. (Sections B(1)(a) and (b) supra).

20.   The data did eventually bear out the correctness of what DTCA was doing.

(Perley Dep. at 118). From 1983 to 1993, the National Institutes of Health had funded a

clinical study called the Diabetes Control and Complications Trial (“DCCT”) that

compared the effects of conventional diabetes treatment and intensive control on the

complications caused by diabetes. (Buse Dep. at 41-48). The results of the DCCT,

which were announced in 1993, showed that elevated blood glucose levels are the

cause of long-term complications and concluded that major benefits could result from

intensive diabetes therapy. (LaJaune Dep. at 89-90).



                                           -86-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 92 of 171




Relator’s Response: Relator disputes that paying medical directors to refer patients

and encourage referrals of patients is correct. (Sections C(3) supra and Exh. 108). The

remainder of this statement of fact is irrelevant to the issues in the case.

21.    The results of the DCCT affirmed the approach to diabetes care that DTCA had

been practicing since its founding and led to the general acceptance of tight control as

the standard of practice for diabetes care. (Davidson Dep. at 238; Laurel Fuqua Dep. at

149-50; Thomas Dep. at 178).

Relator’s Response: Not disputed but irrelevant to the issues in the case.

22.    Between 1984 and 1996, DTCA contracted with more than 300 physicians to

serve as medical directors at the various diabetes treatment centers. (Herr Decl. ¶ 6).

Relator’s Response: The parties, by and through counsel, circulated an agreed list of

276 physician medical directors contracted by DTCA. However, the precise number of

medical directors is immaterial for summary judgment purposes.

23.    Every DTCA medical director had a written contract that specified the director’s

duties and compensation, and director payments were documented in the company’s

financial records. (Hen DecI. ¶ 7).

Relator’s Response: Not disputed.

24.    Most medical directors received a monthly stipend in exchange for their services.

(Herr Decl. ¶ 8). In the formative years of DTCA, a few medical directors received other

forms of compensation, including income guarantees, loans, equity appreciation rights,

research funds, office expenses, moving expenses and continuing medical education

funds. (Herr Decl. ¶ 9; Cigarran I Dep. at 340; Deal II Dep. at 154-56).



                                            -87-
        Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 93 of 171




Relator’s Response: Relator does not dispute that medical directors received a

monthly stipend. Relator does dispute that the stipend was in exchange for services as

no fair market value study was ever conducted of the value of the physicians services

and the physicians kept no time records of their services performed. (Sections B(1)(a)

supra & LaRue Dep. at 56, 61-62, 65-69). Relator also disputes that the additional

compensation listed was only provided to a few medical directors and only in the

formative years. These additional forms of compensation continued well into the 1990s.

(Examples of these forms of compensation to medical directors in the 1990s at Exh.

124).

25.     As time passed and as DTCA became more established, those forms of

compensation were phased out by DTCA. (Herr Decl. ¶ 9; Deal II Dep. at 298).

Relator’s Response: The stipend compensation was always provided. The additional

forms of compensation listed in paragraph 24 were provided well into the 1990s. (Exh.

124).

26.     The medical directors were paid different amounts from each other depending

upon the negotiations between DTCA and the particular physician. (Williams III Dep. at

141).

Relator’s Response: Relator agrees that medical directors were paid differing amounts

for the same standard contractual duties. However, the payment was not based in any

way on fair market value for services. (Sections B(1)(a) &(b)). In fact, Relator’s

evidence shows that DTCA paid the medical directors to refer patients to DTCA and to

encourage others to do so (Sections B(1)(a) &(b) and Exhs. 115 & 12).



                                           -88-
         Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 94 of 171




27.      DTCA based compensation on the physician’s credentials, experience,

reputation, and level of services performed at the center. (See Id). DTCA believed the

amount it paid to physicians to be fair market value in exchange for the services

performed by those physicians. (Conrad I Dep. at 298-99).

Relators Response: This asserted fact is disputed in its entirety in sections B & C

supra.

28.      DTCA never paid any physician for his or her admissions. (Herr. Decl. ¶ 9, Bode

Dep. at 112, 116-17; Perley Dep. at 124; Kaplan-Lewis Dep. at 283-84; Thomas Dep. at

180-81; Deal Dep. at 123-24; Pogue III Dep. at 172-73, 199, 212-13).

Relator’s Response: This asserted fact is wholly disputed by Relator. (Exhibit 115 and

sections B(a)(a) and (b) supra).

29.      Medical directors were paid a flat amount that did not vary according to the

number of patients admitted by the physician. (Herr Decl. ¶ 8).

Relator’s Response: Relator has substantial evidence that physicians were paid for

their referrals. (By way of example Dr. Walt Huttner in exhibit 37 stated that he knew he

had to increase his census to justify the additional payments. Relator’s statement of

facts has additional substantial evidence to controvert this assertion at Sections B(1)(a)

and (b)).

30.      The medical director contracts generally were for multiple years and did not

provide DTCA with termination rights for a physician’s lack of admissions. (Herr Decl. ¶

8). DTCA did not discipline a medical director or threaten to terminate a medical

director’s contract for lack of referrals. (Kaplan-Lewis Dep. at 281; Perley Dep. at 26).



                                             -89-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 95 of 171




Relator’s Response: Many Medical Director contracts provided that the contract would

only be renewed if the census at the DTCA center was not maintained at a certain level,

effectively giving DTCA termination rights with regard to the medical directors. (See for

example Exh.125 medical director contracts composite exhibit: DTCA 013862 Dr.

Phillipson ¶4 extension of contract is conditioned upon maintaining census at certain

level; DTCA012214 Dr. Young ¶4 of contract-extension conditioned upon maintaining at

certain level; DTCA020199 Dr. Agrin ¶4 of contract extension conditioned upon

maintaining census at certain level).

31.   Medical directors admitted their diabetes patients to the hospital where the

diabetes treatment center was located because they believed their patients would

receive better care there than from other hospitals. (Davidson Dep. at 235; Bode Dep. at

43, 114; Hellman Dep. at 124).

Relator’s Response: At least one reason medical directors referred their patients to the

hospital where the diabetes treatment center was located was that DTCA paid the

medical directors more than fair market value to induce them to refer their patients to the

hospital where the DTCA was located. (Sections B(1)(a) and (b) supra and Exh: 115).

32.   The clinical level of service and care for diabetes patients at the DTCA diabetes

treatment center was better than other hospitals in their market. (Perley Dep. at 119;

Black Dep. at 57-58; Pogue III Dep. at 200-01).

Relator’s Response: Not disputed but irrelevant to the summary judgment issues.




                                           -90-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 96 of 171




33.    Drs. Karpas, Bode, and Black were admitting their diabetes patients to the

diabetes treatment center at West Paces Medical Center prior to becoming medical

directors of the center. (Karpas Dep. at 46; Bode Dep. at 43—44; Black Dep. at 60).

Relator’s Response: Not disputed that they admitted some of their patients to West

Paces prior to becoming medical directors. However, DTCA paid all medical directors,

and made it their written contractual duty, to encourage other physicians to refer patients

to the DTCA center at the host hospital. (Sections B(1)(a) and (b) supra).

34.    The medical directors who were deposed performed substantial services on

behalf of the diabetes treatment center. Davidson Dep. at 64, 201; Black Dep. at 74;

Bode Dep. at 51-52, 72-73; Freed Dep. at 30-31; Thomas Dep. at 111.

Relator’s Response: There are no records prior to 1995 of the services these medical

directors performed for DTCA and how much time they spent performing any service.

DTCA developed a medical director time log in 1989 which on its face acknowledges

that it is required for Medicare and Medicaid reporting. Yet, DTCA did not require

medical directors to begin utilizing this form until 1995. (Section B(1)(a) supra and Exh.

16).

35.    Relator has no personal knowledge regarding the amount of time spent by the

five West Paces medical directors performing their medical director duties. (Pogue II

Dep. at 154-55). Relator has no personal knowledge regarding whether any medical

director was or was not performing his medical director duties. (Pogue III Dep. at 279;

Pogue IV Dep. at 347; 362).

Relator’s Response: Not disputed, but immaterial to the issues in summary



                                           -91-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 97 of 171




judgment. More to the point, DTCA has no idea and no way to prove the services

performed by the five West Paces medical directors because they failed to require the

medical directors to keep time logs. (Section B(1)(a) supra).

36.   DTCA’s contracts with medical directors and hospitals were drafted and reviewed

by Boult, Cummings, Connors & Berry (“Boult Cummings”), which has served as the

company’s outside counsel since the founding of the company. (Williams Dep. at 63;

Cigarran I Dep. at 260-61).

Relator’s Response: Not disputed that the paper contracts were reviewed. However,

Boult Cummings attorneys testified that they performed no fair market value analysis

and did not look at the conduct behind the contracts and relied solely on DTCA to

provide them with information. (Section C(2) supra).

37.   Boult Cummings worked closely with DTCA to advise the company regarding its

relationships with hospitals and physicians as healthcare regulations changed over the

course of years. (Jay Hardcastle Dep. at 355, 397-98; Cigarran II Dep. at 72-73).

Relator’s Response: Boult Cummings reviewed many DTCA contracts and warned

DTCA repeatedly that its contracts put it at risk of prosecution under the Medicare fraud

and abuse laws. (Section C(2) and (3) supra).

38.   DTCA relied in good faith on legal advice from Boult Cummings in structuring its

arrangements with medical directors and hospitals. (Herr Decl. ¶¶ 10, 11; Cigarran I

Dep. at 284-86).

Relator’s Response: DTCA failed to disclose material facts to its counsel. DTCA

repeatedly ignored its counsels’ advice that its arrangements with medical directors put it



                                           -92-
          Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 98 of 171




at risk of prosecution under the Medicare fraud and abuse laws. (Sections C (2), (3) &

(4) supra).

39.    Boult Cummings attorneys would not sign off on agreements unless they believed

that the contract did not violate any laws. (Thomas Smith Dep. at 63-64; Hardcastle Dep.

at 120).

Relator’s Response: DTCA failed to disclose material facts to its Boult Cummings

Counsel. Boult Cummings Counsel repeatedly advised DTCA that its arrangements with

medical directors put it at risk of prosecution under the Medicare fraud and abuse laws.

(Sections C(2) & (3) supra).

40.    DTCA did not limit the company personnel who could have contact with counsel,

and DTCA did not instruct employees to withhold information from counsel. (Pogue IV

Dep. at 417-18; Hodge Dep. at 149).

Relator’s Response: DTCA failed to disclose material facts to its counsel. (Section C(2)

supra).

41.    Boult Cummings spent “countless hours” with DTCA discussing how the company

worked, the company’s contracting model, and the fraud and abuse risks of various

arrangements. (Hardcastle Dep. at 355; 397-98). The firm did not rubber stamp all of

DTCA’s proposed arrangements. (Hardcastle Dep. at 305; 333-34).

Relator’s Response: Not disputed. Nevertheless, DTCA failed to disclose material

facts to its Boult Cummings Counsel. Boult Cummings Counsel repeatedly advised

DTCA that its arrangements with medical directors put it at risk of prosecution under the

Medicare fraud and abuse laws. (Sections C(2) & (3) supra).



                                           -93-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 99 of 171




42.    Over the years, Mr. Hardcastle raised concerns regarding several proposed

arrangements between DTCA and particular doctors. (Id. at 350). In response, DTCA

would either change the arrangement or discuss with Mr. Hardcastle its justification for

the arrangement. If the justification satisfied Mr. Hardcastle, then he would approve the

contract. (Id. at 439). Mr. Hardcastle never advised DTCA of any arrangement that

constituted a violation of the AKS. (Id. at 120).

Relator’s Response: Attorney Hardcastle repeatedly advised DTCA that its

arrangements with medical directors put it at risk of prosecution under the Medicare

fraud and abuse laws. DTCA’s decisions to ignore his advice caused Hardcastle to

repeatedly generate documents to his “Fraud & Abuse” file that he had advised DTCA of

the risk of prosecution and its officers chose to make no changes in response to his

advice. (Section C(3) & (4) supra).

43.    In 1994 and 1995, DTCA restructured its medical director contracts to provide

that the fixed annual stipend would be based on a target number of required hours

multiplied by a fixed hourly rate of compensation. (Williams III Dep. at 65, 141-42;

Williams II Dep. at 189-90). DTCA restructured the medical director contracts to fully

standardize the terms and compensation being paid to its directors and in response to

the Stark Law. (Williams I Dep. at 88-94; Williams II Dep. at 91-92, 200-01, 202-03, 245-

47).

Relator’s Response: The restructured medical director payments continued to vary

widely from medical director to medical director even among DTCA medical directors

within the same hospital. The hourly rates were not based upon any fair market value



                                             -94-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 100 of 171




analysis as advised by DTCA’s attorneys. In addition to Stark, DTCA restructured its

medical director contracts under pressure from its attorneys, Columbia HCA, and service

with a subpoena duces tecum from HHS-OIG after the filing of the complaint in this

case. (Sections C (5) & (6) and Exh. 108 chronology chart 8/31/1993 forward and

attachments referenced with each date as well as Exh. 19).

44.    Under all of DTCA’s medical director contracts, including the 1995-1996

restructured contracts subject to the Stark Law, compensation to the directors did not

vary with or otherwise reflect the volume or value of the directors’ referrals of diabetes

patients to the hospitals at which the centers were located. (Williams I Dep. at 58-59;

Cigarran II Dep. at 342-43).

Relator’s Response: Relator’s statement of genuine issues and material facts sets forth

substantial evidence that DTCA’s medical director contracts reflected the volume or

value of referrals from the medical directors and that at least one purpose of the medical

director agreements was to induce referrals of patients to the DTCA at the host hospital.

(Sections B (1) (a) & (b) supra and the exhibits noted in those sections).

46A. From 1984 to May 20, 1996, there was no authority for HCFA or a FI to deny

payment of a hospital’s UB-82 and UB-92 claim forms for an interim payment or cost

report because of the hospital’s violation of the AKS. (Yospe Dep. at 189-93, 264-64,

267-69).

Relator’s Response: If a potential fraud and abuse situation is suspected by an FI,

there is a mandatory requirement to refer to report it to the Office of Program Integrity or

Office of Inspector General for investigation. Ex. 128, manual excerpts; Yospe Dep. at



                                            -95-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 101 of 171




56, 61-65. A “potential fraud or abuse situation” is specifically defined as “Soliciting,

offering or receiving a kickback, bribe or rebate.” Ex. 128 at § 2060.5(A); §4100.2.

Indeed, all providers are subject to audit to discover fraud and abuse, one of the audit

priorities of the HCFA. Ex. 128 at § 4104. Decisions regarding next steps are to be

made by the OPI or the OIG. Ex. 128 at § 4101. The results of an investigation could

result in an audit of a provider’s claims being discontinued. Ex. 138 at § 2060.5. See

generally Section III.D.2. infra.

46B. During that time period, neither HCFA nor any FI refused to process a claim form

for payment, or denied reimbursement of medically necessary services claimed in a

hospital cost report, because the claim's services resulted from an AKS violation. (Yospe

Dep. at 265, 284)

Relator’s response: Mr. Yospe testified that he is not personally aware of any

occasion in his tenure when a provider “came forth and said my cost report included

kickbacks.” Yospe Dep. at 149-50. Mr. Yospe testified that he could recall no situation,

either in his personal experience or reported to him in his position as “Chief of the Audit

and Reimbursement Branch” where HCFA knew that the provider had accepted

kickbacks. Yospe Dep. at 149-152. Mr. Yospe also testified that he expected that

providers would not engage in fraud and abuse (Yospe Dep. at 81-82) and that he would

have no way of knowing whether any particular claim that resulted from a kickback was

or was not medically necessary (Yospe Dep. at 183). There is no evidence of the

Government being provided with truthful statements regarding kickback violations.

There is, however, evidence of procedures in place—implementing statutes and



                                            -96-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 102 of 171




regulations—to discover fraud and abuse, including kickbacks, during review of claims

and to report even the suspicion of fraud to the OIG for investigation. See generally

infra Section III.D.4.

       In addition, Yospe testified only as to his personal knowledge, and did not purport

to testify regarding what the agency overall did or did not do. Moreover, “processing” a

claim for payment is a term of art regarding what happens when a claim is received. It

does not refer to the right to retain payment. Id.

47.    From 1984 to May 20, 1996, HCFA only would have denied a hospital claim if the

specific information required by the claim form-such as the description of the claimed

services or the physician’s certification of medical necessity—was discovered to be

false. (Yospe Dep. at 97-98, 101-02, 189-93, 258-60, 267-69).

Relator’s Response:

       DTCA’s statement is misleading regarding how claims are processed. When cost

reports are submitted, “[t]he intermediary examines the cost report, audits it when found

necessary, and issues a written "notice of amount of program reimbursement.’”308 Cost

report audits and subsequent settlements can sometimes take years. Of note, the

current Manual provision provides that cost reports not scheduled for audit must be

settled within 12 months “unless you have a documented reason why the cost report

cannot be settled (for example, bankruptcy, OIG investigation, DoJ investigation).” Ex.

140, Manual provision § 90. Cost reports can be “re-opened” within 3 years for various

reasons. Ex. 140, Manual provision at §100; 42 C.F.R. § 405.1885 . Thus, the question



        308
              Regions Hosp. v. Shalala, 522 U.S. 448, 452 (1998).

                                            -97-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 103 of 171




of whether HCFA “would have paid the claim,”even if this appropriately set out the

materiality standard, rests not so simply on interim payments received by the provider,

but on their right to retain those payments under the system set out by the Medicare and

Medicaid programs. Indeed, even Mr. Yospe concedes that kickbacks on cost reports

are not allowable. Yospe Dep. at 68-69.

48.    No statute, regulation or Medicare policy made a hospital automatically ineligible

for Medicare reimbursement upon violating the AKS. (Yospe Dep. at 229-30, 282-83). If

an FI thought that a hospital may have violated the AKS, HCFA’s policy only required the

FI to refer the hospital to its fraud unit or the OIG, and to continue processing the

hospital’s claims after the referral unless instructed to stop by the OIG pending

completion of the OIG’s investigation. Yospe Dep. at 189-94, 227-28. Even if the OIG

had found fraud following such a referral, the remedy at the time was limited to

prospective exclusion from the Medicare program, not retroactive denial for the services

already provided. (Yospe Dep. at 225-30, 271-72, 278-80, 282-83).

Relator’s Response: The witness’s answers were confined to his personal opinions.

The first sentence is a conclusion of law and is irrelevant. The third sentence is a

conclusion of law and is incorrect, because, inter alia, the United States utilized the

False Claims Act to recover from providers who profited from kickbacks during the time

period in question, e.g., United States v. Roter, 1989 U.S. Dist. LEXIS 6555 (E.D. Pa.,

June 12 1989); the government had available to it a remedy for violations of the Anti-

Kickback Statute under the Civil Monetary Penalty statute, e.g., Shalala v. Radiation

Care, Inc., 1995 U.S. Dist. LEXIS 749 (N.D. Ga., January 5, 1995). Moreover, the



                                            -98-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 104 of 171




Department of Heath and Human Services, during the relevant time period, had the

authority to reopen a Cost Report within three years to recapture improper payments.

Finally, the United States has always had available to it common-law remedies and

remedies under the False Claims Act by which to remedy violations of law by Medicare

providers.

       As the United States District Court for the Northern District of Illinois held in

United States v. Rogan, 459 F. Supp. 2d 692, 728 (N.D. Ill. 2006), aff’d, 517 F.3d 449

(7th Cir. 2008) (brackets in original):

       If agents of the federal government, acting on behalf of the United States,
       paid claims submitted by Edgewater as a result of Rogan's actions "under
       an erroneous belief which was material to the decision to pay, [the
       Government] is entitled to recover the payments" under a mistake-of-fact
       theory. Mead, 426 F.2d at 124. Here, the express and implied certifications
       of compliance with the Anti-kickback and Stark Statutes contained in
       Edgewater's cost reports and UB-92 forms were material to the United
       States' decision to pay Edgewater; and, as these certifications were false,
       the United States erroneously paid Edgewater.

49.    From 1984 to May 20, 1996, the UB-82 and UB-92 Medicare claim forms did not

require any certification of compliance with the AKS or Stark Law. (Yospe Dep. at 187-

88, 259-60).

Relator’s Response: Irrelevant. The UB-82 and 92 forms did not contain an affirmative

certification of compliance with such laws. However, as established infra Section III,

under the law of the case and the law of the land, submission of a claim known to have

been the result of a kickback violates the False Claims Act.

50.    From 1984 to May 20, 1996, HCFA’s cost reports did not require a hospital’s

certification of compliance with the AKS as a condition of payment. (Yospe Dep. at 233,



                                             -99-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 105 of 171




272-273, 276-78, 287).

Relator’s Response: Irrelevant. HCFA’s costs report forms did not contain an

affirmative certification of compliance with the AKA prior to 1992. The form was revised

to include an affirmative certification of compliance with all laws governing the provision

of healthcare services in early 1993. However, as established infra Section III, under the

law of the case and the law of the land, submission of a claim known to have been the

result of a kickback violates the False Claims Act.




                                           -100-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 106 of 171




                       LEGAL ARGUMENT AND AUTHORITIES

I.    STANDARD OF REVIEW

      This Court has recently described the standard applicable to summary judgment:

      Where the pleadings, affidavits, depositions, answers to interrogatories,
      and admissions of record demonstrate that there is no genuine issue of
      material fact and that the movant is entitled to judgment as a matter of law,
      summary judgment shall issue. At the outset, the burden is on the movant
      to demonstrate the lack of a material factual dispute. . . . At this stage, the
      Court must draw all reasonable inferences in favor of the nonmoving party,
      and it may not make credibility determinations or weigh the evidence. . . .


United States ex rel. Hockett v. Columbia/HCA Healthcare Corp., 498 F. Supp. 2d 25, 56

(D.D.C. 2007) (Lamberth, J.) (internal citations and quotation marks omitted).

      In ruling on a summary judgment motion, Rule 56(c), Fed. R. Civ. P., permits the

court to consider "the pleadings, any discovery and disclosure materials on file, and any

affidavits." “On a motion for summary judgment, a district court may rely only on mater-

ial that would be admissible at trial." Rubens v. Mason, 387 F.3d 183, 189 (2d Cir.

2004). However, a non-moving party is not required to produce evidence in a form that

would be admissible at trial in order to oppose summary judgment; rather, the evidence

must be capable of being converted into admissible evidence. Gleklen v. Democratic

Congressional Campaign Committee, Inc. 199 F.3d 1365, 1369 (D.C. Cir. 2000).

      Documents tendered in response to discovery request or subpoena are

self-authenticating. See infra section C.1; Architectural Iron Workers Local No. 63

Welfare Fund v. United Contractors, Inc., 46 F. Supp. 2d 769, 772 (N.D. Ill. 1999);

United States v. Hubbell, 167 F.3d 552, 567 & n.20 (D.C. Cir. 1999). All exhibits

submitted in support of this memorandum were produced either in response to sub-


                                          -101-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 107 of 171




poenas or discovery requests served in this litigation. Exhibit 118, Declaration of

Jennifer M. Verkamp at ¶¶ 14-16.

       Summary judgment is not appropriate where, as here, the evidence is such that a

reasonable jury could return a verdict for the non-moving party. Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986).

II.    PRESENTMENT OF CLAIMS: Defendants Caused the Submission of False
       Claims For Payment by the United States

       As this Court has previously recognized, the FCA creates liability for any person

who “knowingly presents, or causes to be presented, to an officer or employee of the

United States Government . . . a false or fraudulent claim for payment or approval. “

Hockett, 498 F. Supp.2d at 57, quoting 31 U.S.C. § 3729(a).

       Here, DTCA is liable for knowingly causing hospitals to submit claims to the

United States in violation of the Anti-Kickback and Stark laws. At the outset, DTCA

argues that Relator has not identified that claims were presented to the United States

because he has not brought forward “properly authenticated and admissible evidence” of

the actual claims (De. Mem. at 16). Specifically, DTCA challenges that the electronic

claims data subpoenaed from CMS is unverifiable and so cannot constitute evidence

that claims were presented to the United States. DTCA’s argument goes one further,

arguing that Relator simply “supposes” claims “must have been presented” to the United

States. Notwithstanding that the subpoenaed claims information is sufficient evidence

(as addressed in Section C below), DTCA’s argument is stupefying in light of its own

documents, which concede that claims were presented to the United States as a result

of its efforts—indeed, that was the point.


                                             -102-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 108 of 171




       A.     DTCA’s Documents Reflecting The Presentation of Claims to the
              United States As a Direct Result of Its Efforts.

       DTCA does not dispute that the claims at issue are the claims for outpatient and

inpatient services referred to its hospital customers by DTCA’s paid medical directors.309

       Nor does DTCA deny that claims were presented to the United States as a result

of referrals from DTCA-paid medical directors.310 Nor can it: Document after document

produced by DTCA concedes that its business model was aimed at increasing claims for

hospital services:

       Letter to Hospital: “our primary goal for FY ‘91 and FY’92 is to significantly
       increase the volume of business at your center” (Ex. 2, DTCA127212).

       Letter to Program Managers: “The Fiscal 1991 Program Manager Incentive
       Plan is based upon our hospital customer’s number one
       expectation–Census Growth” (Ex. 7, DTCA225801).

       A driving number of these claims were paid by Medicare and Medicaid. In fact,

DTCA engineered its business model so that the amount of its management fee was

geared to admissions and including whether admissions were Medicare, Medicaid or

“other” payors. E.g., Exhibits 120, Lakewood, Shallowford and West Paces contracts;

Exhibits 121 at 1987 Waltham Weston contract and 1989 HCA Bayonet contract. Its

initial contracts specified that it was paid on a “per patient day” basis, with a different fee


        309
            Specifically, these are: (1) CMS Forms UB-92 and UB-82 (interim claims for
inpatient hospital services); (2) CMS Forms 2552 (the hospital’s annual cost report or
“final claim”); and (3) CMS Forms 1500 (claims for outpatient services). Def. Mem. at
14, n.10 (stating that they do not dispute that these are the claims at issue and that they
constitute “claims” within the meaning of the FCA).
        310
           Notably, even the testimony cited in DTCA’s brief concedes that the medical
directors admitted patients to DTCA’s unit. Def. Mem. at 34 (“the medical directors
generally preferred admitting patients to the diabetes treatment center”) (citing
Davidson and Black depos.).

                                             -103-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 109 of 171




for federal payors. Although the model stayed the same, the exact contract structure

changed over time, to include DTCA being paid both a fixed fee and a variable fee for

incremental discharges resulting from its centers. Ex. 121, examples of contracts over

time.311

       Thus, DTCA’s entire model was geared to generate claims for hospital services,

including Medicare and Medicaid claims. Evidenced not just by its contracts, but by a

plethora of other documents regarding its practices, DTCA’s goal was to generate

healthcare claims. Indeed, in order to convince a hospital to contract, DTCA routinely

prepared pro forma showing the projected financial impact on its efforts on the hospital’s

admissions, including Medicare and Medicaid revenue. Ex. 126.

       Indeed, because its hospital contracts were geared toward increasing census,

and in most cases, the amount of its management fee was driven by the monthly volume

of admissions or discharges, DTCA was collecting the actual patient claims data from

the Hospitals on a regular basis and specifically tracked the number of the admissions

by referral source and payor source. See Exhibit 127, Hospital Contract requiring

monthly submission of patient data to DTCA (DTCA144921); Exhibit 128, DTCA internal



           311
          DTCA states that its contracts evolved over time and that, later in time, the
hospital contracts became “flat fee arrangements.” Def. Mem. at 5. This is imprecise.
While flat fee arrangements were introduced in later time frames, the majority of
arrangements contained a variable fee element (based on volume of healthcare
business generated) through the end of the relevant time frame. See., e.g., Exhibit
121, 1995 Bristol Regional contract. In fact, of the approximately 643 contracts
produced to Relator in discovery, only 31 reflect a purely fixed fee arrangement. Exhibit
118, Declaration of J. Verkamp at ¶ 17. This is of no matter, of course, to the fact that
the amount of the fee, whether flat or variable, accommodates the volume of business
to be generated by the center (and to include the cost of medical director payments
made to induce the referral of that business).

                                          -104-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 110 of 171




document reflecting monthly reporting of UB-82 information from each center

(DTCA092806 at 2809).

       Thus, from the very inception of its contracts with hospitals, DTCA contemplated

that its efforts would result in Medicare and Medicaid claims. In fact, its business model

depended on it. Thus, DTCA tracked these admissions regularly, by physician and by

payor source, including by monthly reports by each center’s program managers tracking

this information. Exhibit 50, for example, is a Monthly Report from a center at Roper

Hospital, and it clearly reflects the exact number of admissions and discharges and how

many of them were paid by Medicare and Medicaid. On that document, over 75% of the

center admissions were Medicare and Medicaid patients (DTCA235758).312

       DTCA produced scores of these monthly reports in response to Relator’s

discovery requests and show clearly that, for every center, and on a monthly basis,

DTCA itself was documenting that claims were presented to the United States as a

result of its efforts. See, e.g., Exhibit 130, compilation of monthly reports.

       Thus, DTCA’s production is replete with evidence reflecting that claims were

submitted to the United States. See also, e.g.:

       Exhibit 131, examples of hard copy inpatient Bills from Hospitals
       (DTCA134975-997; DTCA 17085-89).

       Exhibit 132, DTCA memo reflecting return of UB-82's to Hospital for
       processing (DTCA109284-5).

       Exhibit 133, 1987-89 letters between DTCA, Medicare, and centers


        312
         See also Exhibit 129, 2004 printout from American Healthways website (Ex.
118, Verkamp Dec. at ¶ 18), showing that it believed that the Medicare Modernization
Act would increase the Medicare market for its business: “The new Medicare
Modernization Act will increase addressable disease lives by 14-20 million.”

                                            -105-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 111 of 171




       reflecting DTCA’s successful effort to obtain federal reimbursement for
       outpatient services at the centers and to guide the Hospitals on how to get
       reimbursed by Medicare (DTCA132185-191; DTCA136395-198).

       Of note, Relator’s discovery requests sought all relevant information in DTCA’s

possession, custody and control (e.g., Exhibit 134, R.F.P. Nos. 6, 9, 34, 45, 66),

including all the monthly reports and claims data it had collected. While a significant

amount of such data was produced, it was not done so comprehensively.313 In light of

this, DTCA’s current challenge is perverse, as its own failure to retain the patient

information leaves it without comprehensive records of the claims resulting from the

centers—but for, of course, Relator’s subpoena of the information from CMS. The lack

of retention of such records does little to rebut the end goal reflected in document after

document it produced—to create more claims to be paid, in significant part, by the

United States.

       Regardless of whether DTCA agrees its business model creates liability under the

False Claims Act, it cannot credibly dispute that claims to the United States resulted

from its efforts. This fact, established through the evidence, is sufficient to withstand

summary judgment on the question of whether claims were presented to the United

States.

       B.       DTCA’s Straw Man: Actual Claim Forms are Not Required.

       The central premise of DTCA's argument is that Relator cannot survive summary



          313
         Relator has comparable information produced by Defendant HCA/West Paces
in response to discovery requests, prior to its dismissal from this case. West Paces
produced cost reports, inpatient bills, patient claim summaries relating to the center’s
admissions, among other evidence of claims presented to the United States as a result
of DTCA’s efforts (e.g., Exhibit 135).

                                           -106-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 112 of 171




judgment because he is unable to produce the claims themselves—that is, the actual

reimbursement forms, either physical or electronic. This premise fails. The D.C. Court

recently rejected precisely this argument in United States ex rel. Sheila El-Amin v.

George Washington University, holding that "nothing in the language of the FCA

requires Relators to possess (and present to the factfinder) the actual claim form,

whether it be paper or electronic, submitted to the government." 522 F. Supp. 135 , 142

(D.D.C 2007).

      In that case, the Defendant made the same argument—indeed, citing the same

cases—that evidence of each actual claim is required. The Court stated:

              This case presents a slightly different question [than the cases
      cited], for this is a question of proof. Relators have collected thousands of
      pages of anesthesia medical records and billing documents. The question
      is not whether they are able to "come forward with a single claim" that was
      allegedly false, like the plaintiff in Quinn, supra. The mountain of billing
      documents in their possession allegedly demonstrate that Defendant filed
      numerous claims to Medicare. The precise question raised by Defendant is
      whether they may proceed without having the actual HCFA 1500 claim
      forms. Both case law and the rules of evidence answer this affirmatively.

                    *      *      *

             "As the Supreme Court has said, 'direct evidence of a fact is not
      required. Circumstantial evidence is not only sufficient, but may also be
      more certain, satisfying and persuasive than direct evidence.'" United
      States v. Williams, 342 U.S. App. D.C. 256, 260, 216 F.3d 1099, 1103
      (D.C. Cir. 2000) (quoting Michalic v. Cleveland Tankers, Inc., 364 U.S. 325,
      330, 81 S. Ct. 6, 11, 5 L. Ed. 2d 20 (1960)).


Id. at 142-143.

      The El-Amin Court found the defendant's reliance upon United States ex rel.

Aflatooni v. Kitsap Physicians Service, 314 F.3d 995 (9th Cir. 2002), and United States

ex rel. Quinn v. Omnicare Inc., 382 F.3d 432 (3d Cir. 2004), also cited by DTCA, was

                                          -107-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 113 of 171




misplaced. In Aflatooni, the relator failed offer any evidence of the false claims alleged.

On appeal, the Ninth Circuit affirmed summary judgment, observing that a False Claims

Act relator must "come to court with a claim in hand or with sufficiently detailed

circumstantial evidence to establish that the defendant actually submitted a false claim."

Id. at 1102.

       Similarly in Quinn, the Third Circuit noted that some evidence of the submission

of false claims—although not necessary the actual claims forms themselves—was

necessary to establish a prima facie case under §3729(a)(1) or (2). Quinn, 382 F.3d at

440. Unlike here, the Quinn relator’s only proof was that the defendant carried on

substantial business with Medicaid, and on the strength of this evidence alone argued a

genuine issue of material fact as defendant must have double-billed the cost of the

medications.

       The reasoning applied by the El-Amin Court in distinguishing Aflatooni and Quinn

in that case reveals the weakness of DTCA reliance on Aflatooni and Quinn here.

Relator offers far more than "generalized, speculative suppositions." Quinn, 382 F.3d at

440. Indeed, he has records reflecting thousands of claims submitted to Medicare or

Medicaid as a result of DTCA’s efforts, both through subpoenaed records from CMS and

from DTCA’s own records.

       The El-Amin court concluded that circumstantial evidence of the claims was

sufficient to create a genuine issue of fact as to the submission of the claims

themselves.

522 F. Supp. 2d 135, 143. Similarly, Relator Pogue has presented significant

circumstantial evidence that claims were submitted, including in the form of subpoenaed

                                           -108-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 114 of 171




information from the United States.

      C.     Even if Actual Claims Data is Required, the Subpoenaed Data From
             CMS is Properly Submitted as Evidence of Claims.

      DTCA challenges that the claims data subpoenaed by CMS have not been

properly authenticated and so constitute hearsay under the Federal Rules of Evidence

802 and 901. Def. Mem. at 16. Notably, DTCA does not challenge the method of

calculating damages, but rather challenges the admissibility of the evidence gathered.

      As addressed below, DTCA’s challenge to the method of proof of claims is

without merit. The evidence of claims obtained by Relator is properly considered by this

Court and sufficient to withstand DTCA’s motion for summary judgment.

             1.     The Claims Records.

      The claims data at issue here was provided by CMS in response to a valid

subpoenas.

      Specifically, Relator served two subpoenas on the United States. The first was

for West Paces claims data already collected by the United States during discovery in

the MDL. Using the same procedure as employed by Relator here, the United States

had made a previous request for data related to HCA hospitals, including Defendant

West Paces. Relator served this subpoena on United States representative Jonathan

Diesenhaus on July 7, 2003, pursuant to his agreement to accept service. Exh. 109;

Exh. 118 at ¶ 3. In response to the subpoena, Mr. Diesenhaus provided a disk

containing data relating to the claims resulting from referrals to West Paces from DTCA

medical directors. Exh. 111; Exh. 118 at ¶ 4.

      Relator served a second subpoena on July 15, 2003, for the remaining claims


                                         -109-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 115 of 171




resulting from the referrals of DTCA medical directors to the rest of its customer

hospitals. Exh. 110; Exh. 118 at ¶ 6. Relator identified these claims by providing CMS

with the provider number of each hospital and each DTCA medical director. Id. at ¶ 8.

Relator’s counsel used publically available websites to obtain this information. Id. In

response to this subpoena, Robyn Thomas, Director of the Division of Quality

Coordination & Data Distribution at the Office of Information Services at CMS served a

disk containing responsive claims data. Exh. 117 at January 2004 letter from Robyn

Thomas; Exh. 118 at ¶ 10. Relator reviewed this disk and observed that there was no

data relating to a number of medical directors. Upon further inquiry to Ms. Thomas’

office, CMS provided a second disk with additional data, explaining that certain provider

numbers on the list had failed to match data in the system because of an inadvertent

lower case character in some of the numbers provided. Exh. 117 at April 16, 2004 letter

from M. Herman; Exh. 118 at ¶ ¶ 11-12; Exhibit 119, Declaration of Don McKenna. The

letter explained that “[t]he procedure we used was correct” and that the replacement CD

contained additional data based on the correcting the issue with the lower case alpha

characters provided in the subpoena attachment. April 16, 2004 letter from Michael

Herman, Computer Specialist from Ms. Thomas’ office; Exh. 118 at ¶ 12 Exact copies of

these two disks were provided to DTCA , and to Relator’s experts. Id. at ¶ 13. Far from

being a mere series of “zeros and ones,” the data on these disks–along with the record

layouts provided by CMS–can be opened in a database, such as Excel and Access.

Exh. 117, letters attaching record layouts; Exh. 112, Thibault Report describing opening

files in a database.

       DTCA notes that the data on this disk does not contain claims for a certain

                                           -110-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 116 of 171




number of medical directors and for certain years. The disk in DTCA’s possession is all

the electronic data in CMS’ possession regarding the providers identified. Electronic

data only started to be submitted in 1991.314 Moreover, the electronic data can only

retrieve claims that are associated with the providers in question by their UPIN

appearing in the box for admitting or “other” physician. As described by the court in

United States v. Rogan, involving the trial of a closely-analogous False Claims Act case

premised on kickback violations:

      Hospitals...during the relevant time period, were paid by Medicare on an
      interim basis for services rendered. To submit claims for specific Medicare
      patients, the hospital completed and electronically sent form "UB-92" (also
      known as form "HCFA-1450"). The UB-92 form required each hospital to
      use a unique provider number, which identified the hospital as the place
      where services were rendered. The UB-92 form also identified the
      attending physician by placing the physician's Universal Provider
      Identification Number (UPIN) in Boxes 82 and 83 of the UB-92 form. 5 The
      Center for Medicare and Medicaid Services ("CMS") maintained those
      electronic claims in the National Claims History, the agency's official
      repository of adjudicated claims.


Rogan, 459 F. Supp. 2d 692, 708 (N. D. Ill. September 29, 2006), affirmed by 517 F.3d

449 (7th Cir. 2008). If a particular physician was not noted on the form, even if he or she

referred the patient, that claim cannot be captured by the electronic data request.

Indeed, the methodology used to obtain electronic claims data in this case is no different

to the data used by the United States in Rogan, which defendant Rogan unsuccessfully

sought to exclude at trial on similar grounds. As defense counsel in this case knows,

data requests to CMS for the data resulting from provider claims is not novel, and are


       314
         See Exh. 136. However, electronic submission was not required until 1993.
Thus, the electronic claims data obtained is not comprehensive prior to 1993 and is
non-existent prior to 1991.

                                           -111-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 117 of 171




routinely submitted to the agency in False Claims Act cases. In Rogan, the United

States submitted the Declaration of Robyn Thomas to describe the process for the

retrieval of such claims. Exh. 136, Declaration of Robyn Thomas attached to Doc. 177,

in United States v. Rogan, No. 1:02-cv-03310, N.D. Ill. Ms. Thomas is the Director of the

division of CMS responsible for responding to such data requests. That office

responded to Relator’s July 15, 2003 subpoena and, in fact, Ms. Thomas sent the first

responsive CD to Relator (Exh. 117).

       Ms. Thomas’ Declaration describes:

      [T]the National Claims History ("NCH") file....ontains records of claims
      dating back to 1991 submitted for payment, including all adjustment
      claims, to fiscal intermediaries and carriers and includes data on the final
      action taken in connection with those claims. A subset of records
      contained within the NCH is patient specific claims information submitted
      by hospitals across the country that is derived from UB-92's submitted by
      the hospitals.

             *        *     *
      In my role as Director of the Division of Quality Coordination & Data
      Distribution, I receive requests from entities outside CMS for access to
      data maintained by the Office of Information Services.

      Pursuant to the [request in Rogan] from DOJ, I directed employees within
      the Division of Quality Coordination & Data Distribution to provide a copy of
      the inpatient claims record set of the NCH in standardized electronic
      format to [the Government’s data analyst]


Exh. 136. Ms. Thomas Declaration authenticated the United States’ internal request for

data for trial in Rogan. Here, CMS produced the data in response to a subpoena.

      Of note, Relator also made diligent efforts to otherwise obtain the claims data,

whether paper or electronic. Relator requested of defendants West Paces and DTCA all

documents that relate to claims for payment resulting from referrals from the DTCA


                                          -112-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 118 of 171




centers. As previously noted, DTCA largely did not produce the actual claims data that it

had collected from hospitals. It produced monthly reports summarizing the claims data

resulting from its efforts, although not comprehensively for every month or every center

(see supra section A). Relator also subpoenaed more than 100 hospitals with which

DTCA contracted. Exh. 118, Verkamp Dec. at ¶ 14. The subpoena responses were

revealing that many hospitals did not retain such records for the time frames relevant

here and did not catalog the data in a way that could be searched by referring physician

(as does CMS). Subpoena enforcement of more than 100 entities to exhaust the

conclusion that records were not available would be a mammoth and potentially futile

effort, requiring the use of significant judicial resources.315

       Having reached significant obstacles in otherwise obtaining claims data, Relator

focused efforts on the subpoenaed claims data from the United States. As discussed

below, this data would be properly admissible at trial.

              2.      The Claims Records Are Properly Authenticated.

       DTCA argues that much of the documentary evidence in Relator's possession may

not be considered by the Court for purposes of its present motion for summary judgment

because it has not been authenticated. This argument fails for several reasons.



        315
           In fact, as relevant to such an effort, DTCA had subpoenaed the United
States for all such costs reports and other documents relating to various providers. In
objecting to DTCA’s motion to compel the subpoena, the United States submitted the
declaration of Charlotte Benson from the Office of Program Management at CMS, who
testified that the search for cost reports requested by DTCA was a herculean effort,
requiring the search of individual fiscal intermediaries off-site storage facilities around
the country, and will only generally be possible for documents within an eight-year
period. Ms. Benson stated that the costs of such a search would be extremely
burdensome and costly. Exh. 137, attachment to Doc. 1129 in ms-01-50.

                                              -113-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 119 of 171




       Proof of authenticity under Fed. R. Evid. 901(a) requires only that its proponent to

introduce "evidence sufficient to support a finding that the matter in question is what its

proponent claims." The hurdle imposed by Rule 901(a), is not a difficult one to meet, and

is satisfied when the "proponent of the evidence has offered a foundation from which the

jury could reasonably find that the evidence is what the proponent says it is." United

States v. Safavian, 435 F. Supp. 2d 36, 38 (D.D.C. 2006) (Friedman, J.) (internal

quotations omitted); Lexington Insurance Co. v. Western Pennsylvania Hospital, 423 F.3d

318, 328 (3d Cir. 2005) (observing that "[t]he burden of proof for authentication is slight");

United States v. Reilly, 33 F.3d 1396, 1404 (3d Cir. 1994) (same); Thanongsinh v. Board

of Education, 462 F.3d 762, 779 (7th Cir. 2006) ("Rule 901 does not erect a particularly

high hurdle"). Contrary to DTCA's position, "the Court need not find that the evidence is

necessarily what the proponent claims, but only that there is sufficient evidence that the

jury ultimately might do so." Id.

       The fact that a document is produced in discovery alone is generally enough to

establish its authenticity. A number of courts have held that documents tendered in

response to discovery requests are self-authenticating. Architectural Iron Workers Local

No. 63 Welfare Fund v. United Contractors, Inc., 46 F. Supp. 2d 769, 772 (N.D. Ill. 1999);

Anand v. BP West Coast Products LLC, 484 F. Supp. 2d 1086, 1092 (C.D. Cal. 2007);

Cantrell v. Morris, No. 2:04 cv 394, at *1 (N.D. Ind. 2006). This self-authentication

applies with equal force to any documents produced in response to subpoena. United

States v. Hubbell, 167 F.3d 552, 567 & n.20 (D.C. Cir. 1999) (holding that by producing

documents responsive to a subpoena, the party "communicates" that the documents are



                                            -114-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 120 of 171




authentic), citing United States v. Doe, 465 U.S. 605, 614 (1984).316

       As established above, the claims data provided to DTCA and the experts in this

case was subpoenaed from the United States and thus is self-authenticating under

Hubbell, 167 F.3d at 567. The same applies to documents received in response to the

hospital subpoenas served by Relator and the discovery responses received by DTCA

and West Paces in response to discovery requests in this case. Exhibit 118. Counsel’s

declaration identifying these documents as responsive to subpoenas and discovery

requests issued in this litigation provides a foundation upon which a jury could find that

the data is what Relators says it is. Accord United States v. Brown, 688 F.2d 1112, 1116

(7th Cir. 1982) (where defendant was subpoenaed to produce certain records of the

business of which he was the president and sole stockholder, the documents were held

to be properly authenticated by testimony that they were produced by defendant's

attorney who stated that they were the documents that had been subpoenaed): “[T]he

very act of producing them and representing them to be the documents described in the

subpoena would have authenticated them. . . . [H]is very act of production was implicit

authentication.” Brown at 116.




       316
           Accord Chavez v. Thomas & Betts Corp., 396 F.3d 1088, 1101 (10th Cir.
2005) (letter authenticated pursuant to Fed. R. Evid. 901(b)(4) when tendered during
discovery and printed on company letterhead); McConathy v. Dr. Pepper/Seven Up
Corp., 131 F.3d 558, 562 (5th Cir. 1998) (upholding district court's determination that
fact that document was produced during discovery is probative of authenticity under
Fed. R. Evid. 901(b)(4)); F.T.C. v. Hughes, 710 F. Supp. 1520, 1522 (N.D. TEx. 1989)
(one of four factors considered by the court in holding company records authenticated).

                                           -115-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 121 of 171




                     2.     The Electronic Claims Records Are Business and Public
                            Records.

       The claims data contained on the two CDs in question constitute business and

public records under Fed. R. Evid. 803, and thus are not barred by the rule against

hearsay

       Rule 803(6) provides as follows:

       A memorandum, report, record, or data compilation, in any form of acts,
       events, conditions, opinions, or diagnoses, made at or near the time by, or
       from information transmitted by, a person with knowledge, if kept in the
       course of a regularly conducted business activity, and if it was the regular
       practice of that business activity to make the memorandum, report, record,
       or data compilation, all as shown by the testimony of the custodian or other
       qualified witness, unless the source of information or the method or
       circumstances of preparation indicate lack of trustworthiness. The term
       'business' as used in this paragraph includes business, institution,
       association, profession, occupation, and calling of every kind, whether or
       not conducted for profit.

Fed. R. Evid. 803(6).

       Courts regularly hold that computer records constitute business records for

purposes of avoiding the hearsay bar. E.g., Sea-Land Service, Inc. v. Lozen Int'l, LLC,

285 F.3d 808, 819-20 (9th Cir. 2002); United States v. Ary, 518 F.3d 775, 786-87 (10th

Cir. 2008); United States v. Moon, 513 F.3d 527, 544-45 (6th Cir. 2008); Haag v. United

States, 485 F.3d 1, 3 (1st Cir. 2007); United States v. Fujii, 301 F.3d 535, 539 (7th Cir.

2002). Commentators agree. E.g., 30B Michael H. Graham, Federal Practice and

Procedure § 7047 (Interim ed. 2007) ("The expression 'data compilation' is used as

broadly descriptive of any means of storing information other than the conventional words

and figures in written or documentary form. It includes, but is by no means limited to,




                                           -116-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 122 of 171




electronic computer storage").317

      The claims data at issue also qualify as public records pursuant to Fed. R. Evid.

803(8). That rule provides an exception to the rule against hearsay for:

      Records, reports, statements, or data compilations, in any form, of public
      offices or agencies, setting forth (A) the activities of the office or agency, or
      (B) matters observed pursuant to duty imposed by law as to which matters
      there was a duty to report, . . . unless the sources of information or other
      circumstances indicate a lack of trustworthiness.

       As this Court observed when it allowed introduction of email records of the United

States Agency of International Development, "[r]ecords of public agencies . . . are

generally admissible." Lester v. Natsios, 290 F. Supp. 2d 11, 26 (D.D.C. 2003)

      The claims data is maintained by CMS, a federal agency within the Department of

Health and Human Services. They relate to regularly-conducted activities of the agency,

namely, the daily operation the Medicare and Medicaid programs. For the same reason

advanced with respect to the applicability of the business records exception, there is no

reason to question the trustworthiness of the data. The claims data contained on the

CDs constitute public records pursuant to Fed. R. Evid. 803(8).

      As noted above, in Rogan, the defendant similarly challenged the electronic claims

data proffered by the United States. The United States argued that the data was properly

authenticated, and constituted admissible business and public records. The court


       317
           For example, in Sea-Land Service, the Ninth Circuit permitted the introduction
of electronically-stored bills of lading, reasoning that "[f]or purposes of Rule 803(6), 'it is
immaterial that the business record is maintained in a computer rather than company
books.'" Sea-Land Service, 285 F.3d at 819. Also, in Fujii, the Seventh Circuit held
that electronic flight reservation records qualified as business records because they
were maintained as part of the airline's routine business practice. The Fujii Court
further held that printouts of the records made at the request of the INS were similarly
covered under the business records exception.

                                            -117-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 123 of 171




agreed, and held that the data was “competent evidence” of the amounts which resulted

from the illegal referrals in that case. Further, the court held they were “business records

by CMS that reasonably fixed those amounts paid by the Government” for illegally

referred patients. The Court considered such evidence in rendering a judgment for

damages in the amount of $64,259,032.50. Id. at 728.

       Here, DTCA does not challenge either the damage model or the amount of

damages by way of motion for summary judgment.318 Its arguments relate exclusively to

whether there is sufficient evidence of claims presented as a result of its conduct so as to

withstand summary judgment. Relator respectfully submits that there is ample evidence

reflecting that claims were submitted to the United States as a result of DTCA’s actions,

including DTCA’s own documents.

III.   FALSITY: The Claims at Issue Are False Claims in Violation of Anti-Kickback
       Laws.

       DTCA argues that the claims submitted by the hospitals which paid DTCA’s fees,

which resulted from the “stipends” paid to physician medical directors in exchange for

their referral of patients to those hospitals, are not false—even if the patient referrals

resulted from violations of the Anti-Kickback Act.

       DTCA’s challenge is raised in two sections. Section III of its brief (Def. Mem at 21-

19) argues that there can be no falsity associated with claims premised on Anti-Kickback

Act violations. Section VI argues that there is no materiality to Anti-Kickback violations


        318
           Actual damages are not an element of a FCA cause of action. Pogue I, 914
 F. Supp. 1507, 1509 (M.D. Tenn. 1996). However, as this Court acknowledged in
 Hockett, the “theory of implied false certification is an all-or-nothing affair: if the Court
 accepts the theory, all UB-92s submitted during the course of the fraudulent conduct
 are permeated with that fraud and are false claims.” 498 F. Supp.2d at 68.

                                             -118-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 124 of 171




(Def. Mem. at 45-51). Because both these arguments challenge whether such claims are

“false” within the meaning of the False Claims Act, Relator addresses these arguments

together.

       A.       Law of the Case.

       This is DTCA’s third challenge to the legal premise that False Claims Act is

violated when an entity knowingly submits or causes the submission of claims in violation

of the Anti-Kickback Laws. Unfortunately for DTCA, this premise is now woven far more

firmly into the legal tapestry than it was the first and second time.

       In 1996, DTCA lost its challenge to the sufficiency of this legal theory before the

United States District Court for the Middle District of Tennessee.319 DTCA petitioned for

interlocutory appeal, and the Sixth Circuit refused. Following transfer to this Court for

coordinated pre-trial proceedings, DTCA took its second bite at the apple, filing a motion

for judgment on the pleadings “ask[ing] the Court to revisit whether the submission of a

claim carries with it an implied certification of compliance with underlying laws and

regulations and, where those laws and regulations have not been complied with, creates

False Claims Act liability.” 238 F. Supp 2d 258, 261 (D.D.C. 2002). In denying DTCA’s

motion, the Court both declined to revisit the law of the case and found that Judge Echols

got it right the first time. Id.

       In its opinion, the Court carefully canvassed the cases and found that “the

developing law has supported” Judge Echols’s “finding that violations of the Anti-Kickback

and Stark laws can support a claim under the False Claims Act.” Id. at 266.



        319
              914 F. Supp. 1507, 1513 (M.D. Tenn. 1996).

                                            -119-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 125 of 171




More specifically, the Court re-affirmed implied certification of compliance with the Anti-

Kickback and Stark laws as a valid legal theory for the basis of False Claims Act liability.

Id. at 263-266.

       Notwithstanding these carefully-reasoned rulings, DTCA again challenges the

Court’s legal premise. DTCA stubbornly refuses to this the law of the case, and so a

fortiori does not offer any grounds to revisit it. Indeed, on pages 26-29, DTCA challenges

“implied certification” as a valid legal theory here while brushing aside this Court’s opinion

for the proposition that implied certification of compliance with the Anti-Kickback and

Stark laws is a valid basis for False Claims Act liability.

       Instead, DTCA heavily (and selectively) quotes United States ex rel. Hockett,320 a

non-kickback case also pending in the MDL. It is apparently DTCA’s view that in Hockett,

the Court sub silentio reversed its holdings in this case and in Barrett,321 which DTCA also

does not cite.

       The law of the case doctrine provides that “a decision on an issue of law made at

one stage of a case becomes a binding precedent to be followed in successive stages of

the same litigation.” International Union UAW v. Donovan, 756 F.2d 162, 165 (D.C.

Cir.1985). In fact, the Court already has established law-of-the-case principles as the law

of this case: “Reconsideration of the law of the case is appropriate where there are

‘unusual’ circumstances, ‘extraordinary’ circumstances, ‘exceptional’ circumstances, to

prevent a ‘grave injustice,’ and the like.” Pogue II, 238 F. Supp. 2d at 262.


        320
         United States ex rel. Hockett v. Columbia/HCA, 498 F. Supp. 2d 25 (D.D.C.
2007) (Lamberth, J.).
        321
              251 F. Supp. 2d 28.

                                             -120-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 126 of 171




       There are no such extraordinary circumstances here. Indeed, the case law

continues to develop in strong support of this Court and the court in Pogue I that

violations of the Anti-Kickback and Stark laws are a proper basis for False Claims Act

violations.

       The Court has established and re-established the legal principles which govern

this dispute. DTCA does not even attempt to show that it should do so a third time.

       B.     The Case Law Uniformly Supports the Validity of the Legal Theory in
              this Case.

       Since this Court’s decision in Pogue II, the legal theory that underlies this case

has been adopted nationwide.

       Of greatest relevance, the Court’s own subsequent decisions have re-affirmed that

violations of the Anti-Kickback and Stark laws properly form the basis of False Claims Act

violations, without regard to whether the defendant submitted affirmative false

certifications in cost reports. In Barrett, for example, HCA argued that kickbacks cannot

give rise to an FCA cause of action in a case involving a Medicare Part B supplier (which

does not file an annual cost report affirmatively certifying compliance with the Medicare

laws). This Court held that such a proposition was “contrary to existing precedent,

including from this Court.” 251 F. Supp. 2d at 32, citing Pogue II. Further, this Court

stated:

       The cases stating that kickback claims state a cause of action under the
       FCA rely on precedent stating that FCA liability arises where information is
       concealed in the submission of a claim that, if known to the government,
       would affect the government’s decision to pay on that claim . . . . Courts
       have found that kickback and Stark Law (self-referral) violations affect the
       government’s decision to pay.”



                                            -121-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 127 of 171




Id. at 32.

       Barrett considered and squarely rejected defendant HCA’s arguments that an

explicit statement of certification of compliance with law and regulations was required for

False Claims Act liability. Instead, the Court reaffirmed that kickbacks were actionable

under the FCA, because submission of a claim for payment carries with it an implied

certification that the claim did not result from an illegal, kickback-induced referral. The

Court reasoned that the implied certification theory “essentially requires a materiality

analysis” and found that, in the context of the Anti-Kickback and Stark laws, compliance

with those laws “would affect the government’s decision to pay[.]” Id. at 33. As in Pogue

II, the Court referenced standards set out in cases such as Ab-Tech Construction, Inc. v.

United States, which states:

       By deliberately withholding from SBA knowledge of the prohibited contract
       arrangement with [the non-minority-owned enterprise], [the plaintiff] not only
       dishonored the terms of its agreement with that agency but, more im-
       portantly, caused the Government to pay out funds in the mistaken belief
       that it was furthering the aims of the [SBA] program. In short, the Govern-
       ment was duped by [the plaintiff's] active concealment of a fact vital to
       the integrity of that program. The withholding of such information—
       information critical to the decision to pay—is the essence of a false claim.

31 Fed. Cl. 429, 434 (Fed. Cl. 1994) (emphasis added).

       This liability standard is followed by, among others, the D.C. Circuit in United

States v TDC Management Corp. (defendant liable for omitting information “indicating it

was acting in a manner that was contrary to the core terms of the program”)322 and

Harrison v. Westinghouse Savannah River Co. (liability under the False Claims Act must

meet a judicially-imposed standard of liability, which depends on “whether that false


        322
              288 F.3d 421, 426 (D.C. Cir. 2002).

                                            -122-
        Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 128 of 171




statement has a natural tendency to influence agency action or is capable of influencing

agency action’).323

        As this Court summarized in United States ex rel. Ortega v. Columbia Healthcare,

Inc.:

        In several kickback cases now pending before this Court, for example, it is
        alleged that HCA violated the anti-kickback and Stark laws, which prohibit
        remuneration to physicians for patient referral. Compliance with these
        laws is a condition for reimbursement under Medicare, and HCA and
        other defendants impliedly certified compliance with these law in
        submitting claims to Medicare. In such cases, if the allegations can be
        proven, even if the services for which claims were submitted were medically
        necessary and properly provided, there were violations of the FCA. The
        courts examining these types of claims have acknowledged that actual
        damages may be difficult to determine and prove, but that will not affect the
        application of the statutory penalty provisions.


240 F. Supp. 2d 8, 14 n.5 (D.D.C. 2003) (Lamberth, J.) (citations omitted) (emphasis

added).

        This legal premise—that knowingly submitting claims to Medicare while in

violation of kickback laws creates False Claims Act liability—has been affirmed by

virtually every court to consider it,324 including three appellate circuits. DTCA’s failure to

so much as cite these cases speaks volumes.



        323
              176 F.3d 776, 785 (4th Cir. 1999).
        324
           Counsel is aware of only one decision that holds differently in the context of
the Anti-Kickback Act. United States ex rel. Urbanek v. LabCorp 2003 U.S. Dist. LEXIS
27469 (E.D. Pa. August 14, 2003) (rejecting implied certification in relation to the Anti-
Kickback Act). Many other decisions have decided in favor of the proposition that
violations of the AKA create FCA liability. See., e.g., United States ex rel. Ven-a-Care
v. Abbott, 2007 U.S. Dist. LEXIS 35672 (D. Mass May 8, 2007); United States ex rel.
Barlett v. Tyone Hospital, 234 F.R.D. 113 (W.D. Pa. 2006); United States ex rel. Bidani
v. Lewis, 264 F. Supp. 2d 612 (N.D. Ill. 2003).

                                             -123-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 129 of 171




       In Schmidt v. Zimmer, the Third Circuit reversed the judgment of the district

court, finding the alleged violations of the Anti-Kickback and Stark laws were properly

stated under the False Claims Act. 386 F.3d 235 (3d Cir. 2004). That case involved

false certifications of compliance on hospital cost reports and did not address the theory

of implied certification. Of note, however, Zimmer’s focus was primarily on the liability of

Zimmer who did not submit any claims, but rather “knowingly assisted” in the presentation

of claims because its kickback scheme was intended to influence favorable treatment

from Medicare providers and thereby increase their Medicare participation in Zimmer

products. 386 F.3d at 244. In Zimmer, as here, the defendant engaged in a kickback

scheme aimed to increase the volume of its product, focusing on Medicare and Medicaid

provider participation.

       In McNutt v. Haleyville Medical Supplies, the Eleventh Circuit affirmed the legal

premise that the submission of claims while knowing they were ineligible for payments

because they violated the Anti-Kickback statute. 423 F. 3d 1236, 1260 (11th 2005).

Recognizing that “compliance with the federal health care laws, including the [Anti-

Kickback] Statute, is a condition of payment by the Medicare program,” the court of

appeals squarely held:

       When a violator of government regulations is ineligible to participate in a
       government program and that violator persists in presenting claims for
       payment that the violator knows the government does not owe, that violator
       is liable, under the Act, for its submission of those false claims[.]

423 F.3d at 1259 (emphasis added). “The violation of the regulations and the

corresponding submission of claims for which payment is known by the claimant not to be

owed makes the claims false under sections 3729(a)(1) and (3).” Id.


                                            -124-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 130 of 171




       Most recently, in United States v. Rogan, the Seventh Circuit affirmed the trail

court’s decision in the first civil False Claims Act kickback trial to be prosecuted by the

United States. 517 F.3d 449 (7th Cir. 2008). Following trial, the Northern District of

Illinois held as a matter of law, that:

       The submission of UB-92s in violation of the Stark Statute constitutes a violation of
       the FCA. United States ex rel. Pogue v. Diabetes Treatment Centers of America,
       238 F. Supp.2d 258, 266 (D.D.C. 2002) ("The Stark laws . . . specifically state that
       compliance is required in order to receive Medicare reimbursement."). Likewise,
       compliance with the Anti-Kickback Statute is a condition of payment by the
       Medicaid program. 42 U.S.C. § 1320a-7b(b); United States ex rel. Barrett v.
       Columbia/HCA Healthcare Corp., 251 F. Supp.2d 28, 32 (D.D.C. 2003).

              *     *      *
       Even in the absence of an express certification of compliance, the knowing
       submission of claims by a person who has violated a statute or regulation
       that contains, on its face, a direct nexus to the government's payment
       decision is also actionable under the FCA. Zimmer, 386 F.3d 235 at 244.


459 F. Supp.2d at 717-718 (N. D. Ill. September 29, 2006) (emphasis added). The court

entered a $64 million judgment against Rogan.

       On appeal, Rogan did not dispute that “illegal referrals occurred, that kickbacks

were paid, that the bills sent to the United States omitted this information, and that he

knew it was going on.” 517 F.3d at 452. Rather, Rogan challenged that the omission of

his illegal kickback and self-referral violations were material to the claims for payment,

and argued that to prove his violations were material, a federal employee had to testify

that the government enforced the statute by not paying claims.

       Chief Judge Easterbrook scorned this proposition, stating:

       That's not a component of materiality. A statement or omission is
       "capable of influencing" a decision even if those who make the
       decision are negligent and fail to appreciate the statement's


                                            -125-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 131 of 171




significance. ... The question is not remotely whether Edgewater was sure to be
caught--though it would have been, had it disclosed the truth on all 1,812 reimbursement
requests--but whether the omission could have influenced the agency's decision.

                                 *        *       *

       Another way to see this is to recognize that laws against fraud protect the
       gullible and the careless—perhaps especially the gullible and the care-
       less—and could not serve that function if proof of materiality depended on
       establishing that the recipient of the statement would have protected his
       own interests.

Id. (emphasis added). The Seventh Circuit made clear that the materiality standard is

objective, and does not rest on what the United States would have done had the provider

revealed that the claims were incident to illegal kickbacks. Id. As the Seventh Circuit

noted, this is a “re-packaged version” of the materiality argument, which misplaces the

actual standard Id. at 453. In regard to the laws against fraud, the Seventh Circuit rightly

clarified that the onus is on the Defendant to “turn square corners when they deal with the

Government,”325 not on the Government to every possible net and check in place to catch

every fraud and abuse against the program. The standard then is whether, objectively

speaking, the omission is “capable of influencing” a decision.

       C.     Materiality: The Natural Tendency Test.

       DTCA argues that the appropriate materiality standard is precisely the “outcome

materiality” mocked in Rogan. DTCA asserts that Relator must prove that the

Government would not have paid the claim but for the false statement. Specifically,

DTCA argues, citing Pogue II and Barrett, that Relator must provide evidence that “the

government would not have honored the claim presented to it if it were aware of the

       325
         Id. quoting Rock Island, Arkansas & Louisiana R.R. v. United States, 254 U.S.
141, 143 (1920).

                                              -126-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 132 of 171




violation.” Def. Mem. at 47.

       At the outset, DTCA misstates the materiality standard applicable here.

It cites United States ex rel. Ervin and Associates v. The Hamilton Securities Group326 for

the proposition that relator must prove the Government would not have honored the

claim, but studiously ignores the holding:

       the materiality of a false statement turns on whether the false statement has a
       tendency to influence action or is capable of influencing agency action.

370 F. Supp. 2d at 46 (emphasis supplied). This is the identical standard recognized by

Barrett and Pogue II327 and by the Seventh Circuit in Rogan.

       This same standard (as well as the implied certification theory of liability) has also

been adopted by the Sixth Circuit (where this case will be tried). In United States ex rel.

A+ Homecare, the Sixth Circuit made clear that by using the term “false or fraudulent” to

modify the word claim, “Congress intended to incorporate the well-settled meaning of

common-law fraud, including a materiality element.” 400 F.3d 428, 443 (6th Cir. 2005).

The court concluded that “the natural tendency test is appropriate standard by which

materiality in the FCA civil context should be measured.” Id. at 445. The court explained:

       This standard "focuses on the potential effect of the false statement when it
       is made, not on the actual effect of the false statement when it is disc-
       overed." United States ex rel. Harrison v. Westinghouse Savannah River
       Co., 352 F.3d 908, 916-17 (4th Cir. 2003). [Such a standard is more
       consistent with the plain meaning of the statute, which attaches liability
       upon presentment of a false or fraudulent claim, rather than actual payment
       on that claim. 31 U.S.C. § 3729(a)(1).


       326
             370 F. Supp. 2d 18, 46 (D.D.C. 2005).
       327
         Citing Harrison v. Westinghouse (respectively, 251 F. Supp. 2d. at 33, and
238 F. Supp. 2d at 264) and concluding that lack of compliance with the Anti-Kickback
and Stark laws would affect the decision to pay (Barrett, 251 F. Supp. 2d at 33).

                                             -127-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 133 of 171




Id.; see also United States ex rel. Augustine v. Century Health Services Inc., 289

F.3d 409 (6th Cir. 2002) (without regard to whether cost reports were false at the time

they were submitted, liability can attach if the claimant violates its continuing duty to

comply with the regulations on which payment is conditioned).

       Thus, the appropriate materiality standard is not focused on the actual effect of the

false statement, such that relator would have to prove what would have happened if

DTCA had been truthful about its involvement in illegal kickback schemes—which did not

happen and which in its own witness’s testimony never happened with any provider.328

Rather, the standard is focused on the potential effect on the United States’ payment

decision under the “natural tendency” inquiry.

       In Ervin, Judge Oberdorfer’s decision on which DTCA relies to the exclusion of so

many others, the plaintiff established at trial that the false statements “not only had a

tendency to, but actually did, influence HUD’s decision.” 370 F. Supp. 2d at 46. The

proof that it actually did influence certainly met the standard, but was not the requirement.

Here, the Fourth Amended Complaint alleges that the Government would not have paid

the claims had it known that DTCA was causing the submission of those claims through

illegal kickbacks paid to the referral sources.

       While both Pogue I and Pogue II recognized that these allegations satisfy the

standard, it is not the minimum requirement under the applicable materiality standard. As

in Ervin, the Court recognized the allegation in Pogue II that the Court would not have

paid the claims if it knew that they were incident to illegal kickbacks, but certainly did not



        328
              Yospe Dep. at 79, 149-152, 244.

                                             -128-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 134 of 171




deviate from the well-recognized natural tendency test which determines materiality in

False Claims Act throughout the nation.

       Indeed, the D.C. Circuit has explicitly recognized that the focus is not on the actual

affect on the Government, but on the nature of the omission. In TDC Management I, the

Court held that it was “of no consequence” whether the agency involved in that case ever

even reviewed the actual statements submitted (in that scenario, monthly progress

reports). 24 F.3d 292, 296 (D.C. Cir. 1994), affirmed by subsequent appeal at 288 F.3d

421 (D.C. Cir. 2002), cert. denied 537 U.S. 1048 (2002). Even if the reports were

completely ignored, the appropriate focus of the False Claims Act claim was the

information defendant omitted from the reports. Id.329

       D.     Materiality As Applied Here: Defendant’s Kickback Violations Are
              Contrary to the Core Terms of the Medicare Program.

       In TDC I and TDC II, the D.C. Circuit twice laid out that the focus of analysis for a

false omission is the omission itself, not the actual effect on the government. In TDC II,

the D.C. Circuit affirmed summary judgment to the government where the defendant

failed to disclose that it had sought a financial interest in the Program “contrary to

Program terms.” 288 F.3d at 426. “The withholding of such information— information

critical to the decision to pay—is the essence of a false claim." Id., citing Ab-Tech, 31



        329
               The court of appeals reiterated this holding in United States v.
Durenberger:

        The question is not whether [claimant] was entitled to reimbursement if he
        had submitted truthful vouchers, but whether the false statements . . .
        were "capable of influencing" the Senate's reimbursement decision.

        48 F.3 1239, 1244 (D.C. Cir. 1995).

                                            -129-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 135 of 171




Fed. Cl. at 434. In short , the defendant “defrauded the government” by omitting

information “that was contrary to the core terms of the Program.” Id.

       This is precisely what is at issue when a defendant violates the Anti-Kickback and

Self-Referrals laws–core terms of the Medicare and Medicaid Program—while still

knowingly submitting or causing the submission of claims for payment from the Program.

The determination that compliance with such laws is a core term of the Program or, put

another way, is capable of influencing the Government’s payment decision, is readily

apparent from the statutes and regulations governing the program.

       Relator submits that the Court may conclude, as a matter of law, that compliance

with the Anti-Kickback and Stark laws is material to claims for payment under federally-

funded healthcare programs.

                     1.     The Statutes and Regulations Establish As A Matter of
                            Law That Compliance with the Anti-Kickback Laws Are
                            Central to the Program Terms and Are Capable of
                            Influencing the Government’s Payment Decision.

       Federal law and regulations spell out the core terms of the Medicare and

Medicaid programs. The Supreme Court summarized it this way:

       To receive payment, a [provider] must enter into a Provider Agreement with
       the Secretary of HHS and it must comply with numerous statutory and
       regulatory requirements.

Shalala v. Illinois Council on Long Term Care, Inc., 529 U.S. 1, 9 (2000). As the District

of Columbia also recognized, the interplay of Medicare statutes and regulations with the

provider agreement is in the nature of contractual obligations for participants in the

federal healthcare programs:

       This court agrees that the required Provider Agreement together with the


                                            -130-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 136 of 171




       overall scheme under the Medicare statute and regulations allowing a
       provider to furnish services, to receive interim estimated payments and to
       continually adjust future payments according to past overpayments or under
       payments constitutes an executory contract. Accordingly, the right to
       recoupment acknowledged by the trustee is in the nature of a contract right
       and not a statutory entitlement.

       In re Consumer Health Services of America, Inc., 171 B.R. 917, 920 (Bkrtcy.

D.D.C. 1994) (emphasis supplied).

       There is no dispute that compliance with the Anti-Kickback Act is among the core

requirements of federal healthcare program participants. Since the inception of the

program, violations of this statute have been specifically identified as a fraud and abuse

on the program.

                            a.     Kickbacks are a Fraud on Federal Healthcare
                                   Programs.

       In 1972, when the anti-kickback provisions were enacted as part of the Social

Security Act (SSA),330 the Senate Report accompanying the bill specified that the law was

intended to remedy the fact that “present penalty provisions applicable to medicare do

not specifically include as fraud such practices as kickbacks and bribes.” S. Rep. 92-

1230, 92d Congress, 2d Sess. at 43. Since that time, ferreting out this fraud on the

program has been consistently reflected in the statute and regulations implementing the

Medicare program. Indeed, the CMS manual that implements the Social Security Act and

accompanying regulations has long mandated that the intermediaries which review

claims are charged with discovering “fraud and abuse.” The earliest versions of these

provisions that are publicly available (1980) reflect, consistent with the SSA, that kickback



       330
             Pub. L. 92-603, 86 Stat. 1329 (October 30, 1972) (emphasis added).

                                           -131-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 137 of 171




violations are defined as a fraud on the program.331

      In 1977, as part of the Medicare-Medicaid Anti-Fraud and Abuse Amendments, in

order “to strengthen the capability of the Government to detect, prosecute, and punish

fraudulent activities under the medicare and medicaid programs,” Congress

amended the SSA to, among other things, make violations of the Anti-Kickback Statute a

felony. P.L. 95-142, 91 Stat. 1175 (October 25, 1977), codified at 42 U.S.C. § 1320a-7b.

      In 1987, the anti-kickback provisions of the SSA were again amended, as part of

the Medicare and Medicaid Protection Act of 1987,332 with the very purpose:

                to improve the ability of the Secretary and the Inspector
                General of the Department of Health and Human Services to
                protect Medicare, Medicaid... programs from fraud and
                abuse....

S. Rep. 100-109, 100th Cong., 1st Sess. at 1 reprinted in 1987 U.S.C.C.A.N. 682, 682

(emphasis added). One of the main elements of the amendment was to mandate

exclusions for those convicted of program-related crimes and to broaden the Secretary’s

authority to exclude providers from the program for fraud, kickbacks, and other crimes

and abuse.333

      Thus, providers are automatically excluded from participation in any federal health



       331
          Exhibit 138, Publication 13, Medicare Intermediary Manual, Part 2 at § 2060.5
(1980), and Part 4 at § 4100.2, Definitions (1989). These manual provisions can also be
found at the official CMS website at http://www.cms.hhs.gov/Manuals/PBM/list.asp; see
also S. Rep. 100-109, 100th Cong., 1st Sess. at 1 reprinted in 1987 U.S.C.C.A.N. 682,
682 (emphasis added).
       332
             Pub. L. No. 100-93, 101 Stat 680 (August 18, 1987).
       333
         S. Rep. 100-109, 100th Cong., 1st Sess. at 1-2 reprinted in 1987 U.S.C.C.A.N.
682, 682-683.

                                           -132-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 138 of 171




care program if they are convicted under the anti-kickback laws. § 1320a-7(a); 42 C.F.R.

§ 1001.101. Additionally even in the absence of a conviction, providers may be excluded

based on a determination by HHS that they committed an act in violation of anti-kickback

laws. § 1320a-7(b) (7); 42 C.F.R. § 1001.951.

                           b.     The AKA was designed to prevent claims resulting
                                  from fraud, because they caused the Government
                                  to inappropriately pay out funds.

      These broad powers to eliminate defrauders from the program amply demonstrate

that lack of compliance with the Anti-Kickback laws is capable of influencing the Govern-

ment’s decision to pay. Indeed, the very purpose of the statute, and its subsequent

provisions, was to prevent this conduct from generating any claims because it caused

Medicare and Medicaid to expend increased funds it did not intend to expend. The

relationship between increased federal healthcare payments and kickbacks was so

intertwined–yet almost impossible to detect and stop334—that Congress made it a felony

to engage in such conduct.

      The legislative history is straightforward. In 1972, the anti-kickback provisions

were added to expand the definition of fraud and abuse to include kickbacks, based on



       334
           For example, in 1977 from the House Report: “Furnishing excessive services
is probably the most costly non-criminal abuse faced by health benefit programs. At the
same time, it is relatively difficult to prove and correct.” H. Rep. 95-393, 95th Cong., 1st
Sess. at 47, reprinted in, 1977 U.S.C.C.A.N. 3039, 3050. And, from the Senate Report:
“When asked why so few prosecutions resulted, U.S. Attorneys and States’ attorneys
told the committee staff that kickbacks were among the most complicated and difficult
to prove” and thus, difficult to justify since it was only a misdemeanor under the 1972
law. S. Rep. 95-320, Kickbacks Among Medicaid Providers, A Report of the Special
Committee on Aging, 95th Cong., 1st Sess. at 28 (June 30, 1977). As a result, the SSA
was amended to again buttress the Government’s ability to deter this fraud.


                                           -133-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 139 of 171




the recognition that they “contribute significantly to the cost of the programs.”335 When

the conduct became a felony in 1977, Congress stated:

      In whatever form it is found, fraud in these health care financing programs
      .... cheats taxpayers who must ultimately bear the financial burden of
      misuse of funds in any government-sponsored program. It diverts from
      those most in need, the nation's elderly and poor, scarce program dollars
      that were intended to provide vitally needed quality health services. The
      wasting of program funds through fraud also further erodes the financial
      stability of those state and local governments whose budgets are already
      over extended and who must commit an ever-increasing portion of their
      financial resources to fulfill the obligations of their medical assistance
      programs.336

      At that time, the Senate convened a Special Committee to examine this issue.

The report found that kickbacks “have the effect of increasing the cost of the medicaid

program” and “undermine the quality of services.” S. Rep. 95-320, Kickbacks Among

Medicaid Providers, A Report of the Special Committee on Aging, 95th Cong., 1st Sess.

at 2 (June 30, 1977) (emphasis added).337 The report called for the felony provisions to

be enacted and also specifically recommended “the Department of Justice should

intensify its efforts to identify medicare and medicaid fraud and to recover federal funds

inappropriately paid out under these programs.” Id. at 29 (emphasis added).

      This legislative record amply demonstrates that kickback violations are “capable of

influencing the Government’s payment decision, as a matter of law.


       335
        H. Rep. 95-393, 95th Cong., 1st Sess. at 52-53, reprinted in 1977
U.S.C.C.A.N. 3039, 3055; see also S. Rep. 95-453, 95th Cong., 1st Sess. at 11
(emphasis added).
       336
         H. Rep. 95-393, 95th Cong., 1st Sess. at 44, reprinted in 1977 U.S.C.C.A.N.
3039, 3047 (emphasis added).
       337
         “[K]ickbacks are widespread in Medicaid . . . [and are a] pervasive practice
which picks the taxpayer's pocket.” Id. at 28.

                                           -134-
         Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 140 of 171




                       2.     The Manual Provisions Implementing the Requirements of
                              the Social Security Act Also Demonstrate that Compliance
                              with Anti-Kickback Laws are Material to the Claim, as a
                              Matter of Law.

         “Medicare manual provisions are the official explanation of the Medicare statute

and regulations by the Secretary, which the intermediaries are required to follow in

making payment decisions and of which the hospitals were required to inform themselves

in submitting claims.” In re Cardiac Devices Litigation, 221 F.R.D. 318, 343 (D. Conn.

2004).

         Here, the manuals make clear that kickback violations are a fraud on the program

which intermediaries were specifically ordered to detect.

         For example, in the Medicare Intermediary Manual (also called Publication 13),

Part 2, § 2060.5, revision dates 1978-1981, it directs the intermediary to notify the Office

of Program Integrity if a potential fraud or abuse situation is suspected. Exh. 138 at

2060.5(A). A potential fraud or abuse situation is specifically defined as “Soliciting,

offering or receiving a kickback, bribe or rebate.” Id. The Manual further directs that the

Office of Program Integrity or Office of Inspector General will investigate in secret, and

the auditor must preserve its ability to do so. The Manual makes clear that the results of

an investigation could result in an audit being discontinued:

         Where a questionable situation has been identified, it would ordinarily be
         appropriate for an audit to be conducted while the situation is being investi-
         gated by the Office of Program Integrity and/or the Office of the Inspector
         General. Occasionally, however, circumstances may require that an audit
         be discontinued pending the results of the investigation. Decisions on
         these questions will be made by HCFA and the Office of the Inspector
         General. Under no circumstances should the auditor discuss a possible
         fraudulent or abuse situation with the provider or take any action to resolve
         such questionable situations prior to receiving instructions from the HCFA


                                             -135-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 141 of 171




       Regional Division of Quality Control. In addition, no action to disallow
       questionable costs involving possible fraud or program abuse should be
       taken without specific instructions from the HCFA Regional Division of
       Quality Control.

                     *      *      *
       NOTE: If there is a suspicion of any intent to defraud the United States
       Government supported by even the initial insertion of a nonallowable item
       on the cost report, no warning is required prior to prompt referral for
       investigation and prosecution.

Exhibit 138 at § 2060.5, manual excerpt (emphasis added), which can also be

accessed at the CMS website at http://www.cms.hhs.gov/Manuals/PBM/list.asp.338

       Further, in Part 4 of the Medicare Intermediary Manual on “Guidelines for Provider

Audits (revision date 1989), it again directs that all providers are subject to audit to

discover fraud and abuse:

       Providers receiving payments under Parts A and B of title XVIII of the Act,
       as amended, are subject to audit for all payments applicable to services
       rendered to Medicare beneficiaries. The audit ensures that proper
       payments were made on the basis of reasonable costs of covered services,
       to provide verified financial information for making a final determination of
       allowable costs, to discover any instances of fraud and abuse, and to
       develop other information HCFA needs to fulfill its responsibilities.

Exh. 138 at § 4100. Again, fraud is specifically defines to include kickbacks. Id. at

4100.02. The Manual again emphasizes that the auditor’s responsibility to notify their

supervisors, the Office of Program Integrity and the OIG if a potential fraud and abuse



        338
          Both the older paper-based and the new On-Line Manual System are
available on the CMS website (after September 30, 2003, CMS discontinued the
practice of issuing the program memoranda that comprised the paper manual system
and began transitionng to an on-line manual system).
http://www.cms.hhs.gov/manuals/downloads/ intro_c00.pdf (providing crosswalk
between old and new manuals). Exh. 139 is the foreword to the Part A Intermediary
Paper Manual describing how revisions are made, as well as the Introduction to the On-
line CMS Manual System.

                                             -136-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 142 of 171




situation is suspected, which specifically includes kickback situations. Id. at § 4101. The

Manual again incorporates the language quoted above in § 2060.5, specifying that the

Office of Program Integrity or Office of Inspector General will investigate in secret, and

the auditor must preserve its ability to do so. The Manual makes clear that the results of

an investigation could result in an audit being discontinued, and that “decisions will be

made by HCFA and the OIG” and not by the individual auditor. Exh. 138 at § 4101.

       This part of the Manual also specifies the auditor’s priority considerations for his or

her work plan. After noting that the work plan is affected by budgetary restrictions, the

Manual directs certain “priority considerations,” which includes a “fraud or abuse

investigation as directed by the OIG. Exhibit 138 at § 4104.

       These same basic provisions regarding the procedures for provider audits

exists today as part of the “Medicare Financial Management Manual, Ch. 8,” which

adopts the current version of this manual guidance. Exhibit 140, § 140, Fraud and Abuse

(see also sections 30 and 40, Field and In-House Audits).

       While DTCA’s proffered “expert” witness, Mr. Yospe, could not credibly dispute

these Manual provisions, Relator notes that he does not in fact do so. Mr. Yospe testified

that these were the procedures even prior to the existence of the Manual, and that he

was not aware, in his tenure, of any major changes to these procedures. Yospe Dep. at

56, 61-65.

       These Manual provisions reflect that illegal kickback schemes would have been

capable of influencing the Government’s payment decision.




                                            -137-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 143 of 171




             3.     The Current Provider Agreement and Cost Report Certification
                    Reflect that Compliance with the Kickback and Stark Laws is a
                    Condition of Payment.

      In both Pogue II and Barrett, the Court noted that the language of the provider

agreement itself premises payment on compliance with such laws:

      I understand that payment of a claim by Medicare is conditioned upon the
      claim and the underlying transaction complying with such laws, regulations,
      and program instructions (including, but not limited to, the Federal
      anti-kickback statute and the Stark law), and on the provider's compliance
      with all applicable conditions of participation in Medicare.339

While this language was adopted in 2001, this Court rightly noted:

      DTCA notes that the form containing this language was adopted in 2001,
      and the forms in force for the time periods of the complaint did not
      specifically mention anti-kickback and Stark laws. While this is true, it does
      not negate the evidentiary value of the current form in proving that the
      government would not have paid the claims had it known of the alleged
      violations.

238 F. Supp. 2d at 265, n.2; see also 251 F. Supp. 2d at 33.

      This is equally true for the express certifications of compliance with the Anti-

Kickback and Stark Laws on the hospital’s annual cost reports, which independently

establish False Claims Act liability. DTCA makes much of the fact that the language of

this certification, like the language in the provider agreement, changed over time (and, of

note, Relator specifically disputes DTCA’s representations regarding when the standard

certification language changed).

      The original certification language in the annual cost reports submitted by the

Hospitals stated:

       339
          Centers for Medicare and Medicaid Services web site, Federal Healthcare
Provider/Supplier Enrollment Application, OMB Approval No. 0938-0685, at 21,
¶15.A.3., www.cms.hhs.gov/providers/enrollment/forms.

                                           -138-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 144 of 171




      MISREPRESENTATION OR FALSIFICATION OF ANY INFORMATION
      CONTAINED IN THIS COST REPORT MAY BE PUNISHABLE BY
      CRIMINAL, CIVIL AND ADMINISTRATIVE ACTION, FINE AND/OR
      IMPRISONMENT UNDER FEDERAL LAW.

      I HEREBY CERTIFY THAT.......to the best of my knowledge and belief, it
      [the hospital cost report] is a true, correct and complete statement prepared
      from the books and records of the provider in accordance with applicable
      instructions, except as noted.

This language was in effect through 1992.340 The standard CMS form was revised in

1993 to state:

      MISREPRESENTATION OR FALSIFICATION OF ANY INFORMATION
      CONTAINED IN THIS COST REPORT MAY BE PUNISHABLE BY
      CRIMINAL, CIVIL AND ADMINISTRATIVE ACTION, FINE AND/OR
      IMPRISONMENT UNDER FEDERAL LAW. FURTHERMORE, IF
      SERVICES IDENTIFIED IN THIS REPORT WERE PROVIDED OR
      PROCURED THROUGH THE PAYMENT DIRECTLY OR INDIRECTLY OF
      A KICKBACK OR WERE OTHERWISE ILLEGAL, CRIMINAL, CIVIL AND
      ADMINISTRATIVE FINES AND/OR IMPRISONMENT MAY RESULT.

      I HEREBY CERTIFY THAT.......to the best of my knowledge and belief, it
      [the hospital cost report] is a true, correct and complete statement prepared
      from the books and records of the provider in accordance with applicable
      instructions, except as noted. I further certify that I am familiar with the laws
      and regulations regarding the provision of health care services, and that the
      services identified in this cost report were provided in compliance with such
      laws and regulations.341

      DTCA concedes that HCFA revised its form and began distributing it for use in

1993 (Def. Mem. at 23). However, it disputes the timing on other grounds, arguing that

the initial paragraph was never effective because it was not reflected in an accompanying



       340
             Exh. 141, examples of pre-1992 cost reports from production in this case.

       341
          Exh. 142, examples of post-1992 cost reports from production in this case.
See Thompson v. Columbia/HCA 20 F. Supp. 2d 1017,1026 n.8 (S.D. TExh. 1998)
(recognizing that HCFA promulgated revised form in March 1993).

                                            -139-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 145 of 171




regulation and, further, that the second paragraph (which was later quoted as part of a

revised regulation) was not effective until 1997 (although the regulation’s effective date

was 1994). DTCA rests its argument on a statutory citation that “No rule, requirement, or

other statement of policy...that establishes or changes a substantive legal standard

governing...the payment for services....shall take effect unless it is promulgated by the

Secretary by regulation.” Def. Mem. at 24, citing 42 U.S.C. §§1395hh(a)(2).

       At the outset, DTCA misses the point. The revised language did not in fact

change the legal standard. Federal health care services procured through kickbacks

have been illegal since 1972, and have been subject to “criminal, civil, and administrative

action.” Services that are reimbursed under federal health care programs must be

rendered in compliance with the laws.

       The revised certification did not heighten in any way the hospital’s obligations

under the law. The fact that, since 1972, both Congress and the Secretary have had to

continually buttress its safeguards to deter conduct that has always been illegal does not

make that conduct any less illegal before it added a new safeguard.

       In fact, the regulation cited by DTCA, 42 C.F.R. § 413.24(f) did incorporate, for the

first time, the certification language from the cost report. However, the main thrust of the

regulation was to implement provisions regarding the electronic reporting of cost reports.

The revised regulation provided that “effective for cost-reporting periods after September

30, 1994 for hospitals,” the hospital must submit a hard copy of the settlement summary,

certain worksheet totals, and its certification statement, in addition to the electronic cost

report. § 413.24(f)(iv). The final rule reported that the revision would have no “significant

effect on a substantial number of Medicare participating hospitals,” including because

                                            -140-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 146 of 171




many were already electronically submitting reports and “Hospitals will not be required to

collect any additional data beyond that which the regulations currently specify.” 59 Fed.

Reg. 26960 at 64.

       Thus, the revised language simply reflected what providers were already obligated

to do when they submitted claims for payment—comply with applicable laws and regula-

tions, including the kickback laws. Thus, these documents—the provider agreement and

the certification forms—evidence that violations of the kickback laws affect the Govern-

ment’s decision to pay.

              4.     Mr. Yospe’s Testimony Does Not Controvert The Materiality of
                     Kickback Violations.

       DTCA offers the long-anticipated testimony of Eric Yospe, who worked for HCFA

in the 1980s and 1990s, to refute that materiality can be established for kickback viola-

tions because a “‘pattern of paying’ certifications of compliance that it knows are not true

[is] evidence that the veracity of such certifications is not material to the government’s

payment decision.” Def. Mem. at 49.

       This statement is outrageous, given Mr. Yospe’s testimony that he is not per-

sonally aware of any occasion in his tenure when a provider “came forth and said my cost

report included kickbacks.” Yospe Dep. at 149-50. Mr. Yospe testified that he could

recall no situation, either in his personal experience or reported to him in his position as

“Chief of the Audit and Reimbursement Branch” where HCFA knew that the provider had

accepted kickbacks. Yospe Dep. at 149-152. Mr. Yospe also testified that he expected

that providers would not engage in fraud and abuse (Yospe Dep. at 81-82) and that he

would have no way of knowing whether any particular claim that resulted from a kickback


                                            -141-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 147 of 171




was or was not medically necessary (Yospe Dep. at 183).

       Indeed, not only does Mr. Yospe have no knowledge of any such facts, but there is

no evidence in this case that the Government knew about the illegal kickback schemes

that DTCA was using to cause the submission of false claims. Given that there is no

evidence of the Government being provided with truthful statements regarding kickback

violations, it is beyond the par for DTCA to suggest the evidence here reflects a pattern of

paying claims that it knows are not true.

       Mr. Yospe did, however, affirm the procedure that was always in place at HCFA

regarding suspected fraud and abuse. The agency’s procedures–as Mr. Yospe con-

cedes and was reflected in Manual provisions—was that an auditor suspicious of fraud

and abuse was required to report it to the Office of Program and Integrity or Office of

Inspector General, and that those offices were delegated with the authority to investigate

the suspicions, and pending the results, with the authority to discontinue an audit. Yospe

Dep. at 56, 61-65. Pending the results of an investigation, those Offices also had the

authority to exclude a provider and pursue criminal prosecutions.

       Mr. Yospe does not dispute the manual provisions (Yospe Dep. at 63), which

provide among other things that the OIG had the authority to make the decisions re-

garding the next steps during a fraud and abuse investigation. Mr. Yospe concedes that

“if there was a flat out criminal confession on a claim, that I’m certain I would have had a

significant problem with that claim.” Yospe Dep. 191-192. In that scenario, Mr. Yospe

would have followed manual provisions to trigger the OIG process. Id.

       The fact that the agency would at any point continue to process claims while a

fraud investigation is ongoing does not negate materiality, as DTCA suggests, nor is it

                                            -142-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 148 of 171




particularly surprising given the claims process. As described in Rogan:

      Hospitals...during the relevant time period, were paid by Medicare on an
      interim basis for services rendered. To submit claims for specific Medicare
      patients, the hospital completed and electronically sent form "UB-92" (also
      known as form "HCFA-1450"). ....In addition, CMS required that hospitals . .
      . submit an annual cost report. The cost reports were the final "claim" that a
      provider submitted to the Medicare program for services rendered to Medi-
      care beneficiaries. After the end of each hospital's fiscal year, the hospital
      filed its cost report with its designated Medicare fiscal intermediary, stating
      the amount of reimbursement the provider believed it was due for the year.
      See 42 U.S.C. § 1395g(a); 42 C.F.R. § 413.20. See also 42 C.F.R.
      § 405.1801(b)(1). Medicare relied upon the hospital's cost report to deter-
      mine whether the provider was entitled to more reimbursement than already
      received through interim payments or whether the provider was overpaid
      and was required to reimburse Medicare. 42 C.F.R. §§ 405.1803, 413.60
      and 413.64(f)(1).

459 F. Supp. 2d at 708.

      When cost reports are submitted, “[t]he intermediary examines the cost report,

audits it when found necessary, and issues a written "notice of amount of program

reimbursement.’”342 Cost report audits and subsequent settlements can sometimes take

years. Of note, the current Manual provision provides that cost reports not scheduled for

audit must be settled within 12 months “unless you have a documented reason why the

cost report cannot be settled (for example, bankruptcy, OIG investigation, DoJ investiga-

tion).” Exh. 140, Manual provision § 90. Cost reports can be “re-opened” within three

years for various reasons. Exh. 140, Manual provision at §100; 42 C.F.R. § 405.1885.

Thus, the question of whether HCFA “would have paid the claim,”even if this appro-

priately set out the materiality standard, rests not so simply on interim payments received

by the provider, but on their right to retain those payments under the system set out by



       342
             Regions Hosp. v. Shalala, 522 U.S. 448, 452 (1998).

                                           -143-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 149 of 171




the Medicare and Medicaid programs.

       Thus, Mr. Yospe’s “opinion” that HCFA would have paid claims even with “proof” of

a kickback (Yospe Dep. at 271) appears to boil down to his supposition–without

facts—that a report to the OIG of “proof” of a kickback violation would not have resulted

in any action by the OIG. Because Mr. Yospe testified that this “proof” of a kickback

violation never happened, in his experience, there is no basis for Mr. Yospe’s supposi-

tion. Mr. Yospe has certainly not been permitted to testify on behalf of the Office of

Inspector General (or HCFA, for that matter).

       More to the point, however, Mr. Yospe’s testimony does not controvert the statu-

tory and regulatory requirements establishing that kickback compliance is material to the

decision to pay claims. He concedes that the manual procedures govern, and that those

procedures remained largely unchanged during his entire tenure (through 1996)

notwithstanding the evolution of the certification language in that time frame.343 As the

agency stated in the final rule issued to implement the AKA safe harbor regulations in

1991: “No person in the Department or with the fiscal intermediaries or carriers is, or ever

has been, authorized to permit a practice that the statute makes illegal.” 56 Fed. Reg.

35952 at 35960.

       At most, Mr. Yospe’s testimony—as contrasted by the statute, the legislative

history, the regulations, the manual provisions, the provider agreement, and the cost

report certifications–creates a question of fact. However, it is settled law that compliance

vel non with the kickback laws is capable of influencing the Government’s decision to


       343
          If, as DTCA states, the certification language is such a marked departure from
the legal standard, it is certainly curious that the audit process would remain consistent.

                                           -144-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 150 of 171




pay.

              5.     DTCA Takes the Materiality Standard Beyond its Established
                     Contours, Arguing that the Underlying Statute and Regulations
                     Must Also Expressly Caution Against FCA liability.

       Lastly, DTCA argues that there is no “materiality” because early alerts by the

Inspector General did not warn that such violations generated False Claims Act liability

(Def. Mem. at 50). This argument stretches materiality even beyond “outcome material-

ity.” The relevant materiality standard requires that the false omission—the kickback

violations—be capable of influencing of the decision to pay the claims. It does not

require, as DTCA suggests, that the United States issue “I am going to prosecute under

the False Claims Act warnings” to providers before they can be liable.

       Even so, Relator submits that the suggestion that DTCA did not know that its

illegal scheme could defraud Medicare and create False Claims Act liability is not

supportable. In October 1987, for example, DTCA’s attorney Thomas Smith sent DTCA

a lengthy memorandum entitled “fraud and abuse” which provided a detailed analysis “of

the basic issues involving fraud and abuse” and discussed the anti-kickback provisions

(Exh. 108-B at 3) and the False Claims Act, in the context of advising DTCA of the “non-

criminal sanctions” that could be levied for fraud and abuse (Exh. 108-B at 8).

       Although this establishes actual notice to DTCA on this point, the fact that anti-

kickback violations constituted a fraud on the program that the Government could pursue

in non-criminal proceedings, including through the False Claims Act, is hardly the incon-

ceivable notion described by DTCA. There was enormous attention to the Government’s

increasing detection and investigation of kickback schemes in that time frame. In one of



                                           -145-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 151 of 171




those investigations, for example, the United States brought a civil action under the False

Claims Act against several medical practitioners to recover damages related to their

illegal referral of Medicare patients to Medical Diagnostic Services, Inc. United States v.

Roter, 1989 U.S. Dist. LEXIS 6555 (E.D. Pa. June 8, 1989). The court found that the

United States did not have to go through a peer review process to establish lack of

medical necessity before recovering damages for false claims resulting from the illegal

referrals. Id.

       While irrelevant to the issue of materiality, the False Claims was properly used

then, and used now, to recover damages for false claims resulting from illegal kickback

schemes.

       E.        DTCA Wholly Misstates the Legal Standard.

       DTCA challenges the legal premise of this case without once acknowledging that

it is also again challenging the law of this case, and of this jurisdiction. DTCA’s argu-

ments highlight its wholesale refusal to acknowledge a basic tenet of Medicare and

Medicaid law—that it was prohibited from engaging in illegal kickback schemes aimed to

improperly increase the volume of federally-funded business.

                 1.   DTCA Misstates the Need for Factual Falsity to Prevail on False
                      Claims Resulting from Kickback Violations.

       First, DTCA challenged that there are no factually false claims. Def. Mem. at 21.

While Relator does not, in fact, concede that the claims were medically necessary, as

DTCA asserts, this fact is irrelevant to the allegations that DTCA caused the submission

of false claims by engaging in illegal kickback schemes that engendered those claims.

Rather, this argument misses the point. Kickback schemes are prohibited because they


                                            -146-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 152 of 171




create overutilization and corrupt the integrity of the claim. Recognizing that the difficulty

of detecting and proving this fact places an impossible onus on the Government, Con-

gress has proscribed this conduct from occurring at all.344

       Congress enacted a statutory scheme to prevent the conduct that precipitated the

submission of such claims. Had DTCA complied with these dictates, none of these

claims would have been submitted.

                 2.     DTCA Misstates the Legal Standard for Affirmative False
                        Certification.

       Next, DTCA challenges that there is no liability that could arise premised on

“express certification” of the claims submitted as a result of its conduct. Notably, while

Defendant concedes that a revised certification form for hospital cost reports was

promulgated by CMS in 1993, it argues that the form was not “effective” at that time

(notwithstanding that hospitals signed and certified its cost reports using this language,

see Exh. 142). See supra section III.D.3. Relevant to the legal standard, however, DTCA

presents the new argument that, no matter the time frame, it does not recognize the

language certifying compliance with the laws and regulations regarding the provision of

healthcare services to create liability even under an affirmative false certification theory of



        344
              In the 1977 legislative history:

        Furnishing excessive services is probably the most costly non-criminal
        abuse faced by health benefit programs. At the same time, it is relatively
        difficult to prove and correct. Since the medical needs of a particular
        patient can be highly judgmental, it is difficult to identify program abuse as
        a practical manner unless the overutilization is grossly unreasonable.

H. Rep. 95-393, 95th Cong., 1st Sess. at 47, reprinted in, 1977 U.S.C.C.A.N. 3039,
3050.

                                                 -147-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 153 of 171




liability because it is to “general” to render the certification false by DTCA’s illegal kick-

back schemes. DTCA Mem. at 25-26.

       The law is well-settled that the false certification of compliance on the hospital’s

annual cost reports creates False Claims Act liability for illegal kickback schemes.

Rogan, 459 F. Supp. 2d 692; United States ex rel. Thompson v. Columbia/HCA

Healthcare Corp., 125 F.3d 899 (5th Cir. 1997), on remand, 20 F. Supp.2d 1017 (S.D.

TExh. 1998); Hockett, 498 F. Supp. 2d at 69. Yet, DTCA contests that, even after the

language was buttressed in 1993 to provide additional warnings to providers regarding

their compliance obligations, a false certification creates no False Claims Act liability.

       DTCA cites none of this case law, notwithstanding that Rogan is a closely-

analogous case in which a finding at trial of False Claims Act liability was affirmed by the

Seventh Circuit. More to the point, DTCA’s argument wholly ignores that compliance with

the Anti-Kickback laws is a core term of a provider’s obligations in the Medicare and

Medicaid program, given its long-time prohibition as not just a crime, but as a fraud on

the program. It is impressive that DTCA remains, to this day, as much the “corporate

ostrich” as it was when for a full decade it ignored its lawyers’ advice and continued to

pay doctors to refer patients to hospitals with which DTCA had contracts.

              3.      DTCA Misstates the Legal Standard for Implied Certification, and
                      Materiality.

       In Pogue II, this Court laid out that the implied certification theory “essentially

requires a materiality analysis” and found that, in the context of the Anti-Kickback and

Stark laws, compliance with those laws “would affect the government’s decision to pay[.]”

Pogue II at 33. DTCA challenges this Court’s ruling, arguing that the Court’s decision in


                                              -148-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 154 of 171




Hockett precludes its holding in Pogue II. Further, DTCA argues that the legal standard

for materiality is outcome materiality, rather than the standard set out in this case and by

the D.C. Circuit that “the materiality of a false statement turns on whether the false

statement has a tendency to influence action or is capable of influencing agency action.”

E.g., Ervin, 370 F. Supp. 2d at 46.

       Relator addressed these arguments regarding the legal standard for implied

certification and materiality infra and does not restate them here. However, DTCA’s

arguments—and in particular DTCA’s ill-fitting description of Hockett, a non-kickback

case, and wholesale ignorance of Rogan, a kickback trial—highlight DTCA’s complete

disregard of what is at issue here.

       As this Court stated in Hockett, a non-kickback-case:

       many of these implied certification cases involve eligibility; the claimant
       implicitly certifies with each claim that it remains eligible for the specific
       federal program under which its claims are submitted.

498 F. Supp. 2d at 69, citing TDC II and Ab-Tech.

       This is precisely what is at issue here. As stated by Hockett, TDC II, and Ab-Tech,

the claims at issue represent a continuing adherence to the requirements to participate in

the Program. The omission of information that the claims were engendered by illegal

kickback schemes omits information that is contrary to the core terms of the Medicare

and Medicaid Programs. As aptly stated in Bidani v. Lewis:

       The government has entered a statement of interest in this case, arguing
       that since AKS is a critical provision of the Medicare statute, compliance
       with it is material to the government's treatment of claims for reimburse-
       ment. We agree. The AKS criminalizes receiving remuneration intended to
       affect decisions to purchase supplies for which payment may be made
       under Medicare. 42 U.S.C § 1320a-7b(b)(1). Those convicted under the
       AKS they are barred from participating in the federal health care program.

                                             -149-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 155 of 171




       42 U.S.C. § 1320a-7(a)(1). Compliance with the AKS is thus central to the
       reimbursement plan of Medicare. To state otherwise would be to allow
       participation and reimbursement for supplies purchased illegally only
       because the claimant had the luck of not being caught and convicted in the
       first place. Reimbursing a claimant for the supplies would put the
       government in the position of funding illegal kickbacks after the fact. This
       situation exemplifies the "inducing wrongful payment" test for determining
       materiality contemplated in Luckey, supra.

264 F. Supp. 2d at 618 (citations omitted).

       DTCA has cited no extraordinary circumstance to revisit the law of the case, nor

does it cite any fact which refutes what is established by the statutes, regulations, and

implementing guidance regarding the Anti-Kickback laws. Compliance with the Anti-

Kickback laws is central to Medicare and Medicaid’s reimbursement plan.

IV.    UNDERLYING ANTI-KICKBACK VIOLATIONS: The Evidence Amply Supports
       the Fact DTCA Violated the AKA Provisions.

       DTCA argues that Relator has not created a question of material fact to present

to the jury regarding its Anti-Kickback violations.345 In fact, however, the evidence shows

that DTCA routinely and knowingly paid physicians to refer patients to its centers, in order

to allow the hospitals to bill at a level to justify payment of DTCA’s fees.


        345
          At the outset, we note that "Payment exceeding fair market value is in effect
deemed payment for referrals." American Lith. Soc. v. Thompson, 215 F. Supp. 2d 23,
27 (D.D.C. 2002). DTCA recognizes that the fair market value issue is entirely fact-
driven. Doc. 169 at 37 (“the two main variables in play are the amount that the medical
director was paid and the amount of hours . . . worked).

       We therefore respectfully direct the Court’s attention to the 11 pages of facts and
accompanying exhibits regarding fair market value issues set out above at pp. 9–20,
and submit that there is a justiciable question with respect to each medical director—es-
pecially because DTCA was, in the face of repeated legal advice, completely uncaring
regarding whether its medical directors were paid fair market value, and because the
compensation of all medical directors was severely reduced in 1994–95 with no
concommitant reduction in duties. Relator has also submitted expert testimony demon-
strating that all medical directors were paid in excess of fair market value. Exh. 105.

                                            -150-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 156 of 171




       The Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b), prohibits any person or entity

from offering, making or accepting payment to induce or reward any person for referring,

recommending or arranging for federally funded medical services, including services

provided under the Medicare and Medicaid programs.346 The Anti-Kickback Statute

prohibits payment or remuneration of any kind if one or any purpose for that

remuneration was to induce referrals. Rogan, 459 F. Supp. 2d at 722.

       After railing against this conclusion for more than a decade, DTCA now admits that

Relator can “use the AKS as the basis for an FCA claim” (Doc. 169 at 29, citing United

States ex rel. Kosenske v. Carlisle HMA, Inc., 2007 U.S. Dist. LEXIS 84294 (M.D. Pa.

2007) (holding that “[a] claim knowingly made in violation of either statute constitutes a

"false claim" submitted to the federal government and is prohibited by the FCA,” citing

United States ex rel. Barrett v. Columbia/HCA, 251 F. Supp. 2d 28 (D.D.C. 2003)).


       346
             42 U.S.C. § 1320a-7b(b) provides:

       (b) Illegal remuneration

              (2) whoever knowingly and willfully offers or pays any remuneration
       (including any kickback, bribe, or rebate) directly or indirectly, overtly or
       covertly, in cash or in kind to any person to induce such person—

                       (A) to refer an individual to a person for the furnishing
                or arranging for the furnishing of any item or service for
                which payment may be made in whole or in part under a
                Federal health care program, or

                         (B) to purchase, lease, order or arrange for or
                recommend purchasing, leasing or ordering any good,
                facility, service, or item for which payment may be made in
                whole or in part under a Federal health care program,

       shall be guilty of a felony and upon conviction thereof, shall be fined not
       more than $25,000 or imprisoned for not more than five years, or both.

                                             -151-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 157 of 171




       DTCA now seeks refuge in the argument that because the kickback statute

imposes criminal liability on those found to have violated it, “Relator must produce

evidence creating a genuine issue of material fact regarding whether each element of this

criminal statute can be established beyond a reasonable doubt.” Doc. 169 at 29.

       No case is cited for this proposition. It is not surprising that DTCA, having had a

dozen years to support this argument, is unable to do so: It is simply not the law. This

claim was squarely rejected by the district court in the closely-analogous Rogan case. In

Rogan, a hospital administrator hired “medical directors” who, like the medical directors

here, were expected to refer their patients to Rogan’s facility. Given the facts of this

case, a single sentence demonstrates the similarity: “Rogan never inquired as to whether

[Medical Director] Barnabas was working the requisite number of hours under his

contracts; yet, Rogan regularly discussed Barnabas's patient referrals” with his lieutenant.

Id. at 701.

       The Rogan court disposed of the issue DTCA now raises as follows in the margin

of its opinion:

       Curiously, Rogan cites United States ex rel. Sharp v. Consolidated Medical
       Trans., 2001 U.S. Dist. LEXIS 13923, No. 96-C6502, 2001 WL 1035720
       (N.D. Ill. 2001), for the proposition that the United States must prove every
       element of an Anti-Kickback Statute violation in this FCA case ‘beyond a
       reasonable doubt,’ as the Anti-Kickback Statute is a criminal statute. Rogan
       confuses the question of an ultimate burden of proof with the degree of
       intent necessary to sustain a violation of the Anti-Kickback Statute. Sharp
       merely holds that the government must demonstrate "criminal intent," i.e., a
       knowing violation of the Anti-Kickback Statute, if it is to use the
       Anti-Kickback Statute as a predicate statute for an FCA violation. Sharp,
       2001 WL 1035720 at *10. The criminality of predicate offenses in an
       underlying civil statute, such as the RICO Act, does not mandate application
       of a higher burden of proof in a civil case. Sedima, S.P.R.L. v. Imrex Co.,
       Inc., 473 U.S. 479, 491 . . . (1985) ("In a number of settings, conduct that
       can be punished as criminal only upon proof beyond a reasonable doubt

                                            -152-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 158 of 171




       will support civil sanctions under a preponderance standard").

459 F.Supp.2d at 716 n.12.

       The next inquiry is the standard under the Anti-Kickback Statute. Payment of

remuneration of any kind violates the statute if one or any purpose for that remuneration

was to induce referrals. United States v. Greber, 760 F.2d 68, 72 (3d Cir. 1985) (“If the

payments were intended to induce the physician to use Cardio-Med’s services, the

statute was violated, even if the payments were also intended to compensate for

professional services”); United States v. Bay State Ambulance & Hosp. Rental Serv., Inc.,

874 F.2d 20, 30 (1st Cir. 1989) (“The issue of sole versus primary reason for payments is

irrelevant since any amount of inducement is illegal.”) (emphasis in original); Accord

United States v. Kats, 871 F.2d 105 (9th Cir. 1989) (approving jury instruction providing

"It is not a defense that there might have been other reasons for the solicitation of a

remuneration by the defendants, if you find that one of the material purpose for the

solicitation was to obtain money for the referral of services”); United States v. Lahue, 261

F.3d 993, 1002 (10th Cir. 2001), cert. denied, 534 U.S. 1083 (2002); United States v.

Neufeld, 908 F. Supp. 491, 497 (S.D.. Ohio 1995) ("numerous courts have interpreted the

"in return for" language to encompass situations where only one of multiple purposes of

payment was to refer patients").347


       347
           These holdings reflect the importance of the laws against kickbacks and
other bribes to the administration of the federally-funded healthcare systems:

       In the context of Congress’ regulation of the expenditure of enormous
       sums of federal funds under the Medicare and Medicaid programs,
       making payments in return for Medicare referrals is corrupt. The potential
       for increased costs to the Medicare-Medicaid system and misapplication
       of federal funds is plain where payments for the exercise of such

                                           -153-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 159 of 171




       Thus, for present purposes, Relator’s burden is simply to show that there is

evidence from which the Jury could find that DTCA executives knew that one purpose of

their payments to medical director was to induce referrals, and that they knew it was

illegal to pay medical directors to induce referrals. The evidence is overwhelming that

DTCA believed this with respect to all of its medical directors.

       DTCA also argues that the “issue is whether Relator can come forward with evi-

dence that DTCA had the specific intent to disobey the law as to each of its medical

director arrangements.” Doc. 169 at 40. However, the issue in this case is DTCA’s

intent. The unwavering focus of the “Nashville cash register” was on “the hospital’s

number one priority—growing the census.”348

       Defendant’s executives confirmed that all medical director contracts were intended

to induce referrals. Chairman Cigarran testified that the company expected every medi-

cal director to utilize the diabetes treatment center as a preferred site for referral of his

patients.349 President Deal confirmed that a purpose of recruiting medical directors was

to secure their admissions.350 Vice-President Hunter testified that the company expected




        judgments are added to the legitimate costs of the transaction.

United States v. Hancock, 604 F.2d 999,1001-02 (7th Cir. 1979) (“handling fees” paid to
doctors by laboratory testing company were disguised bribes for referrals).
        348
         Exh. 6, DTCA035607-09, August 23, 1990 Letter from DTCA President Jim
Deal to Medical Directors (emphasis supplied).
        349
              Cigarran Dep., Vol .1, at 116, 132-133.
        350
         Deal Dep., Vol. 1, at 236-237. But, Deal stated, “that wouldn’t be the only
purpose.” Id.

                                             -154-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 160 of 171




medical directors to admit patients to the centers.351 CFO Mike Conrad testified that it

was a paid responsibility of the medical directors to encourage other physicians to refer

patients for admission to the centers.352 Center Manager Beard testified that

       our intent was to solicit the participation, either contractual or through
       their admitting practices, to admit patients to the hospital or, I’m sorry,
       to the center, to DTC.353

       The testimony of DTCA’s officers is that DTCA had all of its medical director

agreements were executed with uniform purpose, around its business model. Moreover,

that this was DTCA’s uniform intent is demonstrated by the fact that all of its medical

director contracts do not survive fair market value analysis under established FMV

principles.354

       “The gravamen of Medicare fraud is inducement. Giving a person an opportunity to

earn money may well be an inducement to that person to channel potential Medicare

payments towards a particular recipient.” Bay State, 874 F.2d at 29. There is no credible

basis for DTCA to dispute that it expected each and every Medical Director contract to

“channel Medicare payments”—in the form of patient referrals—“toward a particular

recipient”—the hospitals which paid DTCA’s fees. While we strongly dispute, given the



        351
              Hunter Dep. at 217-219.
        352
           Conrad Dep., Vol. 2, at 75-77. Mr. Conrad was unaware of the vast majority
of advice given by DTCA’s attorneys, including the advice that such duties should be
removed from the contracts in order to avoid investigation by the Inspector General and
potential felony prosecution. Dep., Vol. 2, at 145-147.
        353
              Dep. of Mary Catherine Beard (Oct.17, 1988) at 11 (emphasis supplied).
        354
          Supra fn. 66 and accompanying text and exhibits, detailing the findings of
Relator’s fair market value expert McNamara.

                                            -155-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 161 of 171




myriad facts identified in this document, DTCA’s assertion that “[t]here is no direct

evidence that [it] had any actual knowledge that it was acting unlawfully with respect to

any medical director” (Doc. 169 at 40), that point is an obvious red herring. A purpose of

each and every contract this defendant entered into with a medical director was to

remunerate referrals.

       Because there is ample evidence to demonstrate a Jury question regarding

whether DTCA had actual knowledge that it was remunerating medical directors for their

patient referrals, there plainly is a jury question as to the standard for knowledge under

the False Claims Act—that DTCA acted with deliberate indifference or reckless disregard

of the truth or falsity of the claims355 which its client hospitals filed as a consequence of

kickback-influenced referrals.

V.     KNOWLEDGE UNDER THE FALSE CLAIMS ACT: Genuine Issue of Fact
       regarding the Requisite Knowledge under the False Claims Act.

       The FCA defines "knowing" and "knowingly" to mean that a person, with respect

to information: has actual knowledge of the information; or acts in deliberate ignorance of

the truth or falsity of the information; or acts in reckless disregard of the truth or falsity of

the information. No proof of specific intent to defraud is required. 31 U.S.C. § 3729(b).

       The Court has recognized, and this case dramatically demonstrates, that “this is a

fact-intensive inquiry.” Pogue II, 238 F. Supp. 2d at 266. Notwithstanding the facts

submitted here, DTCA actually argues that there is “no evidence” that it “knew” the claims

resulting from its conduct were false, claiming that the evolution of the industry’s view of

the law, in their view, negates any possibility of the requisite knowledge being estab-


        355
              31 U.S.C. § 3729(b).

                                              -156-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 162 of 171




lished.

          DTCA’s defense that “it was all so confusing” is both outrageous and patently

absurd. First and most important, DTCA is charged with knowledge of the Anti-Kickback

Statute. The very founders of DTCA were experienced health care executives who full-

well knew the prohibitions against paying for referrals. Not only is and was it the law, but

by 1986, DTCA lawyers were advising about “potential Medicare Fraud and Abuse

issues” around medical director contracts. Exh. 108-A. In May 1989, DTCA was advised

of the Greber and Kats decisions and told that DTCA had exposure under the Anti-

Kickback Act. Exh. 108-F. Two weeks later, Chairman Cigarran was advised of Kats,

reminded of Greber, and “underscored” that “contracts should be based on services to be

performed and compensation that is reasonable.” Exh. 108-G. Ten days later, Vice

President Stone was advised of Bay State. A month later, President Deal asked about

“the line between the black and white on the issue of fraud and abuse” in medical director

compensation. Exh. 108-M. When counsel offered free training for DTCA personnel, the

offer was refused. Exh. 108-P. Counsel advised of “especially dangerous” contracts.

Exh. 108-Q. The situation at West Paces was described as “dangerous.” Exh. 108-R. A

free rent deal had a “Medicare fraud risk . . . [h]e decided to proceed anyway.” Exh. 108-

T. DTCA was told that “whenever anything of value is given to a physician who refers

patients . . . we run the risk of violating” the Anti-Kickback Statute. Exh. 108-U-. DTCA

was “advised . . . of the Medicare risk . . . and he decided to proceed anyway.” Exh. 108-

V. Bob Stone was “told . . that . . . the transaction was not entirely safe. He advised me

that he wanted to go ahead[.]” Exh. 108-W.

          Perhaps most disturbing, however, is the fact that DTCA never told its lawyers

                                             -157-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 163 of 171




what it was actually doing. As shown above, the lawyers testified that they were told that

payments to medical directors were “solely intended to be compensation for...services as

a medical director"356 rather than as compensation for, at least in part, referrals;357 that no

purpose of the medical director's payment was to obtain the referral of their patients,358

when DTCA executives and staff knew full-well just the opposite; that Medical directors'

compensation is "based on the size of the centers and the staff"359 when in fact it was

based on what getting enough referrals to justify DTCA’s fee from the hospital; that

"DTCA is not paying any more for our medical directors' services than they are worth"360

when in fact many were wildly overpaid unless the value of their referrals was factored in;

that medical director compensation was "consistent with fair market value in arms length

transactions”361 when in fact DTCA never made any attempt to ensure fair market

value;362 that DTCA was keeping records of the medical directors' performance of




        356
              Exh. 53 DTCA265528-30, May 18, 1989 Hardcastle letter to Williams.
        357
          E.g. Deal Dep., Vol. 1, at 236-237; Hunter Dep. at 217-19; Conrad Dep. Vol. 2
at 75-77; LaRue Dep. At 123-126; Beard Dep. at 28.32.
        358
              Hardcastle Dep. at 267-269.
        359
        Exh. 54, AH000076, July 24, 1995 BCCB Internal Memo with a three-
paragraph summary of contracts.
        360
              Exh. 55, DTCA265542-43, August 11, 1989 letter from Hardcastle to Williams.
        361
         Exh. 56, DTCA039529-31, February 18, 1993, Hardcastle to AMI Hospital
Administrator.
        362
          LaRue Dep. at 56, 61- 62, 65-69; Williams Dep., Vol. 2, at 87-88; Cigarran
Dep., Vol. 1, at 184.

                                             -158-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 164 of 171




duties363 when in fact it never did so;364 that multiple medical directors at the same center

were necessary to "generate[] a better quality clinical product"365 when in fact they were

simply a vehicle to more referrals;366 that DTCA is not responsible "for procuring referrals

through influencing patients or physicians or any other parties"367 when in fact that was an

activity which consumed the days of its management personnel.368

       In sum, Relator is amply-entitled to the inference that DTCA intentionally used its

lawyers as cover for the kickback scheme which was the defining characteristic of its

business, keeping them in the dark about its true activities while using them to draft

contracts while all but laughing at their advice about fraud and abuse.

       The suggestion that DTCA was not, at a minimum, recklessly indifferent to the fact

that it was causing the submission of kickback-procured claims at each and every one of

its Centers is preposterous—and is certainly not a credible summary-judgment position.

The False Claims Act was used to pursue kickback-based fraud no later than 1989.




        363
        Exh. 57, BCCB001983-84, February 3, 1994 Hardcastle letter to Stuart; Exh.
58, DTCA132133-34, July 7, 1989 Deal Letter to Medical Directors.
        364
         Williams Dep., Vol. 2, at 92, 125-126, 202-203, 291-292; Conrad Dep., Vol. 1,
at 289-290; Hunter Dep. at 290-291.
        365
              Hardcastle Dep. at 445.
       366
         E.g., Exh. 40, BCCB009256, November 9, 1989 letter to Medical Director
Gerardo Bueso, MD. from Morrie Maple, regarding his contributions to census and his
increasing fee.
        367
              Exh. 59, BCCB009340-43, July 13, 1993 Hardcastle letter to Stuart.
        368
       E.g. Exh. 44, DTCA169520, March 1990 MOR for Holy Cross-Utah; Exh. 46,
DTCA190336, September 1988 MOR for Roper Hospital Center; Exh. 47,
DTCA191243, May 1989 MOR for Mercy-Chicago.

                                            -159-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 165 of 171




United States v. Roter, 1989 U.S. Dist. LEXIS 6555 (E.D. Pa. June 8, 1989). the one-

purpose test of Kats, Greber, and Bay State were fully known to DTCA executives, as

was the Anti-Kickback Statute itself. The proposition that they were not indifferent to their

legal obligations is, simply put, a disputed question of material fact.

VI.    STARK VIOLATIONS: Relator Has Established a Genuine Issue of Fact
       regarding Underlying Stark Violations.

       DTCA argues that the Stark laws are inapplicable to their financial relationships

with doctors and hospitals. DTCA, however, incorrectly applies the strict prohibitions of

the Stark statute.

       “The Stark Statute establishes the clear rule that the United States will not pay for

items or services ordered by physicians who have improper financial relationships with a

hospital.” Rogan, 495 F. Supp. 2d at 711; 42 U.S.C. § 1395nn. DTCA does not

challenge that causing the knowing submission of claims while in violation of the Stark

statute creates False Claims Act liability.

       Congress enacted the Stark Statute in two parts, commonly known as Stark I and

Stark II. Enacted in 1989, Stark I applied to referrals of Medicare patients for clinical

laboratory services made on or after January 1, 1992. Stark II extended the statute’s per

se prohibitions to referrals for ten additional designated health services, including

inpatient and outpatient hospital services, on or after January 1, 1995.369

       CMS is responsible for the interpretation of the Stark Statute, and has promul-

gated regulations in various phases, including in 2001, 2004, and 2007. See Rogan at



        369
          Omnibus Budget Reconciliation Act of 1993, P.L. 103-66, § 13562, Social
Security Act Amendments of 1994, P.L. 103-432, § 152.

                                              -160-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 166 of 171




711; 42 U.S.C. § 1395nn(g)(6).

       DTCA’s conduct must fit within a statutory exception to prevent automatically

liability from attaching under the statute. DTCA does not argue that its conduct fits within

a statutory exception, a burden which is on the defendant. Relator “need not prove, as

an element of its case, that defendant's conduct does not fit within a safe harbor or

exception.” Rogan at 716, citing United States v. Shaw, 106 F. Supp. 2d 103, 122 (D.

Mass. 2000).

       Rather, DTCA argues that it does not fit within the ambit of the statute because its

paid relationships with doctors and hospitals does not constitute an indirect financial

arrangement under the regulations. Of note, the regulations under which DTCA seeks

protection were promulgated in 2002, after the relevant time frame. DTCA argues that

the 2002 interpretation applies to previous conduct—an argument that is convenient for it

here, but which it wholly disregards in the context of the AKA (Def. Mem. at 44, n.53).

Rogan correctly has held that these particular regulations do not apply retroactively. Id at

711-712.

       Nonetheless, Relator submits that DTCA’s relationships do fall within the ambit of

Stark. “The Stark Statute also broadly defines prohibited financial relationships to include

any "compensation" paid directly or indirectly to a referring physician.” Rogan at 712; see

also 66 Fed. Reg 856, 863 (“we proposed [in 1998] interpreting the concept ‘indirect

financial relationship’ very broadly”). The 2002 regulation states:

       (2) Indirect compensation arrangement. An indirect compensation
       arrangement exists if-

       (i) Between the referring physician (or a member of his or her immediate
       family) and the entity furnishing DHS there exists an unbroken chain of any

                                           -161-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 167 of 171




       number (but not fewer than one) of persons or entities that have financial
       relationships (as defined in paragraph (a) of this section) between them
       (that is, each link in the chain has either an ownership or investment interest
       or a compensation arrangement with the preceding link);

       (ii) The referring physician (or immediate family member) receives
       aggregate compensation from the person or entity in the chain with which
       the physician (or immediate family member) has a direct financial
       relationship that varies with, or otherwise reflects, the volume or value of
       referrals or other business generated by the referring physician for the entity
       furnishing the DHS . . .; and

       (iii) The entity furnishing DHS has actual knowledge of, or acts in reckless
       disregard or deliberate ignorance of, the fact that the referring physician (or
       immediate family member) receives aggregate compensation that varies
       with, or otherwise reflects, the value or volume of referrals or other business
       generated by the referring physician for the entity furnishing the DHS.

42 C.F.R. § 411.354(c)(2).

       DTCA argues that the second requirement is not met—that its compensation to

physicians does not vary with or “otherwise reflect” the volume or value of federal

healthcare business generated by the referring physician. DTCA bases this on two

factual suppositions: (1) that its physician contracts oved to flat fee arrangements; and (2)

that the payments were not “conditioned in any way on medical directors’ patient

referrals...” Def. Mem. at 44.

       The regulation specifically accounts for arrangements which reflect or otherwise

account for illegal referrals, even when not overtly variable. In promulgating Phase I of

these rules, the agency stated that:

       So too, any payment or other remuneration conditioned more generally
       on referrals or business generated for the DHS entity would satisfy this
       element of the definition of "indirect compensation arrangement," except as
       described in § 411.354(d)(5) (describing limited circumstances when an
       entity may condition compensation on referrals).

66 Fed. Reg. 856, 866. Additionally, the Preamble to the final rule specifically

                                           -162-
       Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 168 of 171




acknowledged that the “volume or value standard” in the previous regulations accounted

for:

       The language "or other business generated between the parties" meant that
       the payment in an arrangement had to be fair market value for the services
       expressly covered by the arrangement and could not include any payment
       for services not covered by the arrangement.

       Physician compensation arrangements that were fixed in amount but
       conditioned either expressly or implicitly on the physicians referring patients
       to a particular provider or supplier took into account the value or volume of
       referrals within the meaning of the statute.

Id. at 876. The preamble goes on to lay out specific fee arrangement exceptions added

to the revised regulation, which DTCA does not argue are applicable here.

       Thus, DTCA’s construct fails on several grounds. As reflected in the evidence

presented in this memorandum, DTCA’s entire model was premised on the volume or

value of referrals. DTCA received a fee from hospitals to increase its healthcare

business—a fee which was largely varied with admissions for the entire time frame,

including after 1995 (Exs. 120-121)—and did so by illegally incentivizing medical directors

to refer patients. Whether it restructured its contracts–after almost a decade of legal

warnings—is not dispositive. "The Court must look behind the terms of the formal

arrangement and focus on the actual relationship between [the entities]. United States

ex rel. Roberts v. Aging Care Home Health, Inc., 474 F. Supp. 2d 810, 818 (W.D. La.

2007), citing United States ex rel. Kaczmarczyk v. SCCI Heath Services Corp., Civ. No.

H-99-1031, slip op. at 14-15 (S.D. Tex. Mar. 12, 2004) ("The focus of the Stark Act is on

the relationship, not the paper contract"). The critical question lies not with the contract,

but with “whether the actual relationship met the terms” of the statute. Id.

       In 1995, when DTCA restructured its relationships, it continued under the same

                                            -163-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 169 of 171




business model. Indeed, when attempting to reduce the amount of exorbitant fees paid

medical directors, DTCA’s VP testified that he obtained no fair market valuation.

Relator’s expert has opined that all medical director fees, including in 1995 and 1996

were above fair market value. Ex. 105. Relator has established a genuine issue of fact

regarding whether DTCA falls within the second requirement of the regulation.

      Second, DTCA argues that the third prong of the regulation is not met because

there is no hospital knowledge that medical directors received compensation that

reflected the volume of value of referrals. Def. Mem. at 45. This standard is easily met.

The regulation is not an actual knowledge standard, but rather also encompasses

deliberate ignorance and reckless disregard. In promulgating Phase I of these rules, the

agency stated that the hospital does not need to know about every link in the chain, but

only has to know or “have reason to suspect” that such a relationship exists. 66 Fed. Reg.

856, 864-865. Here, the hospitals were directly contracted with DTCA and were well

aware of the business model—they paid DTCA to cultivate the business in question.

                                     CONCLUSION

      This case represents the amalgamation of a massive amount of evidence which

shows that, just as Mr. Pogue alleged when he began this effort more than 13 years ago,

DTCA was paying physicians to refer their patients to hospitals which were, in turn,

paying fees to DTCA. More than that, however, it shows that DTCA’s Columbia/HCA-

trained founders understood full-well what they had to do to make their business model

work, and were determined to continue doing it regardless of what the law (not to mention

their lawyers) said about their arrangements. DTCA may wish to try to persuade the Jury

that the services it was providing were so important that it should be excused from com-

                                          -164-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 170 of 171




plying with the laws of the land—laws intended to ensure that scarce health care dollars

are properly spent. However, if those laws do apply to DTCA, then it assuredly is not

entitled to summary judgment in this matter.

      Defendant’s motion should be denied.



                                        Respectfully submitted,

                                        /s/ Jennifer M. Verkamp
                                        Frederick M. Morgan, Jr.
                                        Jennifer M. Verkamp
                                        MORGAN VERKAMP LLC
                                        700 Walnut Street, Suite 400
                                        Cincinnati, Ohio 45202
                                        Telephone: (513) 651-4400

                                        Don P. McKenna
                                        Scott A. Powell
                                        HARE, WYNN, NEWELL & NEWTON
                                        Massey Building, Suite 800
                                        2025 Third Avenue North
                                        Birmingham, Alabama 35203
                                        Telephone: (205) 328-5330

                                        Nels Ackerson
                                        Elaine Panagakos
                                        SOMMER BARNARD ACKERSON, PC
                                        1666 K Street, N.W., Suite 1010
                                        Washington, D.C. 20006
                                        Telephone: (202) 833-8833

                                        Counsel for Relator A. Scott Pogue




                                          -165-
      Case 1:99-cv-03298-RCL Document 182 Filed 06/06/08 Page 171 of 171




                              CERTIFICATE OF SERVICE

I hereby certify that on this 6th day of June 2008, a copy of the foregoing was served on
all counsel via the Court’s electronic service system.



                                         /s/ Jennifer M. Verkamp




                                          -166-
